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                                    22-2173

             IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FEDERAL CIRCUIT

    ____________________________________________________________

                            PARKERVISION, INC.,

                                   Appellant,

                                        v.

                           INTEL CORPORATION,

                                   Appellee.

    ____________________________________________________________

               On Appeal from the Patent Trial and Appeal Board
                      Proceeding No. IPR2021-00346

    ____________________________________________________________

              BRIEF OF APPELLANT PARKERVISION, INC.

    ____________________________________________________________

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                            PATENT CLAIMS AT ISSUE

U.S. PATENT NO. 8,190,108 B2, CLAIM 1:

1.    A frequency conversion module, comprising:

      a first switch configured to up-convert a signal based on a control signal and

a bias signal,

      wherein said signal are routed to said frequency conversion module via a

second switch, and

      wherein said signal is transmitted by an antenna connected to a third switch.
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U.S. PATENT NO. 8,190,108 B2, CLAIM 6:

6.   The frequency conversion module of claim 1, further comprising:

     a pulse shaper; and

     an oscillating signal generator.
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U.S. PATENT NO. 8,190,108 B2, CLAIM 7:

7.    The frequency conversion module of claim 6, wherein the oscillating signal

generator comprises a voltage controlled oscillator configured to generate an

oscillating signal.
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U.S. PATENT NO. 8,190,108 B2, CLAIM 8:
8.    The frequency conversion module of claim 7, wherein the pulse shaper is

configured to generate a string of pulses based on the oscillating signal.
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U.S. PATENT NO. 8,190,108 B2, CLAIM 9:
9.    The frequency conversion module of claim 8, wherein the first switch opens

and closes based on the string of pulses.
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U.S. PATENT NO. 8,190,108 B2, CLAIM 12:
12.   A method for frequency conversion, comprising:

      up-converting a signal based on a control signal and a bias signal using a

frequency conversion module,

      wherein the signal is routed to an antenna via a first switch,

      wherein the signal is routed to the frequency conversion module via a

second switch, and

      wherein the frequency conversion module comprises a third switch and is

configured to up-convert the signal using the third switch.
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U.S. PATENT NO. 8,190,108 B2, CLAIM 17:
17.   The frequency converter of claim 12, wherein the frequency conversion

module comprises a pulse shaper and an oscillating signal generator.
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U.S. PATENT NO. 8,190,108 B2, CLAIM 18:
18.   The frequency converter of claim 17, wherein the oscillating signal

generator comprises a voltage controlled oscillator configured to generate an

oscillating signal.
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U.S. PATENT NO. 8,190,108 B2, CLAIM 19:
19.   The frequency converter of claim 18, wherein the pulse shaper is configured

to generate a string of pulses based on the oscillating signal.
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U.S. PATENT NO. 8,190,108 B2, CLAIM 20:

20.   The frequency converter of claim 19, wherein the third switch opens and

closes based on the string of pulses.
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 22-2173
   Short Case Caption ParkerVision, Inc. v. Intel Corporation
   Filing Party/Entity ParkerVision, Inc.



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        01/17/2023
  Date: _________________                    Signature:   /s/ Ronald M. Daignault

                                             Name:        Ronald M. Daignault
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FORM 9. Certificate of Interest                                                          Form 9 (p. 2)
                                                                                            July 2020


     1. Represented                       2. Real Party in           3. Parent Corporations
         Entities.                            Interest.                 and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).       Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of      Provide the full names of
 all entities represented             all real parties in interest   all parent corporations
 by undersigned counsel in            for the entities. Do not       for the entities and all
 this case.                           list the real parties if       publicly held companies
                                      they are the same as the       that own 10% or more
                                      entities.                      stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable          ‫܆‬
                                                                     ✔ None/Not Applicable




      ParkerVision, Inc.                         None                           None




                                  □      Additional pages attached
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FORM 9. Certificate of Interest                                                     Form 9 (p. 3)
                                                                                       July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

 □        None/Not Applicable                   □     Additional pages attached
            Daignault Iyer LLP:
             Stephanie Mandir




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).

 □        None/Not Applicable                   □     Additional pages attached
        ParkerVision v. Intel Corp.
          WDTX-6:20-cv-00562




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).

 □
 ✔        None/Not Applicable                   □     Additional pages attached
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                       STATEMENT OF RELATED CASES

      No appeal in or from the same proceedings in the United States Patent and

Trademark Office Patent Trial and Appeal Board (“PTAB” or “Board”) was

previously before this Court or any other appellate court. ParkerVision, Inc.

(“ParkerVision” or “Appellant”) has asserted U.S. Patent No. 8,190,108 (“the ’108

patent”) in the following district court case: ParkerVision, Inc. v. Intel Corp., Case

No. 6:20-cv-00562-ADA (W.D. Tex.).




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                        JURISDICTIONAL STATEMENT

      The PTAB had jurisdiction over the petition for inter partes review

(“Petition”) brought by Intel Corporation (“Intel”) under 35 U.S.C. § 6 that is the

subject of this appeal: IPR2021-00346. The PTAB issued its Final Written

Decision in IPR2021-00346 on June 30, 2022. Appx1-73. Appellant ParkerVision

timely filed a notice of appeal on August 29, 2022. Appx74-78. This Court has

jurisdiction under 35 U.S.C. § 141(c) and 319 and 28 U.S.C. § 1295(a)(4)(A).

                         STATEMENT OF THE ISSUES


1.    Whether the PTAB erred by invalidating the challenged claims based on an

incorrect claim construction of “switch,” where the PTAB failed to consider the

complete disclosure of the patent specification and gave no deference to the prior

claim constructions of two District Courts.

2.    Whether, based on impermissible hindsight, the PTAB erred by finding that

a POSITA would have been motivated to replace an amplifier circuit of Downey

with a switch circuit from Sedra, thereby abandoning the express teachings of

Downey, changing the basic principle of operation in Downey, and rendering

Downey inoperable for its intended purpose.

3.    Whether the PTAB erred by finding the prior art combination disclosed the

required claim limitation “first switch configured to up-convert a signal,” in the




                                          1
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absence of substantial (or any evidence) that the combined references disclosed a

“switch.”

4.     Whether the PTAB erred when it based its unpatentability decision on new

theories not presented in the Petition but, instead, theories that were raised for the

first time in Intel’s Reply.

                               STATEMENT OF THE CASE

       This case is an appeal of the PTAB’s Final Written Decision (“FWD”) in

IPR2021-00346, which challenged claims 1, 6-9, and 17-20 of the ’108 patent.

I.     OVERVIEW OF WIRELESS TECHNOLOGY

       The ’108 patent relates to wireless communication and, more particularly, to

frequency up-conversion of electromagnetic (EM) signals. Appx2337; Appx2564(¶

22).


       A.    Wired communications.

       Traditional wired communications networks transmit audio signals over wire

lines by converting audio signals to electrical signals and back to audio signals.

Appx2337; Appx2565(¶ 23).




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      When Bob speaks into a phone, Bob’s phone converts his voice (low

frequency audio signals) into electrical signals. Electrical signals are transmitted

over wires to Alice’s phone, which converts the electrical signals back into audio

signals so that Alice can hear Bob’s voice. Appx2338; Appx2565(¶ 24).

      B.     Wireless Communications.

      Similar to wired communications, in wireless communications, low

frequency audio signals are converted into electrical signals. But instead of

travelling through wires, the signals are transmitted through air as radio waves

(electromagnetic (EM) waves). Appx2338; Appx2565(¶ 25).



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      As shown above, wireless devices use high radio frequency (RF) signals

(e.g., above 300 MHz (red)) because high frequency signals can carry more

information and because high frequency antennas can physically fit within small

devices such as cellular phones. Appx2338-2339; Appx2566(¶ 26).




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      Bob       (Audio)




      In a wireless communication, when Bob speaks into his cell phone, Bob’s

cell phone converts his voice (low frequency audio signals) into a high frequency

RF signal. The RF signal is transmitted over the air to Alice’s cell phone. Alice’s

cell phone then converts the RF signal back into a low frequency audio signal and

Alice can hear Bob’s voice. Appx2339; Appx2566(¶ 27).

      C.      Frequency.

      Frequency is the number of cycles of a wave per unit time (second).

Appx2339; Appx2567(¶ 28).

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      As shown above, a high frequency signal has more cycles of a wave per

second than a low frequency signal. Notably, the frequency of an audio wave can

be one thousand cycles per second whereas the frequency of a radio wave can be

one billion cycles per second. Appx2340; Appx2567(¶ 29).

      D.      Up-conversion.

      In order to transmit an audio signal over air, a wireless device must

transform the audio signal to an RF signal. Since the RF signal is used to carry the

information in the audio signal, the RF signal is referred to as a “carrier signal.”

And since audio waves are at a low frequency, they are referred to as “baseband,” a

“baseband signal” or at a “baseband frequency.” Appx2340; Appx2567(¶ 30).
                                                                 ...........
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            f.Audlo•
                                                             Ca oi..- Sig n.t (ftF)




      In order to transport the baseband (audio) signal, the transmitting wireless

device (e.g., Bob’s cell phone) modifies the carrier (RF) signal. As shown above,

the baseband signal is impressed upon the carrier signal (above left), thereby

modulating/changing the shape of the carrier signal to approximate the shape of the




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baseband (audio) signal (above right). 1 The modified signal is referred to as a

“modulated carrier signal.” The process is referred to as “up-conversion” because

the low frequency signal is being up-converted to a high frequency signal. Up-

conversion is the subject of claims 1, 6-9, 12, and 17-20 of the ’108 patent. 2

Appx2340-2341; Appx2568(¶ 31).

         E.    Down-conversion.

         In order for the receiving wireless device (e.g., Alice’s cell phone) to recover

the baseband (audio) signal from the modulated carrier signal, the receiving

wireless device must transform the modulated carrier signal back to an audio

signal. This process is referred to as “down-conversion” because a high frequency

signal is being down-converted to a low frequency signal. Appx2341; Appx2568-

2569(¶ 32).




1
    This type of modification is referred to as amplitude modulation. But other types

of modulation can be used, which involve modifying other properties of the carrier

signal, such as frequency or phase.
2
    While Section I provides an overview of the technology in connection with

voice/audio signals, it should be understood that this is for illustrative purposes

only.


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       As shown above, “down-conversion” is the process by which the baseband

(audio) signal can be recovered from the carrier signal. Appx2342; Appx2569(¶

32).

II.    IMPORTANT CONCEPTS RELATED TO WIRELESS
       TECHNOLOGY

       A.    Basic circuit concepts.

       RF signals are created using electronic circuits. To understand circuits, it is

important to understand the concepts of charge, voltage, current, energy, power,

resistance and impedance. Appx2342; Appx2571(¶ 38).

       Charge: In a circuit, there are two physical types of charge – positive charge

and negative charge. Protons have a positive charge (+) and electrons have a

negative charge (–). Appx2342; Appx2572(¶ 39).

       Circuits operate based on the movement of electrons and the movement of

charge transfers energy. Charge may build up to establish a voltage signal. Here, a

voltage signal refers to information that is almost entirely conveyed as a voltage.

Alternatively, the movement of charge, the rate of which is current, may itself be




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the signal. Most circuits convey information, i.e., present signals, as a voltage or as

a current. Appx2342; Appx2572-2573(¶¶39-42).

       Voltage: Voltage is the difference in an electron’s potential energy, per unit

charge, between two points. In other words, voltage is the amount of potential

(electrical) energy available, per unit charge. Negative charges (electrons) are

pulled towards higher voltages, while positive charges (protons) are pulled towards

lower voltages. Appx2343; Appx2573(¶ 43).

       Electric current: An electric current is the movement/flow of charge in a

circuit (in a conductor or into, out of, or through an electrical component). Current

(the net rate of movement of positive charges) flows from positive voltage to

negative voltage. Appx2343; Appx2573(¶ 44).

       Electric energy: Electric energy is energy that results from the movement of

a charge in a circuit. The faster the charges move and the more charges that move,

the more energy they carry. The only way to transfer energy is by transferring

charge. So, movement of a charge indicates movement of energy.

       Energy is not the same as voltage. Energy and voltage are used in circuits in

different ways. Appx2343; Appx2574-2575(¶¶ 45-49).

       Power: Power is the amount of energy transferred per unit time. Power is the

average rate at which energy is transferred by charges. Appx2343; Appx2575(¶

49).



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      Resistance: Resistance is a measure of the difficulty of passing an electric

current through a conductor. Appx2343; Appx2575(¶ 50).

      B.     Circuit Components.

      Circuit designers/engineers use circuit diagrams to illustrate how circuit

elements are connected together. Each circuit element has a particular effect(s) on

voltage, current, charge, and energy. By combining circuit elements in different

numbers and/or ways and using circuit elements that have certain values, circuit

designers/engineers can create circuits that perform a wide variety of different

functions. Appx2344; Appx2578(¶ 59).

             1.     Transistor.

      A transistor is a semiconductor device that has at least three terminals for

connection to an external circuit. Appx2344; Appx2578-2579(¶¶ 60-61).

      A transistor is a versatile component and can be configured to perform

completely different functions. See Section II.C below. This is an important point.

For example, in one configuration, a transistor can operate as an amplifier to

amplify electronic signals in a circuit. But in another different configuration, a

transistor can operate as a switch to open and close a circuit based on a control

signal. Whether a transistor is used as a switch or performs another function

depends on the signals applied to the terminals of the transistor, and on the circuit

in which the transistor is embedded. Appx2344; Appx2579(¶¶ 62-63).



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      A field-effect transistor (FET) is one type of transistor. Not all transistors are

FETs. The symbol for one type of FET is shown below.


                                               D




                                               s

      A FET has three terminals: (i) source (S), (ii) drain (D) and (iii) gate (G). In

a FET, a voltage at the gate (G) controls the current flow between the drain (D) and

source (S). Appx2344-2345; Appx2580(¶¶ 64-66).

             2.    Resistor.

      A resistor is a circuit element that introduces resistance into a circuit. The

symbol for one type of resistor is shown below.




      Resistors are used, for example, to reduce current flow, adjust signal levels,

divide voltages, bias active elements, and terminate transmission lines. Appx2345;

Appx2583-2584(¶¶ 79-82).

             3.    Diode.

      A diode is a two-terminal electrical component that allows the flow of

current in only one direction similar to a one-way valve. It offers low (negligible)

resistance in one direction (to allow current flow) and high resistance in the reverse

direction (to prevent current flow). The most common type of diode is made from a

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combination of p-type semiconductor material and n-type semiconductor material,

known as a p-n junction. The symbol for one type of diode is shown below.

Apx2345; Appx2584(¶ 83).



                                   ~
                                ~ode


      Current flows through the diode from the anode (positive (+ or “p”) lead) to

the cathode (negative (- or “n”) lead). As shown above, the arrowhead points in the

direction of the current flow. Appx2346; Appx2584(¶ 84).

      When a voltage source is connected to a diode such that the positive terminal

of the source is connected to the anode (+) and the negative terminal to the cathode

(-), the diode is said to be “forward-biased.” When the voltage across the diode

becomes greater than a forward barrier potential, the diode becomes a conductor

and allows current to flow in only one direction – from the anode to the cathode.

Appx2346; Appx2584-2585(¶ 85).

      When a voltage source is connected to a diode such that the negative

terminal of the source is connected to the (+) anode and the positive terminal to the

cathode (-), the diode is said to be “reverse-biased.” In this configuration, no

current can flow through the diode unless the electric field is so high that the diode

breaks down. Appx2346; Appx2585(¶ 86).



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             4.     Local Oscillator.

      An oscillator is “[s]omething that oscillates,” i.e., “repeat[s] a cycle of

motions or to pass through a cycle of state with strict periodicity.” Appx2585(¶

87). “In particular, [an oscillator is] a self-excited electronic circuit whose output

voltage or current is a periodic function of time [and is a] generator of an

alternating signal, continuous, sinusoidal or pulsed.” Id. The terms “local

oscillator,” “LO,” or “LO circuit” are used to refer to the local oscillator circuit. Id.

The output signal of a local oscillator is commonly referred to as the “LO,” “LO

signal” or “local oscillator signal.” Appx2585-2586(¶ 88).


                    Sine wave



                  Square wave    j             I I I L
                        Pulse    n.____________.n..___________.n.____
                      Impulse    I             I              I
                                                                       Time


      The diagram above shows different types of LO signals that can be

generated by a local oscillator. The signal can be (1) a sine or sinusoidal wave, (2)

a square wave, (3) a pulse or (4) an impulse. A square wave, pulse and impulse are

each periodic repetition of pulses. Appx2347; Appx2586(¶ 89).




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      As shown above, a sine or sinusoidal wave is a continuous signal with a

value that changes smoothly over time. A square wave, train of pulses and train of

impulses are each a signal that has two values, and unlike a sine wave, has abrupt

transitions between those values. Appx2347; Appx2586-2587(¶¶ 90-92).

      C.     Operation of FETs – understanding why the Board erred

      The operation of transistors and, in particular, FETs is key to understanding

why Intel’s prior art references do -
                                    not
                                      - invalidate the challenged claims of the ’108

patent.

             1.    Overview

      A FET is a type of transistor that can be configured in different ways to act

as completely different components – e.g., (1) an amplifier or (2) a switch or (3) a

resistor. For example, when configured one way, a FET can operate as an amplifier

to amplify a signal passing between two terminals of the FET. When configured

another way, a FET can operate as a switch to turn the flow of current (between

two terminals) on or off. A FET can amplify, switch, or oscillate the flow of

current between two terminals by varying the current or voltage at a third terminal.

In other words, a FET can behave and be used as different devices and in different

ways. Appx2352; Appx2598(¶¶ 123-124).

      The type of function that a FET performs, that is, the way in which a FET

operates, depends on the LO signal (e.g., independent control input) that the FET



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receives, how the FET is biased, and the circuit in which the FET is located. For

example, if a FET receives a sinusoidal wave (i.e., a sinusoidal, continuous time-

varying voltage) across its input terminals, a continuous time-varying current flows

between its output terminals. In one such biasing arrangement, the FET functions

as a continuous time-varying resistor. This mode of operation is referred to as

time-varying transconductance (the reciprocal of time-varying resistance.

Appx2352-2353; Appx2598-2599(¶¶ 125-126).

        If, however, a square or a train of pulses is applied at the gate of a FET, the

FET acts as a switch between the output pair of terminals. Appx2353; Appx2599(¶

127).

              2.     Different uses of FETs.

        In order to understand the operation of a circuit, one must view the circuit as

a whole and also look at the electrical signals in the circuit. One cannot simply

look at individual components of the circuit. This is because the same components

(e.g., transistors) used in different circuits can operate as different types of devices

(e.g., an amplifier or a switch or a resistor) and be used in different ways

depending on a number of characteristics or parameters that can be varied. As

such, the way in which the components in a circuit are used is critical to what the

circuit actually does. Appx2353; Appx2606(¶ 144).




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      The way in which a FET operates depends on the needs of the

circuit/system. Appx2353; Appx2606(¶ 145).

                    a.     FETs used in a switching system.

      When a FET is used as a switch, the FET opens and closes. When the FET is

ON (closed), current can pass through the FET; when the FET is OFF (opened),

current cannot pass through the FET. Said another way, a FET used as a switch has

two states – either ON (closed) or OFF (opened); allowing all current through or

preventing current from flowing. Appx2353; Appx2607(¶ 146).

                    b.     FETs used in an amplifier.

      In the late 1990s, another way FETs were used was in an amplifier circuit to

amplify a signal. FETs used in an amplifier circuit must be biased, which refers to

the addition of a constant voltage, i.e., the bias voltage, to the input sinusoid signal.

Varying the bias voltage changes the shape of the output waveform as well as the

amount of power consumed by the circuit. Appx2355; Appx2608(¶ 151).

      Unlike a FET used as a switch, a FET used in an amplifier circuit amplifies a

signal – a FET in this configuration does not open and close; it does not have two

states; it does not prevent current from flowing. Importantly, as an amplifier, a

small voltage variation at the gate of the FET results in a large variation at the

drain of the FET. A FET amplifier has gain, while a FET used as a switch does not.

Appx2355; Appx2608-2609(¶ 151).



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III.    THE ’108 PATENT

        A.     Overview

        The ’108 patent relates to systems and methods to up-convert a signal from a

lower frequency to a higher frequency. Appx153(1:65-67); Appx2355;

Appx2609(¶ 153).

        Figure 54A of the ’108 patent (below) illustrates components of an

exemplary up-conversion system, which would be incorporated into a transceiver

chip of a wireless device. 3 The up-conversion system includes a switch 5420

(orange), a control signal (green), a bias signal 5422 (blue) and an antenna 5402

(purple). Appx2356; Appx2609(¶ 153).




3
    Figure 54A illustrates components of both up-conversion (transmission) and

down-conversion (reception) systems. The down-conversion (reception) system

components are grayed out as they are not relevant to a discussion of the up-

conversion (transmission) system. Appx2356.


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                                                 FIG. 54A




                            Q) ~ rnmrn PO~l 1ION
                                 FOO TRAll~ttn
                            @ ~ SWITCH PDtUlGN
                                HY.>i ru;cr::m:



        As shown above, in the transmit mode, switches 5406 and 5408 are

positioned as shown by the pink lines. 4 An oscillator (not shown) generates an




4
    Figure 54A uses the symbol        to represent the switch position for signal

transmission and the symbol           to represent the switch position for signal

reception. The switches are positioned towards the CD during transmission and

towards the     during reception. Appx2356.


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oscillating (sinusoidal) signal 5436 (green sinusoidal waveform), 5 which is

transmitted to and shaped by the pulse shaper 5438 (yellow) into a string of pulses

5440 (green square waveform). The string of pulses 5440 controls the opening and

closing of the switch 5420 (orange). Appx2357; Appx2610-2611(¶ 154).




5
    In the FM modulation mode, an information signal 5450 is connected by switch

5446 to voltage-controlled oscillator (VCO) 5444 to create a frequency modulated

oscillating signal 5436. See Appx139(Fig. 54B); Appx2357. In the PM modulation

mode, switch 5452 connects information signal 5450 to the phase modulator 5456

to create a phase modulated oscillating signal 5436. See Appx139(Fig. 54C);

Appx2357.


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                  FIG. 5 4A                                                                FIG. 5 4A
                               mm rn A                                      11\1.l clt[l'TH! USJll'i PllSEtn rn,F.,<l!llll l!l A
                               nmnA                                        a\LF l)IJ>[E! C(ff!Wl(A[IOHS CJl1(1Jil ~l fn A
                                !Ftt & i'l',I                            ,~lV"(RSI<. >RGU:NC1 l)(loli-((JllVOOfn !Ftt & i'l',I
                                S◄lh                                                                                S4l2 ·, __MAs_<Jillll

                          sm




                                                Switch                                                                             Switch
                                                 ON                                                                                 OFF




                                   Time




        The annotations in FIG. 54A above illustrate how information

(baseband/low frequency signals) is up-converted to a high frequency RF signal

(modulated carrier signal). In particular, up-conversion occurs by repetitively

turning the switch 5420 ON (closed) and OFF (opened). Appx2358; Appx2612(¶

155).

        As shown in FIG. 63D above, the switch is turned ON (closed) by sending a

pulse (green) to the switch. The switch is kept ON (kept closed) for the duration of

the pulse (i.e., during an aperture (purple) of the pulse). As shown by the repetitive

string of pulses, this opening/closing of the switch continues over time. Appx2358;

Appx2612(¶ 156).

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        As shown in FIG. 54A (above left), when the switch is ON (closed) during

the aperture, the bias signal 5422 (blue) passes to ground 5442. As shown in FIG.

54A (above right), between pulse apertures, the switch is turned OFF (opened) and

the bias signal 5422 (blue) is sent to the antenna 5402. Appx2359; Appx2612(¶

157).


                    FIG. 63E                                FIG. 63F




        FIG. 63E above (left) illustrates an exemplary reference (bias) signal 6206.

As shown in FIG. 63F above (right), repetitively turning the switch ON (closed)

and OFF (open) affects the shape of reference (bias) signal 6206, resulting in a

square wave signal 6212. The valleys in the signal 6212 are created when the

switch is turned ON (closed) and portions of the reference (bias) signal passes to

ground 5422. The peaks in the signal 6212 are created when the switch is turned

OFF (opened). Appx2359; Appx2612-2613(¶ 158).




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                                         FIG. 636
                  fWIW(Ml Al
                  HARNONIC OF

                                  o/\ Aonn nn
                    SIGNAL.
                     6212
                          ~
                                 VVVlJ UUlfU       v0fJ'J\fv vvv
                                                              OO
                                                                0


                                         FIG . 63H




        Signal 6212 (shown in FIG. 63F) is referred to as a harmonically rich signal

because the signal 6212 is actually made up of harmonics that are integer multiples

of the fundamental frequency of the periodic signal itself. For example, FIGS.

63G-H illustrate harmonically rich signal 6212 comprising a plurality of

harmonics, in this case the first harmonic (the fundamental frequency), and the

second harmonic (two times the fundamental frequency). The combination of

sinusoidal signals (harmonics) forms the signal 6212. Appx2360; Appx2613(¶

159).




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                               FIG. SM
                  fRA.'ISIIIHER USING PRESENT IIM:lffl!II IN A
                  HALF IXflEX COIIUIIUTltl>'S CIOCUII vm A
               l.tHl'ERSAl F/1:U/t:Yooel-COOEJUEA 1Ffl I f'l!l
                                                     sm



                                                                                 FIG. 63F
                                                          -sm




      As shown above, the harmonically rich signal 6212 (FIG. 63F) passes

through a filter 5426 on its ways to the antenna 5402. The filter 5426 removes

unwanted frequencies that exist as harmonic components of harmonically rich

signal. As shown in FIG. 54A, desired frequency 5428 is amplified by amplifier

module 4530 and routed to transmission module 5432 which outputs a

transmission signal 5434. Appx2361; Appx2614(¶ 160).

IV.   PRIOR ART REFERENCES.

      A.     U.S. Patent No. 5,239,686 (“Downey”)

      U.S. Patent No. 5,239,686 to Walter J. Downey (“Downey”) issued on

August 24, 1993, and is entitled “Transceiver with Rapid Mode Switching

Capability.” Appx441; Appx2367; Appx2616-2617(¶ 167).

             1.           Overview.

      The “Background of the Invention” section begins by noting that “an RF

transceiver requires that the transmitter section and receiver section be isolated

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from one another in some manner so that sensitivity of the receiver is not unduly

degraded by the relatively high power transmit signal.” Appx446(1:14-18);

Appx2367. Downey discusses RF transceiver designs and the problems associated

with existing solutions. Appx446(1:14-50); Appx2367. Downey proposes an RF

transceiver that purportedly solves these issues. Appx446(1:60-66); Appx2367. In

particular, Downey discloses an RF transceiver that “achieves fast switching time

between transmit and receive modes by leaving the transmit oscillator on all the

time.” Appx446(1:61-63); Appx2367.


     r-----------------------
     1                      10 .....--,i                172                 14     :

     I DATA "         LOW PASS FILTER ,_
                                       1 _ .,.       vcxo      --            >---. I
     I                                                                    I
     I           - - -~-                 ----                             I
     I                                                                    I
     I                                                      1&            I
     I                                                  - --              I
     I     ,...._._._.__,__,__,__,... 'OWEIFlll-- -----4 HARMONIC .,..__. I
     •-                             I            p                 FILTER          I
                                    I                         - --                 I
                CR6                 .--------------•
                                    24


                                                     DATA OUT
                                  RECEIVER




                                           FIG.1

                                            23
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      As shown above, FIG. 1 of Downey illustrates a functional block diagram of

an RF transceiver. The transmit-side or transmit chain of the RF transceiver

(indicated by the purple dashed box) includes a low pass filter 10 (orange),

voltage-controlled crystal oscillator (VCXO) 12 (green), frequency tripler 14

(blue), harmonic filter 16 (yellow), power amplifier 18 (red), and antenna 20.

Appx446-447(2:53-3:13); Appx2368.

      A digital information signal (i.e., data to be transmitted on a

communications network) (pink arrow) is supplied from a processing unit (not

shown) to low pass filter 10 (orange). The low pass filter 10 (orange) removes high

frequency components of the digital information signal before modulation of an RF

signal at VCXO 12 (green). Appx446(2:54-60); Appx2368-2369. The modulated

RF signal is subsequently passed to frequency tripler (X3) 14 (blue) and harmonic

filter 16 (yellow), which “generate sufficient energy” and selectively pass “the

third harmonic (at the communication frequency of the transceiver).” Appx446-

447(2:53-3:5); Appx2369. The RF signal is then asserted at power amplifier 18

(red) which boosts power of the signal for transmission on a communications

network. The power amplifier 18 is coupled to antenna 20 which radiates the

transmit signal. Appx447(3:5-10); Appx2369.




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             2.       Low pass filter.

      FIG. 2a of Downey (below) illustrates the circuitry for implementing low

pass filter 10 (orange box) shown in FIG. 1.

                                                                      Ll3   Rll!




                                                 R44    Rl!O




                                                 ~
                                                 C27




                                         AG.2a




              FIG.1


      As shown above, a power supply voltage VCC (purple box) is applied

through resistor R65 (blue box), resulting in current flow. The path the current

takes through the low pass filter 10 depends on the voltage applied to connector

pins CP1 (pink box) and CP2 (red box). Depending on the voltage applied to

connector pin CP2 (red box), connector pin CP2 causes the low pass filter 10 to

operate in either a “transmit” mode or a “receive” mode. Appx447(3:38-43) (“A

logical zero at CP2 places the transceiver in the receive mode, whereas a logical


                                            25
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one places the transceiver in the transmit mode.”). The voltage applied to the

connector pin CP1 (pink box) causes current to flow along one of two paths in the

transmit mode.

                   a.     Receive mode.

      To operate the low pass filter 10 in “receive” mode (as shown below), there

is no input at connector pin CP2 (red box) (i.e., connector pin CP2 = 0V). In this

configuration, diode CR8 (green box) is forward-biased, which allows current to

flow (shown along the blue path) to connector pin CP2 through diode CR8.

Appx2371.

                                                           Ll3   Rill

            ,.

            8


                                                                  RECEI\IE/IRANSMIT
                                                                   MOOE SELECTION




                               AG.2a



                   b.     Transmit mode.

      To operate the low pass filter 10 in “transmit” mode, a voltage is applied to

connector pin CP2 (red box) (i.e., connector pin CP2 = 5V). In this configuration,




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diode CR8 (green box) is no longer forward-biased, and current cannot pass

through diode CR8.


                                                               Ll3    Rl5

                ,.

                B
                                                      MO

                                                                       RECEMYfflANSMIT
                                                                       MOOE sa.ECTION
                                                R49




                                  RG.2a



        Once in “transmit” mode, current through resistor R65 (blue box) can flow

along one of two paths depending on the voltage applied to connector pin CP1

(pink box). 6

        The diagram above illustrates the first path along which current flows when

low pass filter 10 is in “transmit” mode. When a voltage is applied to connector pin

CP1 (pink box) (i.e., CP1 = 5V), diode CR9 (brown box) is no longer forward-


6
    A digital information signal is received at connector pin CP1 (pink box) and

includes “a stream of digital bits with logical ones and logical zeros represented by

approximate nominal voltages of five volts and zero volts, respectively.”

Appx2370; Appx447(3:24-27).


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biased and, thus is non-conducting (i.e., current cannot flow through diode CR9).

Because both diode CR8 (green box) and diode CR9 (brown box) are non-

conducting in this configuration, current flows (shown along the blue path) toward

inverter U5B (yellow triangle) and the input voltage at inverter U5B approximates

VCC (purple box). Appx2372.


                                                            Ll:S     Rll!

            ,.                                                     ~C l 7




                                                                      -
            8
                                                 Rl!O


                                                                       M OOE SE1.ECTlON




                               FIG.2a




      The diagram above illustrates the second path along which current flows

when low pass filter 10 is in “transmit” mode. When no voltage is applied to

connector pin CP1 (pink box) (i.e., CP1 = 0V), diode CR9 (brown box) is forward-

biased and, thus, as shown by the blue arrow, current flows to connector pin CP1

through diode CR9 (along the blue path). Appx2372.




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                  3.          Low pass filter to VCXO.

                   Vee                                              ...                         LI>
                                                                                                        "'
   FIG.2b                                                                               O,& ~
                                                                                                      ;;"'     RI}


                                          C   R32
           R64
                    R&l
                                                                           ... - ...                         ...
                                                                                                             -
   C44
   .j
   D     C4~
                                    R43

                                                                    ... ,..       ...                  ~
                                    R54

                                                                                                       ..,.. ..,
                                              R33
                     CR IO                                                AG.2a

                          l
         As shown above, signal C (pink arrow) (which is developed at emitter Q10)

is outputted from the low pass filter (FIG. 2a, orange box) and sent to the VCXO

12 (FIG. 2b, green box). Appx2373.

         As shown in FIG. 2b, the VCXO is driven by a crystal Y3 (yellow), which

preferably operates at 16.628 MHz, or one third of the nominal 49.885 MHZ

communications frequency. Appx447(3:53-57); Appx2373. The operating

frequency of the VCXO is adjustable by variable resistor R42 (red).

Appx447(3:57-59); Appx2373. Signal C (pink arrow) is coupled to the wiper

contact of variable resistor R42 through capacitor C28 (blue box). Appx2373.

Downey teaches that because “the frequency of the oscillator is a function of the

voltage at the wiper contact of resistor R42, the data signal from the low pass filter

frequency modulates the oscillator output signal.” Appx447(3:61-65).




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               4.            VCXO to Frequency triplexer (X3).

                  i                      A
         FIG.2c       Rs 2
                                                                                       R32.

                                                     C44

                                                    ~
                                                    D C43

                                                                                   A
                                                                                       R33
                                    D
                                                               CRIO


                                                                  l
        As shown above, signal D (pink arrow) is outputted from the VCXO 12

(FIG. 2b, green box) and sent to the frequency tripler 14 (FIG. 2c, blue box).

Signal D is asserted at the input of inverter U5A (brown triangle). Appx2374.

Notably, Downey teaches that inverter U5A “is operated as a non-linear amplifier

to develop harmonics of the input signal, particularly the third harmonic which will

drive the RF power amplifier.” 7 Appx447(4:10-13).

        The output of inverter U5A (signal E) is applied to harmonic filter 16 which

comprises components selected to pass the third harmonic of VCXO at the

communication frequency. Appx447(4:20-25). The output of harmonic filter 16

(signal F, pink arrow below) is applied to power amplifier 16 (shown in FIG. 2e

(below)).




7
    Unless otherwise noted all emphasis has been added.


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             5.    Power amplifier.




                                  R45




                                                                F




                                          FIG.2e
                              A




      As shown in FIG. 2e, signal F (pink arrow, the output of the harmonic filter)

is received at the power amplifier 18 (red box) and applied to the base of transistor

Q11 (purple box). Appx2375. Signal B (red arrow) supplies voltage to transistor

Q11. The power amplifier outputs a signal (orange arrow) to antenna 20 (green

box) through capacitor C23. The antenna transmits the signal (orange arrow). Id.

      B.     Sedra et al., “Microelectronic Circuits,” Third Edition (1991)
             (“Sedra”).

      Sedra (Appx451-508) is an edited textbook and has a copyright date of 1991.

Intel relies on Chapter 13.1 of Sedra which discusses basic logic-circuit concepts

that apply to both MOSFET and BJT circuits. Appx2375.




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      As shown below in FIG. 13.2, Sedra teaches one implementation of a logic

inverter.




                                                    Fig. 13.2 A conceptual representation of
                                                    the logic inverter as a voltage-controlled
                                                    switch.


 --
      The transistor in Sedra’s inverter is configured as a switch connected

between terminals 2 and 3. Appx478. The switch is controlled by an input signal v1

that is a pulse. Terminal 3 is connected to the reference or ground point. Id. When

v1 is low (around 0 V), the switch is open and the output voltage vO is high (equal

to the supply voltage V+). When v1 is high, the switch is closed, and the output

voltage is low (around 0V). Id.

      C.     U.S. Patent No. 2,730,624 (“Hahnel”).

      U.S. Patent No. 2,730,624 to Alwin Hahnel (“Hahnel”) was filed on May 4,

1953 and is entitled “Frequency Multiplier Circuit.” Appx509-512. Hahnel

discloses a frequency multiplier and, in particular, a frequency multiplying circuit

for selecting any high order multiplication factor. Appx2376.

      Figure 1 of Hahnel (shown below) illustrates a schematic representation of a

frequency multiplier circuit.


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               FIG. I
                                    38




              10           12
                                                          ENF
                                                           B+
                                                                  L!.4
               FREQUENCY
                 SOURCE                           t--ttl---t-=- l
                                                              --------' I
                                                                         I
                                                                       I
                                                     L    ____ I
                                                          -:;:-    __,


      The frequency multiplier circuit includes a frequency source 10, a pulse

shaper 12, and an electron discharge device 16 having an input circuit and an

output circuit which includes means for selecting a desired harmonic frequency of

the fundamental frequency. During gating pulses, the electron discharge device 16

is rendered conductive and shock-excited into oscillation at the selected harmonic

frequency for the duration of the gating pulse. A regenerative feedback circuit 24 is

connected between anode 18 and cathode 20 of the electron discharge device 16.

Appx2377.

V.    PROCEDURAL HISTORY.

      A.     Intel’s Petition.

      Intel filed in Petition on January 14, 2021. The Petition alleged that claims 1

and 12 of the ’108 patent were obvious over Downey in view of Sedra. Appx233.

Intel also alleged that claims 6-9 and 17-20 were obvious in view of Downey,

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Sedra, and Hahnel. Id. In applying Downey in view of Sedra, the Petition asserted

that inverter U5A of Downey (in combination with the teachings of Sedra) was the

claimed “first switch,” diode CR9 of Downey was the claimed “second switch,”

and transistor Q11 in the power amplifier of Downey was the claimed “third

switch.” Appx233-259. Intel did not propose “switch” as a term for construction.

Instead, with regard to the claimed “first switch,” Intel merely asserted that “[i]t

was well-known in the art that an inverter is a switch” (Appx238); with regard to

the claimed “second switch,” Intel merely asserted that “the ’108 patent

specifically refers to diodes as switches.” (Appx253); and with regard to the

claimed “third switch,” Intel merely asserted that transistor Q11 controls whether

the antenna transmits the signal (Appx255). That was the entirety of Intel’s basis

for arguing that Downey (in view of Sedra) met the claimed “switches.”

      The Board instituted the IPR proceeding on July 22, 2021. Appx2258-2296.

      B.     Patent Owner Response.

      On October 25, 2021, ParkerVision filed its Patent Owner Response

(“POR”). Because two district courts – the U.S. District Court for the Western

District of Texas (“District Court”) and the U.S. District Court for the Middle

District of Florida – already construed the term “switch” as used in ParkerVision’s

patents, ParkerVision adopted those courts’ construction of “switch”: “an




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electronic device for opening and closing a circuit as dictated by an independent

control input.” Appx2355-2337; 2363-2366.

      ParkerVision asserted that the challenged claims were patentable over

Downey, Sedra, and Hahnel because none of references discloses the claimed first,

second, and third “switch.” ParkerVision argued that the circuit components Intel

identifies as switches are amplifiers and diodes, which are -
                                                            not
                                                              - switches.

Appx2334; Appx2378-2386.

      C.     Intel’s Reply.

      Intel filed its Reply on February 4, 2022. For the first time, Intel provided a

construction of “switch.” Appx2687-2689. Intel agreed that a “switch” is an

electronic device for opening and closing a circuit. Id. In doing so, Intel introduced

new theories regarding what is disclosed in the cited references and how the circuit

elements meet the definition of a “switch.” Appx2691-2715.

      D.     ParkerVision’s Sur-Reply.

      ParkerVision filed its Sur-Reply on March 17, 2022. ParkerVision noted that

two district courts separately held that a “switch” is a device for opening/closing a

circuit (or that has two states - open/closed) “as dictated by an independent control

input.” Appx3525-3526. Moreover, based on the positions contained in its POR,

ParkerVision refuted the arguments in Intel’s Reply and further explained why




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none of Intel’s cited references disclose the claimed first, second or third “switch”

under either parties’ construction. Appx3531-3550.

                           SUMMARY OF ARGUMENT

      The PTAB erred in construing “switch.” Thus, the PTAB erred in finding

the challenged claims invalid in view of that erroneous construction.

      But even if the PTAB’s construction was correct—which it is not—the

PTAB still erred in finding that the challenged claims would have been obvious in

light of Downey and Sedra. Not only is the PTAB’s finding based on

impermissible hindsight, but the proposed combination would abandon the express

teachings of Downey, change the basic principle of operation in Downey, and

render Downey inoperable for its intended purpose. Moreover, Intel’s proposed

combination does not disclose “a first switch configured to up-convert a signal.”

      Further, the PTAB erred by basing its patentability decision on theories not

presented in the Petition but, instead, were raised for the first time (and based on

new evidence) in Intel’s Reply.


                                    ARGUMENT

VI.   STANDARDS OF REVIEW

      Obviousness is a legal question based on underlying findings of fact. Univ.

of Strathclyde v. Clear-Vu Lighting LLC, 17 F.4th 155, 160 (Fed. Cir. 2021). The

Court reviews the Board’s ultimate obviousness determination de novo and


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underlying factual findings for substantial evidence. LG Elecs. Inc. v. Immervision,

Inc., Case No. 21-2037, 2022 U.S. App. LEXIS 18948, at *11 (Fed. Cir. July 11,

2022). “The substantial evidence standard asks ‘whether a reasonable fact finder

could have arrived at the agency’s decision.’” OSI Pharms., LLC v. Apotex Inc.,

939 F.3d 1375, 1381–82 (Fed. Cir. 2019) (quoting In re Gartside, 203 F.3d 1305,

1312 (Fed. Cir. 2000)).

      “The PTAB’s evidentiary rulings are reviewed on the standard of abuse of

discretion.” Vidstream LLC v. Twitter, Inc., 981 F.3d 1060, 1064 (Fed. Cir. 2020)

(citing Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064, 1078 (Fed Cir. 2015)). “Abuse

of discretion arises if the ruling: ‘(1) is clearly unreasonable, arbitrary, or fanciful;

(2) is based on an erroneous conclusion of law; (3) rests on clearly erroneous fact

findings; or (4) follows from a record that contains no evidence on which the

Board could rationally base its decision.’” Vidstream, 981 F.3d at 1064 (quoting

Chen v. Bouchard, 347 F.3d 1299, 1307 (Fed. Cir. 2003)).

VII. PTAB’S INVALIDATION OF THE CHALLENGED CLAIMS WAS
     IMPROPER BECAUSE IT IS BASED ON AN INCORRECT
     CONSTRUCTION OF “SWITCH.”

      A.     The PTAB’s construction of “switch” is wrong.

      The challenged claims include the term “switch.” Before the PTAB’s FWD,

two District Courts had already considered the construction of “switch.” In view of
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the totality of the patent specification’s disclosure, both courts included the



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language “as dictated by an independent control input” – language the PTAB

omitted from its construction.

      The U.S. District Court for the Western District of Texas (“Texas Court”)

construed this term on three separate occasions in litigations against Intel, TCL and

Hisense. The Texas Court consistently maintained its construction (which

ParkerVision adopted as its proposed construction in the IPR) — “an electronic

device for opening and closing a circuit as dictated by an independent control

input.” Appx2392; Appx2412. ParkerVision, Inc. v. Hisense Co., Ltd. et al., Case

No. WDTX-6-20-cv-00870, D.I. 51 at 5 (W. D. Tex. Oct. 29, 2021).

      In addition to the Texas Court, the U.S. District Court for the Middle District

of Florida (Orlando Division) (“Orlando Court”) also construed the term “switch”

in the context of ParkerVision’s patented technology. In a case ParkerVision

brought against Qualcomm in the Orlando District Court (Case No. 6:14-cv-687),

the parties disputed the meaning of the term “switch” with regard to U.S. Patent

No. 6,091,940. The ’940 patent discloses the same type of up-conversion

technology as set forth in the ’108 patent. Consistent with the Texas Court, the

Orlando Court construed “switch” to be a “device with an input and output that can

take two states, open and closed, as dictated by an independent control input.”

Appx2438-2446.




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      The PTAB considered the -exact
                                - - - same arguments that both the Texas and


Orlando courts already considered. Both District Courts rejected the same

arguments Intel made before the Board. But despite being aware of the District

Courts’ constructions, the PTAB afforded no deference to the District Courts and

expressly rejected their construction of “switch.” Instead, the PTAB found that

“one of ordinary skill in the art would understand ‘switch’ to mean “an electronic

device for opening and closing a circuit.” Appx25-26. The PTAB’s finding and

rationale are wrong.

      B.    The intrinsic evidence supports ParkerVision’s construction.

      The patent specification makes it clear that a control signal is transmitted

from a source external to the switch, thereby making opening and closing a circuit

dictated by an independent control input. Appx2364.




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      For example, as shown in FIG. 54A above, an independent control input

(green) is sent to switch 5420 (orange), which causes the switch 5420 to open and

close. In particular, “[o]scillation signal 5436 is routed through pulse shaper 5438

to create a string of pulses 5440 which in turn cause switch 5420 to open and

close.” Appx158(55:12-14); Appx2365. Indeed, contrary to the PTAB’s assertion

that the specification discusses switches only as opening and closing (see Appx24),

the ’108 patent is replete with disclosures indicating that the opening/closing of a

switch is controlled by an independent control input. See Appx173(41:9-14)

(“Another factor in assuring that the desired harmonic has sufficient amplitude is


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how the switch 2816 and 3116 (FIGS. 28A and 31A) in the switch module 2802

and 3102 responds to the control signal that causes the switch to close and to open

(i.e., the modulated oscillating signal 2804 of FIG. 28 and the oscillating signal

3104 of FIG. 31)”); Appx153(2:16-18) (“This shaped signal is then used to control

a switch which opens and closes as a function of the frequency and pulse width of

the shaped signal.”); Appx169(33:1-2) (“A modulated oscillating signal 2804 is

connected to the control input 2820 of the switch module 2802.”); Appx179(54:7-

8) (“The string of pulses 5311 controls the opening and closing of the

switch 5312.”).

      In addition to this repeated textual description in the specification, the ’108

patent figures also make it apparent that a switch is controlled by an independent

control input.




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                    FIG. 28A




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                   FIG. 30A                                           FIG . 31A
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      As shown for example in Figures 28A, 29A, 30A, 31A (above), each

disclosed embodiment in the ’108 patent depicts a switch with an input (green), an

output (purple), and an independent control input (blue). See also Appx120(Fig.

32A); Appx121(Fig. 33A); Appx138(Fig. 54A); Appx142-143(Figs. 57A-C). As

such, the inclusion of the language “as dictated by an independent control input” is

fully supported by the specification. See In re Papst Licensing Digital Camera

Patent Litig., 778 F.3d 1255, 1261 (Fed. Cir. 2015) (“The construction that stays



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true to the claim language and most naturally aligns with the patent’s description of

the invention will be, in the end, the correct construction.”).

      In fact, ParkerVision’s construction comes directly from the specification’s

disclosure, which describes what the patentees meant by controlling the switch –

an independent control input causes the switch to open and close.

      Control a switch: Causing a switch to open and close. The switch may
      be, without limitation, mechanical, electrical, electronic, optical, etc.,
      or any combination thereof. Typically, it is controlled by an electrical
      or electronic input. If the switch is controlled by an electronic signal,
      it is typically a different signal than the signals connected to either
      terminal of the switch.

Appx156(7:57-63). The third sentence in the passage above explains that the

control signal is typically electrical or electronic, as opposed to mechanical,

optical, or some other manner. And the PTAB agrees. Appx21(“The third sentence

refers back to ‘the switch’ just described in the second sentence using the pronoun

‘it’ and specifically states that ‘[t]ypically’ the type of input that may control the

switch is ‘an electrical or electronic input.’…. [T]he ’108 patent expressly leaves

open the option that the described switch may be controlled with an input that is

not electrical or electronic.”) (emphasis added).

      Notably, the PTAB does not dispute that, in the context of the claims, a

switch is an electronic device that is always controlled by a control input. See



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Appx21-23. But the PTAB points to the last sentence in the passage above (shown

in red) and asserts that this one sentence, standing alone, justifies excluding

“independent control input” from the construction of “switch.”

      But, as explained below, the Board’s reliance on, and misreading of the last

sentence (in red above), is not only wrong but cannot negate the entirety of the

specification’s teachings regarding “switch.” See, e.g., Baxalta Inc. v. Genentech,

Inc., 972 F.3d 1341, 1346-47 (Fed. Cir. 2020).

      C.     The Board’s construction is technically and legally wrong.

      The PTAB’s construction improperly omits the concept that the

opening/closing of a switch is “dictated by an independent control input.” The

PTAB places too much emphasis on a single sentence in the specification (shown

in red above) to the exclusion of the complete disclosure in the specification.

Though the PTAB claims to be adhering to the patentee’s lexicography, it is not.

      This last sentence alone (in red above) is not a lexicographic definition of

switch. It is one sentence that is part of the specification’s entire teachings

regarding the switch. And notably, this last sentence refers to a signal, not an input;

it merely describes how an electronic control signal is typically connected to the

switch; it does not suggest that the control input need not always be “independent”

as the PTAB contends. Appx23.




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      The PTAB’s analysis is misguided because the PTAB conflates “a different

signal than the signals connected to either terminal of the switch” with “an

independent control input.” But these are two separate concepts. As ParkerVision

explained in its POR, an independent control input is transmitted from a source

external to the switch. Appx2364. In other words, an independent control input is

an input separate from the input or output of the switch. Appx3527; Appx2365-

2366; Appx180(55:12-14); Appx173(41:9-14). This does not mean that an

independent control input cannot be connected to an input/output terminal of the

switch, as the PTAB contends. In fact, the PTAB’s interpretation is completely at

odds with the incorporated disclosure of U.S. Patent No. 6,061,551 (“the ’551

patent”), which identifies a “diode switch” (shown in Figures 28C, 28D (below))

as an embodiment of a “switch module.”




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                   In.dependent con    1 input




Appx1430.

         As shown in Figures 28C and 28D (above right), the “diode switch” (which

the patent identifies as the entire yellow box) 8 has three ports – an input (blue

arrow), an output (green arrow) and an independent control input (a second input

port) (red arrow). Appx3548. It is the “independent control input” that causes the

opening and closing of the circuit. And at the same time the control input (red

arrow) is both “independent” and connected to either terminal of the switch.

Indeed, this configuration is similar to Figure 28A (above left) and Figure 28B, the


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    To the extent that the PTAB relied on the diode (orange) by itself as the switch,

such an assertion is wrong. The patent makes it clear that the diode is merely a

component within a switch.


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only other types of switch module (purple box) shown and described in the

specification. But it is the configuration in Figure 28B, wherein the independent

control input is connected to a gate rather than either terminal of the switch, that

the last sentence (shown in red) of the passage above refers to as typical.

      When applying the proper construction, Downey (in view of Sedra) does not

disclose a first, second or third “switch.” Therefore, the PTAB’s determination

should be reversed. Alternatively, and at a minimum, this Court should vacate and

remand to the Board for a determination under the proper construction.

VIII. THE ’108 PATENT IS NOT OBVIOUS IN VIEW OF THE INTEL
      REFERENCES

      The Court should vacate the Board’s determination that the challenged

claims are obvious. The ruling was both procedurally and substantively erroneous.

      A.     The PTAB erred because Intel’s proposed combination of Downey
             and Sedra abandons the express teachings of Downey

      In the FWD, the PTAB found that it would have been obvious to modify

Downey to replace inverter U5A with the inverter of Sedra. Appx39-46. In doing

so, the PTAB ignored the critical function of inverter U5A in Downey.




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      Downey specifically discloses that inverter U5A (brown triangle) functions

as an amplifier – inverter U5A “is operated as a non-linear amplifier to develop

harmonics of the input signal, particularly the third harmonic which will drive the

RF power amplifier.” Appx2374; Appx447(4:10-13). An amplifier amplifies a

signal.




                                  _o_ _.,.
                                               r                        tual representation of
                                                   Fig. 13.2 A cone: a voltage-controlled
                                                   the logic inverter
                                                   switch.




      As shown above, the inverter of Sedra, on the other hand, operates as a

switch (“voltage-controlled switch”). Appx2379; Appx478. Unlike an amplifier

that amplifies a signal, the switch in Sedra performs a completely different



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operation – opening/closing a circuit to either allow or prevent current from

flowing. It is not obvious to replace an amplifier with a switch.

      Indeed, an amplifier and a switch are completely differently components.

Appx2382; Appx2632(¶ 199). And the inverter U5A cannot be replaced as a

switch without rendering Downey’s circuit unsuitable for its intended purpose – to

amplify a signal. Appx2380. Unlike a switch that transitions between being ON

and OFF, Downey’s inverter configured as an amplifier is always ON. Appx2380-

2381. ParkerVision’s expert explained that negative feedback (FIG. 2c above,

brown path) ensures that the inverter in Downey is always biased ON (always

closed): “a CMOS inverter with appropriate feedback ensures that the transistor

operates its active region (i.e., it is always ON/conducting current).” Appx2381;

Appx2632(¶ 198); Appx2550 (“The power supply current is constant during

dynamic operation since the inverter is biased for Class A operation.”).

      Not only was the PTAB’s (and Intel’s) replacement of Downey’s inverter

with Sedra’s inverter done with hindsight of ParkerVision’s patent, but such

reconfiguration of Downey requires abandoning/ignoring the express teaching of

Downey to replace an amplifier circuit with a switch circuit. There is no reason to

do so and the PTAB has not identified any reason.




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      B.     The PTAB failed to apply the proper legal standard.

      As this Court stated, “combinations that change the ‘basic principles under

which the prior art was designed to operate,’ or that render the prior art ‘inoperable

for its intended purpose’ may fail to support a conclusion of obviousness.” Plas-

Pak Industries v. Sulzer Mixpac AG, 600 Fed. Appx. 755, 757-58 (Fed. Cir. 2013)

(citing In re Gordon, 733 F.2d 900, 902 (Fed. Cir. 1984) (intended purpose); In re

Ratti, 270 F.2d 810, 813 (C.C.P.A. 1959) (principle of operation)); see also MPEP

2143.01 V and VI. But Intel’s proposed combination does both.

      Replacing Downey’s inverter U5A (configured as an amplifier that is always

ON) with Sedra’s logic inverter (configured as a switch that toggles ON and OFF)

would change the component’s fundamental principle of operation. With regard to

the intended purpose of Downey, an amplifier provides gain (amplification factor),

while a switch does not. Appx2355. When configured as an amplifier (as disclosed

in Downey), the inverter “develop[s] harmonics of the input signal, particularly the

third harmonic.” Appx2380; Appx447(4:10-13). But if the Downey inverter is

configured as a switch (as disclosed in Sedra), the inverter simply realizes the logic

inversion operation, which makes the new inverter inoperable for the intended

purpose (amplification) as set forth in Downey. Appx478.




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      As discussed below, the PTAB’s findings on both these issues are legally

erroneous and not supported by substantial evidence. For those reasons, the

PTAB’s decision should be reversed, and the challenged claims held not invalid.

             1.     Combining Downey with Sedra changes the basic principle
                    of operation in Downey.

      The PTAB misapplied the relevant legal standard with regard to the

principle of operation. The relevant question is whether the proposed combination

would have the effect of altering the principle of operation of the prior art device

being modified – here, Downey. The PTAB, however, never even considered the

principle of operation of Downey in its analysis. Instead, the PTAB limited its

analysis only to Sedra.

      In particular, the PTAB found that Intel’s comparison of Sedra’s inverter

with the ’108 patent’s up-conversion switch to be “persuasive evidence that

Petitioner’s combined circuit not only meets the claim limitation, but also looks

and functions similar to the one disclosed in the ’108 patent Specification.”

Appx40-41. Yet, on its face, Intel’s comparison (and the Board’s) is limited to an

analysis of an individual circuit—Sedra’s logic inverter. Neither Intel nor the

PTAB analyzes how Sedra’s circuit would operate as modified in combination

with Downey. Without that additional analysis, the PTAB’s review of Intel’s

proposed combination was, at best, cursory and incomplete. This is not substantial




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evidence necessary to invalidate a patent, and additionally, legal error – both

warranting reversal.

      Indeed, in limiting its analysis of Sedra alone, the PTAB overlooks the

substantial evidence ParkerVision submitted regarding the operation of inverter

U5A in Downey. As explained in the POR, Downey’s inverter U5A is not toggled

between an open and closed state. Appx2380; Appx3538. Instead, as

ParkerVision’s expert explained, the configuration of inverter U5A (with

feedback) ensures that it operates in its active region (i.e., it is always

ON/conducting current). Appx2381; Appx3538. The PTAB failed to address these

points, among others.

             2.     Combining Downey with Sedra renders Downey inoperable
                    for its intended purpose.

      The intended purpose of Downey’s inverter is to act as an amplifier to

amplify a signal. This is fundamentally different than an inverter configured as a

switch (as disclosed in Sedra) which allows or prevents current flow. Regarding

the intended purpose of Downey’s circuit, the PTAB’s findings are similarly

clearly wrong. First, despite Downey’s explicit disclosure that “inverter U5A is

operated as a non-linear amplifier to develop harmonics of the input signal,” the

PTAB more broadly asserted that “it is the non-linear operation that allows

Downey’s circuit to up-convert a signal and act as a frequency tripler.” Appx44.

But the PTAB cited no evidence for ignoring the amplification operation of


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inverter U5A in Downey to justify its conclusion. The PTAB’s failure to recognize

the “amplifier” aspect of inverter U5A’s functionality and failure to support its

purported finding with no evidence are clear errors.

      Second, the PTAB alleged that “the inverter transfer characteristic of

[Sedra’s] inverter indicates that it is ‘a grossly nonlinear device,’ which is

consistent with the mode that Downey states its inverter should operate in. Appx44

(citing Appx481; Appx447(4:10-13). But the PTAB conflates nonlinear devices

and nonlinear operation of devices, which are distinct and separate concepts. A

non-linear device is simply a device whose parameters are varied with respect to

current and voltage. Appx2352. A nonlinear device can operate in both linear

and/or nonlinear modes. A FET, for example, is a non-linear device. Id. Varying

the parameters of a FET causes the FET to behave in different ways (e.g., as a

linear or nonlinear amplifier). Appx481. Therefore, the fact that a device is a

nonlinear device says nothing about its mode of operation, and because of that,

there is no evidence supporting the Board’s finding.

      C.     The PTAB’s obviousness determination to combine is based on
             impermissible hindsight.

      The PTAB’s obviousness conclusion could only have been reached through

hindsight. That is improper. “To imbue one of ordinary skill in the art with

knowledge of the invention in suit, when no prior art reference or references of

record convey or suggest that knowledge, is to fall victim to the insidious effect of


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a hindsight syndrome wherein that which only the inventor taught is used against

its teacher.” W.L. Gore & Associates, Inc. v. Garlock, Inc., 721 F.2d 1540, 1553

(Fed. Cir. 1983). But this is exactly what has happened here.

      The PTAB based its obviousness determination, in part, on a finding that “a

person of ordinary skill in the art would have been motivated to combine the

teachings of Downey and Sedra, including because Sedra accomplishes Downey’s

goal of providing a compact transceiver by using small and energy efficient MOS

transistors.” Appx42. The problem here is that Downey already discloses the use

of MOS transistors in inverter U5A. Downey specifically identifies inverter U5A

as component part no. 74HC04, the implementation details of which are described

in Appx2550-2553. Appx3532; Appx47(5:21); Appx2381. During his deposition,

Intel’s expert confirmed this. Appx3532; Appx3583(110:15-22);

Appx3586(123:10-124:20). Part No. 74HC04 (and, thus, inverter U5A) is a CMOS

inverter, which “incorporates a P-channel MOS transistor and an N-channel MOS

transistor connected in complementary fashion.” Appx2550; Appx3588(129:8-21).

Thus, based on the agreement between both parties’ experts, there is no reason

whatsoever to modify Downey based on Sedra to include MOS transistors.

Downey already provided the benefit that would allegedly be achieved by Intel’s

proposed combination of Sedra. This unexplained redundancy underscores the fact

that the PTAB’s motivation to combine is the result of impermissible hindsight.



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        The PTAB finding Intel’s comparison of Sedra’s inverter with the ’108

patent’s up-conversion switch as “persuasive evidence that Petitioner’s combined

circuit … looks and functions similar to the one disclosed in the ’108 patent

Specification,” is also telling. It confirms the use of hindsight by using the patent

itself as a roadmap for replacing Downey’s inverter with the inverter in Sedra. It is

undisputed that Sedra’s inverter does not perform up-conversion. Yet, the PTAB

found Sedra’s inverter and the ’108 patent’s “up-conversion” switch to function in

the same way. Because the PTAB arrived at its obviousness determination through

impermissible hindsight, its decision should be reversed.

        D.     The PTAB erred in finding Intel’s proposed combination discloses
               a “first switch.”

        Downey combined with Sedra does not disclose a “first switch.” As

explained above, in practical effect, Intel’s proposed combination replaces one

transistor for another transistor – replacing Downey’s inverter U5A (red triangle

below) (which would include a transistor) with the transistor of Sedra. 9 This

specific configuration is readily apparent in figures from Intel’s Petition (shown

below).


9
    Both Intel and the PTAB have recognized that practical implementations of

Sedra’s logic inverter utilize a transistor (a MOSFET or a BJT) as the switching

element. Appx29; Appx227; Appx479.


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        Downey's Fr equency Tripler                           Downey's Frequency Triplcr
       (1\1irror Image) (Fig. 2c) With                       (Mirror Image) (Fig. 2c) With
            Seclra 's Switch (p. 909)                           Sedra's Switch (p. 909)


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                              se11   oS.E>I,                                                                 oS.E>FI
                                                             ~,~~~~~~,7
                                         Inverter
                                                                                                              Inverter
                                                             Bi;;, signal
                                                                   -------1
                                                                    a




                      v-,.                                                        ,.           Bias signaI
                                                                                       /




                                                                                                        ."
                                                                                           \
                                                                                               ,-
                                                                                                \       -=

                             Switch within
                                                                                                    \
                                                                                       Switch within
                               i nverter                                                 inverter

Pet., 55, 58.


                                     ~        R59                           A
                    FIG.2c            Rs2



                                     USA

                                                             0




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         Given the configuration of Downey (above) (including the feedback path

with resistor R62 (brown path around the inverter)) and the transistor being driven

by a sinusoidal signal), when inserted into Downey, Sedra’s transistor would no

longer function as a switch. Similar to the transistor in Downey, Sedra’s transistor

would function as an amplifier.

         Transistors behave in different ways depending on the configuration of the

circuit/system. Appx2380; Appx2352-2355; Appx2598-2609(¶¶ 121-152);

Appx2630(¶196). ParkerVision’s expert specifically explained that “in order to

understand the operation of a circuit, one must view a circuit as a whole.”

Appx2606(¶ 144). Dr. Steer further explained:

         One cannot simply look at individual components of the circuit. This
         is because the same components (e.g., transistors) used in different
         circuits can be used in different ways depending on a number of
         characteristics or parameters that can be varied.

Id. Yet, the PTAB failed to take this into account when performing its obviousness

analysis. Instead, the PTAB addressed the disclosure of Sedra in isolation 10 and



10
     It is important to note that the transistor in Sedra is not some specialized

“switch.” Rather, as ParkerVision explained in detail in its POR, the transistor in

Sedra’s logic inverter behaves like a switch because of the square-wave control



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even discounted ParkerVision’s arguments that explain the implications of

combining Downey with Sedra.

      As explained above, just because a transistor operates as a switch in one

circuit, does not mean that the transistor will operate as a switch in a differently

configured circuit. The PTAB failed to recognize that combining Sedra with

Downey alters the circuit configuration of Sedra, and thus how the transistor

behaves in the circuit. That failure is legal error, and the Board has no evidence to

support its conclusion.

      Intel’s proposed combination, for example, includes a feedback path around

Sedra’s transistor. As ParkerVision’s expert explained, the presence of negative

feedback ensures that the transistor is always biased ON (always closed): “a

CMOS inverter with appropriate feedback ensures that the transistor operates its

active region (i.e., it is always ON/conducting current).” Appx2632(¶ 198);

Appx2550 (“The power supply current is constant during dynamic operation since

the inverter is biased for Class A operation.”). Similarly, under Intel’s proposed

combination, Sedra’s transistor is driven by a sinusoidal input signal rather than of



input it receives, how it is biased, and how it is configured in the circuit.

Appx2352-2355.




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a square wave (as disclosed in Sedra). Because the transistor is appropriately

biased, the sinusoidal input signal causes Sedra’s transistor to operate in the

saturation region and triode/linear region. Appx3537; Appx2603(¶¶ 137-138). As

such, the Sera’s transistor is always ON (closed), thus, operating as an amplifier.

Appx3537-3538.

      Accordingly, the PTAB erred in determining that the combination of Sedra’s

inverter and Downey’s frequency-tripler circuit discloses “a switch configure to

up-convert.” The PTAB based its determination on finding a person of ordinary

skill in the art would have had reasonable success in Intel’s proposed combination

because “Sedra provides a roadmap of how to construct an inverter to be used in

the circuit of Downey.” Appx42. But the PTAB failed to appreciate that Sedra’s

transistor, when constructed into the circuit of Downey, would not continue to

operate as a switch. Sedra’s transistor would operate as an amplifier. For this

reason, the Court should reverse the obviousness determination.

      E.     The PTAB erred in finding Intel’s proposed combination discloses
             a “second switch”.

      As shown below, Intel annotated Figure 2a of Downey and identified the

“second switch” as diode CR9 (in the blue box). But Intel’s annotated figures are

wrong and do not show what is actually occurring in Downey’s circuit. Diode CR9

(in the blue box) is not a “second switch” under the correct construction of a

“switch.”


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                      T.-ansmit                                            Recei.-e
                  Si nal CP2 Is Hi h                                  Si nal CP2 Is Low
                     Ll3     Rl5                                               Ll3      RIO


                           ~Cl7             Rl7               C4fl.~                  ~Cl7              Rl7

                     eceive(Transm i                                           eceive/ Tra nsmit
                      Signal (High)                                             Signal (l ow)
           0                 ~         CP2              •oo                             ~          CP.2
                              •                                                               •
                              RECEFVE/1"RANSMFT                                           RECEFVEITRANSMrr
                              MOOE SELECTION                                              MOOE SELECTION


                                                                                 Switch (OFF)

                               Information
                                  Signal
                                                        ,. _..,..,..........
                                                          Signal
                                                                                 /         Informat ion
                                                                                              Signal
                             Rl 8 /
                                ..::.l:PI                blocked                                  CPI
                                                                   C47
                           ~01 8
                                                                         ~



Appx2705.

      As discussed above, under the proper construction, a “switch” is an

electronic device for opening and closing a circuit as dictated by an independent

control input. The PTAB makes no attempt to determine whether diode CR9 (blue

box) of Downey (identified as the “second switch’) meets the claimed “switch”

limitation, as properly construed. More specifically, the PTAB is altogether silent

as to whether diode CR9 opens/closes a circuit as dictated by an independent

control input. If this Court agrees with Appellant’s claim construction of “switch,”

the PTAB’s obviousness finding should be reversed. Alternatively, and at a




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minimum, the Court should vacate and remand to the Board for a determination

under the proper construction.

      Intel addressed ParkerVision’s “independent control input” language for the

first time in its Reply, and asserted that “the input relating to receive/transmit

signal CP2” is the “independent control input” for diode CR9. Appx2707. In

particular, Intel argued that diode CR9 (shown with the blue box above) opens and

closes a circuit based on the receive/transmit signal CP2 (shown with the yellow

highlight in Fig. 2a above). Diode CR9, however, does -
                                                      not
                                                        -
                                                          receive signal CP2

(signal CP2 can never reach diode CR9), and, thus, signal CP2 is not an input to

diode CR9. Accordingly, signal CP2 cannot be an “independent control input” for

diode CR9.

      Specifically, Intel ignored that there is a diode CR8 above diode CR9. Diode

CR8 has an arrow pointing upward (in the direction of pin CP2). Appx3544. As

Intel’s expert admitted, the diode arrow points in the direction of current flow.

Appx3544-3445; Appx3593(149:21-25); Appx2346. And a POSITA understands

that a diode allows the flow of current in only one direction. Appx3545;

Appx2345. Given this configuration, when diode CR8 is conducting, current flows

only through diode CR8 in the upward direction (i.e., towards the top of the

diagram/towards pin CP2). Appx3545. When diode CR8 is non-conducting, no

receive/transmit signal (yellow) from connector pin CP2 will not pass through



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diode CR8. Appx3545-3546. Thus, in any mode of operation, the signal from CP2

will never pass through diode CR8, and certainly will never reach diode CR9.

Appx3546. Thus, the yellow highlight labeled CP2 in Intel’s annotated figures

(above) is incorrect, and CP2 is not providing an independent control input to

diode CR9.

      Unlike Intel, ParkerVision provided an accurate representation of what is

actually occurring in Downey’s circuit (shown below).



                                               CR8




                                              CR9


Appx3547.

      As shown above, diode CR8 (which Intel omits) prevents the signal (yellow)

from CP2 from passing diode CR8 and, thus, the signal from CP2 will never

appear where Intel has shown it. As such, since the signal from CP2 can never get


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past diode CR8, it cannot be an independent control input into the highlighted blue

box or diode CR9. Diode CR9 (or the blue box) is therefore not a “switch” under

the correct construction of that term.

      For the foregoing reasons, the PTAB’s determination should be reversed.

      F.     The PTAB erred in finding Intel’s proposed combination discloses
             a “third switch.”

      Intel identified the “third switch” as transistor Q11 in the power amplifier

circuit of Downey. But transistor Q11 acts as an amplifier to amplify a signal. As

discussed above, an amplifier is not a switch. As such, the PTAB’s determination

is an error and should be reversed.

      G.     The PTAB’s decision is improperly based on theories not
             presented in the petition.

      The Board may not base its patentability decision on evidence and theories

not presented in the Petition. See Dell Inc. v. Acceleron, LLC, 818 F.3d 1293, 1301

(Fed. Cir. 2016). Yet, that is what the Board did here. A patent owner must be

given adequate notice of the unpatentability theories and evidence it faces, so that

it may rebut those theories and evidence in its Patent Owner Response. Id.; Belden,

Inc. v. Berk-Tek LLC, 805 F.3d 1064, 1080 (Fed. Cir. 2015). Indeed, 35 U.S.C. §

312(a)(3) requires that all of the Petitioner’s arguments and evidence must be

presented “with particularity” in the petition. Intelligent Bio-Systems, Inc. v.

Illumina Cambridge, Ltd., 821 F.3d 1359, 1369 (Fed. Cir. 2016). This is because



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“[u]nlike district court litigation—where parties have greater freedom to revise and

develop their arguments over time and in response to newly discovered material—

the expedited nature of IPRs bring with it an obligation for petitioners to make

their case in their petition to institute.” Id.; see also In re NuVasive, Inc., 841 F.3d

966, 969-73 (Fed. Cir. 2016). The Board, however, invalidated the challenged

claims in view of Downey based on an untimely disclosed theory that was not

presented in Intel’s Petition. The Board’s determination of unpatentability was

therefore improper and should be reversed.

      In particular, Intel’s Petition identifies a “third switch” as transistor Q11 in

the power amplifier circuit of Downey and describes how that the supply current to

transistor Q11 affects the operation of the transistor. Appx253-258. This is all that

Intel said as to this claim element.

      Then, for the first time in its Reply, Intel, introduced the concept of

“switching amplifiers,” and asserted that Downey’s power amplifier circuit is

actually a specific type of amplifier- a switching amplifier. Appx2711. In doing so,

Intel submitted new evidence (Appx2867-3103, Appx3141-3177) and a

supplemental declaration of Dr. van der Weide (Intel’s expert), newly describing

how a switching amplifier can act as both a switch and amplifier at the same time.

      A reply, however, “may only respond to arguments raised in the . . . patent

owner response . . . .” 37 C.F.R. § 42.23(b). See Intelligent Bio-Systems, 821 F.3d



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at 1366, 1369-70 (affirming the Board’s finding that the petitioner “ran afoul of §

42.23(b) by presenting a new argument for the first time in its reply brief”); SAS

Institute Inc. v. Iancu, 138 S.Ct. 1348 (2018).

      By arguing (and presenting never before disclosed evidence) that the power

amplifier in Downey is a “switching amplifier,” Intel proceeded in a new direction

with a new approach compared to the positions it took in the Petition. Based on

Intel’s impermissible new theory, the Board determined that “transistor Q11 would

act as a switching amplifier by opening and closing a circuit (the circuit between

inductor L10 and resistor R51) based on the value of Signal F.” Appx56.

      Intel had no basis whatsoever and zero record evidence in its Petition to

show that transistor Q11 in Downey functions as a “switching amplifier.” For this

reason alone, Intel’s Petition failed to meet its burden. In fact, the Petition was

completely silent as to the concept of switching amplifiers. This lapse cannot be

fixed in a reply. But this is what the Board allowed Intel to do.

      Because Intel’s new theory and Dr. van der Weide’s analysis are untimely,

the Board’s reliance on them is improper. Indeed, the Board should not have

considered them at all. Intelligent Bio-Systems, 821 F.3d at 1366, 1369-70; see

also, SAS Institute Inc. v. Iancu, 138 S.Ct. 1348 (2018). Accordingly, the Board’s

determination of unpatentability should be reversed.




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                                 CONCLUSION

      For all of the reasons set forth above, the Board’s decision and judgment

must be reversed and vacated, and/or remanded.

January 17, 2023                      Respectfully submitted,

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FORM 19. Certificate of Compliance with Type-Volume Limitations                              Form 19
                                                                                            July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

          Case Number: 22-2173

  Short Case Caption: PARKERVISION, INC. v. INTEL CORP.

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  Date: _________________                       Signature:

                                                Name:             Ronald M. Daignault




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                     ADDENDUM
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Trials@uspto.gov                                             Paper 33
571-272-7822                                      Date: June 30, 2022


      UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                      INTEL CORPORATION,
                            Petitioner,
                                 v.
                      PARKERVISION, INC.,
                         Patent Owner.


                         IPR2021-00346
                        Patent 8,190,108 B2



Before JONI Y. CHANG, BART A. GERSTENBLITH, and
IFTIKHAR AHMED, Administrative Patent Judges.

AHMED, Administrative Patent Judge.



                            JUDGMENT
                       Final Written Decision
           Determining All Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)




                              Appx1
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IPR2021-00346
Patent 8,190,108 B2

                            I. INTRODUCTION
      Intel Corporation (“Petitioner”) requested an inter partes review of
claims 1, 6–9, 12, and 17–20 (the “challenged claims”) of U.S. Patent No.
8,190,108 B2 (Ex. 1001, “the ’108 patent”). Paper 3 (“Petition” or “Pet.”).
ParkerVision, Inc. (“Patent Owner”) filed a Preliminary Response. Paper 7.
Applying the standard set forth in 35 U.S.C. § 314(a), we instituted an inter
partes review of the challenged claims. Paper 12 (“Inst. Dec.”).
      After institution, Patent Owner filed a Patent Owner Response
(Paper 17, “PO Resp.”), Petitioner filed a Reply to Patent Owner’s Response
(Paper 23, “Pet. Reply”), and Patent Owner filed a Sur-reply (Paper 28, “PO
Sur-reply”). An oral hearing was held on April 26, 2022, and a copy of the
transcript was entered in the record. Paper 32 (“Tr.”).
      We have jurisdiction pursuant to 35 U.S.C. § 6. This Decision is a
Final Written Decision under 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73 as to
the patentability of the claims on which we instituted trial. To prevail,
Petitioner must prove unpatentability by a preponderance of the evidence.
See 35 U.S.C. § 316(e) (2018); 37 C.F.R. § 42.1(d) (2020). Having
reviewed the arguments and the supporting evidence, we determine that
Petitioner has shown, by a preponderance of the evidence, that claims 1, 6–
9, 12, and 17–20 of the ’108 patent are unpatentable.

                             II. BACKGROUND
   A. Real Parties-in-Interest
      Petitioner identifies itself, Intel Corporation, as the real party-in-
interest. Pet. 1, 8. Patent Owner identifies itself, ParkerVision, Inc., as the
real party-in-interest. Paper 5, 1.



                                       2



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   B. Related Matters
      According to the parties, the ’108 patent has been asserted in
ParkerVision, Inc. v. Intel Corp., No. 6:20-cv-00562-ADA (W.D. Tex.).
Pet. 86; Paper 5, 1. Petitioner also identifies as related matters IPR2020-
01265 and IPR2020-01302, challenging U.S. Patent Nos. 7,110,444 and
7,539,474, respectively, which are asserted in ParkerVision, Inc. v. Intel
Corp., No. 6:20-cv-00108-ADA (W.D. Tex.). Pet. 8.
   C. The ’108 Patent (Ex. 1001)
      The ’108 patent, titled “Method and System for Frequency
Up-Conversion,” was filed on April 26, 2011, and claims priority to U.S.
Patent Application No. 09/176,154, filed on October 21, 1998. Ex. 1001,
codes (22), (54), (60). The ’108 patent issued on May 29, 2012. Id. at
code (45). The ’108 patent describes that communication systems transmit
information by modulating a carrier signal, where the carrier signal typically
has a higher frequency than a baseband information signal. See id. at
1:44–51. The ’108 patent relates to “up-convert[ing] a signal from a lower
frequency to a higher frequency.” Id. at 1:66–67. In particular, “the
invention accepts an information signal at a baseband frequency and
transmits a modulated signal at a frequency higher than the baseband
frequency.” Id. at 2:5–8.




                                      3



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      Figure 12 of the ’108 patent illustrates a structural block diagram of a
transmitter according to a frequency modulation (FM) embodiment (id. at
3:11–13, 18:63–65), and is reproduced below.

                                FIG, 12




Figure 12 shows that the transmitter routes an input information signal to
voltage controlled oscillator 1204, which generates and modulates
oscillating frequency modulated signal 1210. Id. at 19:21–26. Switch
module 1214 then generates “harmonically rich signal 1216 with a
continuous and periodic waveform.” Id. at 19:26–29. Next, filter 1218
filters out unwanted harmonics and outputs a signal at a desired harmonic
frequency, which transmission module 1222 prepares for transmission. Id.
at 19:37–43.




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      Figure 28A of the ’108 patent illustrates a switch module (id. at 3:52–
53, 31:59–64), and is reproduced below.

                                                                FIG . 28A




                                                                 2grn-'
     m.i ,Hrn ,rn?.?..IB2n••" !
                           -.....;.l
                                                                             r,.,"i )
                                                                             \
                                                                                 ,_                                                !
                                 !_.. .......... . . ,............. . . ., . __... _ _- -....... . .,. .. _ . _.. , __ __ •......,".}



Figure 28A shows an implementation of switch module 1214 of Figure 12.
Id. at 31:59–64. “A bias signal 2806 is gated as a result of the application of
a modulated oscillating signal 2804, and a signal with a harmonically rich
waveform 2814 is created.” Id. at 32:9–11. “The bias signal 2806 is
generally a fixed voltage,” and “[t]he modulated oscillating signal 2804 can
be frequency modulated, phase modulated, or any other modulation
scheme.” Id. at 32:11–14. Harmonically rich signal 2814 “is a continuous
and periodic waveform that is modulated substantially the same as the
modulated oscillating signal 2804.” Id. at 32:35–38.




                                                                                 5



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      Figures 54A and 54B of the ’108 patent illustrate a transceiver circuit
(id. at 4:52–55, 54:30–34), and are reproduced below.
                                  FIG. 54A




                           FIG. 54B
                    ,--------..../"-...----·· - -----...
                                   FH MOUE




                                CD ' SWJJCH POSIHON
                                      FOR TR4NSMH
                                ®-. - SWITCH f'OSHlON
                                     FCR RECEI\iE

Figures 54A and 54B show an implementation of FM modulation mode,
where the transceiver uses antenna 5402, oscillator 5444, pulse shaper 5438,
and switch 5420 to transmit and to receive. Id. at 54:34–39. When the
transceiver is performing the transmit function, the Receive/Transmit (R/T)


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                                   Appx6
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switches 5406, 5408, and 5446 are in the Transmit (T) position, with an
incoming information signal 5450 connected by switch 5446 to VCO 5444
to create a frequency modulated oscillating signal 5436. Id. at 55:5–9,
Fig. 54B. The oscillating signal is then routed through pulse shaper 5438 to
create a string of pulses 5440 which in turn cause switch 5420 to open and
close, resulting in “a harmonically rich signal 5424.” Id. at 55:12–17,
Fig. 54A. That signal is filtered, amplified, and routed to transmission
module 5432, which outputs a transmission signal 5434 to antenna 5402,
connected to another R/T switch 5406. Id. at 55:17–25, Fig. 54A.
   D. Challenged Claims
      Petitioner challenges claims 1, 6–9, 12, and 17–20, of which claims 1
and 12 are independent. Pet. 10. Claims 6–9 depend from claim 1 and
claims 17–20 depend from claim 12. Id. Claim 1 is reproduced below.
      1. [1Preamble] A frequency conversion module, comprising:
            [1A] a first switch configured to up-convert a signal based
      on a control signal and a bias signal,
           [1B] wherein said signal are routed to said frequency
      conversion module via a second switch, and
           [1C] wherein said signal is transmitted by an antenna
      connected to a third switch.
Ex. 1001, 65:49–55 (Petitioner’s annotations added).




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                                   Appx7
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     E. Prior Art and Instituted Grounds of Unpatentability
        We instituted trial based on the following grounds of unpatentability:

    Claims Challenged       35 U.S.C. § 1                References
    1, 12                  103(a)             Downey, 2 Sedra 3
    6–9, 17–20             103(a)             Downey, Sedra, Hahnel4

Inst. Dec. 37. Petitioner supports its arguments with declaration testimony
of Dr. Daniel van der Weide. Exs. 1002, 1030. Patent Owner supports its
arguments with a Declaration by Dr. Michael Steer. Ex. 2022.

                                III. ANALYSIS
     A. Principles of Law
        “In an [inter partes review], the petitioner has the burden from the
onset to show with particularity why the patent it challenges is
unpatentable.” Harmonic Inc. v. Avid Tech., Inc., 815 F.3d 1356, 1363 (Fed.
Cir. 2016) (citing 35 U.S.C. § 312(a)(3) (requiring inter partes review
petitions to identify “with particularity . . . the evidence that supports the
grounds for the challenge to each claim”)). This burden of persuasion never
shifts to Patent Owner. See Dynamic Drinkware, LLC v. Nat’l Graphics,
Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015) (discussing the burden of proof in
inter partes review).



1
  Because the challenged claims of the ’108 patent have an effective filing
date before March 16, 2013 (see Ex. 1001, codes (22), (60)), patentability is
governed by the pre-AIA version of 35 U.S.C. § 103.
2
  U.S. Patent No. 5,239,686, issued Aug. 24, 1993 (Ex. 1003, “Downey”).
3
  ADEL S. SEDRA ET AL., MICROELECTRONIC CIRCUITS (3rd ed. 1991)
(Ex. 1004, “Sedra”).
4
  U.S. Patent No. 2,730,624, issued Jan. 10, 1956 (Ex. 1005, “Hahnel”).

                                        8



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        As set forth in 35 U.S.C. § 103(a),
        [a] patent may not be obtained . . . if the differences between the
        subject matter sought to be patented and the prior art are such
        that the subject matter as a whole would have been obvious at the
        time the invention was made to a person having ordinary skill in
        the art to which said subject matter pertains.
        The question of obviousness is resolved on the basis of underlying
factual determinations including: (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of ordinary skill in the art; and (4) when in evidence, objective
evidence of nonobviousness. 5 Graham v. John Deere Co., 383 U.S. 1, 17–
18 (1966). An obviousness analysis “need not seek out precise teachings
directed to the specific subject matter of the challenged claim, for a court
can take account of the inferences and creative steps that a person of
ordinary skill in the art would employ.” KSR Int’l Co. v. Teleflex Inc.,
550 U.S. 398, 418 (2007). However, Petitioner cannot satisfy its burden of
proving obviousness by employing “mere conclusory statements.” In re
Magnum Oil Tools Int’l, Ltd., 829 F.3d 1364, 1380 (Fed. Cir. 2016).
Instead, Petitioner must articulate a reason why a person of ordinary skill in
the art would have combined the prior art references. In re NuVasive,
842 F.3d 1376, 1382 (Fed. Cir. 2016).

     B. Level of Ordinary Skill in the Art
        We review Petitioner’s asserted obviousness grounds in view of the
understanding of a person of ordinary skill in the art at the time of the
invention. Graham, 383 U.S. at 17. Petitioner contends that a person of
ordinary skill in the art “would have had at least a bachelor’s degree in

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    Neither party presents evidence of objective indicia of nonobviousness.

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electrical engineering or a related subject and two or more years of
experience in the field of radio frequency circuit design.” Pet. 40 (citing
Ex. 1002 ¶ 29). Patent Owner contends that a person of ordinary skill in the
art “would have: (a) a Bachelor of Science degree in electrical or computer
engineering (or a related academic field), and at least two (2) additional
years of experience in the design and development of radio frequency
circuits and/or systems, or (b) at least five (5) years of experience and
training in the design and development of radio frequency circuits and/or
systems.” PO Resp. 5 (citing Ex. 2022 ¶ 20). We determine that the two
proposed levels are closely aligned and are consistent with the ’108 patent
and the asserted prior art. 6 See Okajima v. Bourdeau, 261 F.3d 1350, 1355
(Fed. Cir. 2001); In re GPAC Inc., 57 F.3d 1573, 1579 (Fed. Cir. 1995); In
re Oelrich, 579 F.2d 86, 91 (CCPA 1978). We adopt the following level in
determining the patentability of the challenged claims: a person of ordinary
skill in the art would have had a bachelor’s degree in electrical or computer
engineering, or a related subject, and two years of experience in the field of
radio frequency circuit design and development.
    C. Claim Construction
      In this inter partes review, claims are construed using the same claim
construction standard that would be used to construe the claims in a civil
action under 35 U.S.C. § 282(b). See 37 C.F.R. § 42.100(b) (2020). The
claim construction standard includes construing claims in accordance with
the ordinary and customary meaning of such claims as understood by one of
ordinary skill in the art at the time of the invention. See id.; Phillips v. AWH


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 Neither party asserts that the minor difference in the proposed levels of
ordinry skill in the art makes a substantive difference in this proceeding.

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Corp., 415 F.3d 1303, 1312–14 (Fed. Cir. 2005) (en banc). In construing
claims in accordance with their ordinary and customary meaning, we take
into account the specification and prosecution history. Phillips, 415 F.3d at
1315–17.
      If the specification “reveal[s] a special definition given to a claim
term by the patentee that differs from the meaning it would otherwise
possess[,] . . . the inventor’s lexicography governs.” Phillips, 415 F.3d at
1316 (citing CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d 1359, 1366
(Fed. Cir. 2002)). Another exception to the general rule that claims are
given their ordinary and customary meaning is “when the patentee disavows
the full scope of a claim term either in the specification or during
prosecution.” Uship Intellectual Props., LLC v. United States, 714 F.3d
1311, 1313 (Fed. Cir. 2013) (quoting Thorner v. Sony Computer Entm’t Am.,
LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012)).
      Additionally, only terms that are in controversy need to be construed,
and those need be construed only to the extent necessary to resolve the
controversy. See Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795,
803 (Fed. Cir. 1999) (holding that “only those terms need be construed that
are in controversy, and only to the extent necessary to resolve the
controversy”); Nidec Motor Corp. v. Zhongshan Broad Ocean Motor Co.,
868 F.3d 1013, 1017 (Fed. Cir. 2017) (citing Vivid Techs. in the context of
an inter partes review).
      In the Institution Decision, we did not construe any claim terms
expressly because none of the terms were in dispute. Inst. Dec. 10–11. In
the briefing following institution, Patent Owner proposed a construction for
the terms “switch” and “third switch,” see, e.g., PO Resp. 31–34, and it



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became clear that the parties dispute the meaning of the term “switch,” and
construing that term is important to address the issues presented in this
proceeding. Accordingly, we address the parties’ arguments and proposed
constructions.
      1. The Parties’ Arguments
      In the Petition, Petitioner does not propose a construction for
“switch,” but does assert that “[t]here is no need to construe the[] term[] for
purposes of this IPR because . . . the prior art discloses the term[] under
either Petitioner’s or Patent Owner’s proposed interpretations.” Pet. 29–30,
n.2 (citing Ex. 1002 ¶¶ 62–63).
      In the Patent Owner Response, Patent Owner notes that the U.S.
District Court for the Western District of Texas (“Texas Court”) construed
“switch” in the related litigation as “an electronic device for opening and
closing a circuit as dictated by an independent control input.” PO Resp. 31;
see also id. at 3–4 (citing Ex. 2011 (Document 61, Claim Construction
Order), 2). Patent Owner contends that the difference between the parties’
constructions at the district court was the additional language proposed by
Patent Owner, “as dictated by an independent control input,” which the
district court adopted. Id. at 32 (citing Ex. 2011, 2). Patent Owner contends
that “[a]ccording to the Specification, a control signal is transmitted to a
switch from a source external to the switch, thereby making opening and
closing a circuit dictated by an independent control input.” Id. at 32–34
(citing Ex. 1001, 41:9–14, 55:12–14, Fig. 54A). Patent Owner argues that
“each disclosed embodiment in the ’108 patent depicts a switch with an
independent control input (i.e., an input, an output, and a control).” Id. at 34
(citing Ex. 1001, 7:57–63; Figs. 28A, 29A, 30A, 31A, 32A, 33A, 54A,



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57A–C). Patent Owner argues that we should adopt the Texas Court’s
construction for the “switch” terms. Id.
      Patent Owner notes that the U.S. District Court for the Middle District
of Florida, Orlando Division (“Orlando Court”) also construed the term
“switch” for claims of related U.S. Patent No. 6,091,940 (“the ’940 patent”),
and also adopted Patent Owner’s proposed construction as a “device with an
input and output that can take two states, open and closed, as dictated by an
independent control input.” Id. (citing Ex. 2013 (Document 381, Claim
Construction Order), 32).
      Petitioner contests Patent Owner’s characterization of the
Specification of the ’108 patent as well as Patent Owner’s construction of
“switch.” See Pet. Reply 4–7. Petitioner contends that the term “switch”
has a readily understood meaning in the art “as an electronic device for
opening and closing a circuit.” Id. at 5 (citing Ex. 1036 (an IEEE
Dictionary), 906; Ex. 1037 (a Webster Dictionary), 1354). Petitioner
contends that the ’108 patent uses “switch” consistently with its widely
understood meaning, referring to switches “opening and closing” and
indicating that some switches might not be controlled by an electronic
signal. Id. (citing Ex. 1001, 54:61–63, 7:60–61). In fact, Petitioner argues,
nothing in the ’108 patent even refers to an “independent control input” let
alone limits a switch to opening and closing as dictated by an independent
control. Id. Petitioner points out that Patent Owner previously agreed to the
same construction proposed by Petitioner here in a different prior litigation
in the U.S. District Court for the Middle District of Florida, Jacksonville
Division (“Jacksonville Court”) involving another related patent, U.S. Patent
9,118,528 (“the ’528 patent”). Id. (citing Ex. 1039 (Document 86-1, Joint-



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Claim-Construction-Chart, 2 (“Agreed Upon Constructions”))). Petitioner
further contends that no construction of “third switch” is necessary, but if we
were to construe the term, we should reject Patent Owner’s “independent
control input” language for the same reasons as argued for the term
“switch.” Id. at 7.
      In its Sur-reply, Patent Owner responds that “both the Orlando and
Texas Courts have already considered and rejected the same arguments that
[Petitioner] makes here seeking to exclude ‘as dictated by an independent
control input.’” PO Sur-reply 2. Patent Owner additionally points out that
more recently, the Texas Court appointed a Special Master to address claim
construction in the related litigation and that the Special Master
recommended construing “switch” consistent with the Texas Court’s prior
constructions. Id. at 2 n.1 (citing ParkerVision, Inc. v. TCL Indus. Holdings
Co., No. 6:20-cv-00945-ADA, at Dkt. No. 49 (W.D. Tex. Oct. 29, 2021)).
Patent Owner argues that each disclosed embodiment in the ’108 patent
depicts a switch with an input, an output, and an independent control input.
Id. at 3 (citing Ex. 1001, Figs. 28A, 29A, 30A, 31A, 32A, 33A, 54A,
57A–C). Patent Owner further contends that the passage of the ’108 patent
Specification that Petitioner relies on has already been considered by the
Orlando Court. Id. at 2–5 (citing Ex. 1001, 7:60–61; Ex. 2013, 30–32).
Moreover, Patent Owner argues, reading Petitioner’s cited passage in
context demonstrates that rather than suggesting that a switch is sometimes
not controlled by an independent control input, that passage distinguishes the
switch typically being controlled by an electronic signal as opposed to
mechanical, electrical, optical or some other manner. Id. at 5. Patent Owner
also asks us to ignore that it previously agreed, in the Jacksonville litigation,



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to the same construction proposed by Petitioner here because the Orlando
Court’s construction of the same term “came after this agreement,” and “a
district court’s construction trumps any agreement the parties made in
litigation.” 7 Id. As for the term “third switch,” Patent Owner contends that
the term “is straight-forward and does not require a construction other than
‘switch.’” Id. at 6.
      Patent Owner also argues that it would be improper to rely on
Petitioner’s extrinsic evidence in construing the “switch” terms because the
extrinsic evidence is inconsistent with the disclosure of the ’108 patent. PO
Sur-reply 4.
      2. Analysis
      We begin by noting that the Texas Court has construed the terms
“switch” and “third switch” recited in claim 1 of the ’108 patent. See
Ex. 1026, 5. As set forth in 37 C.F.R. § 42.100(b), we consider “[a]ny prior
claim construction determination concerning a term of the claim in a civil
action . . . that is timely made of record.” We have done so to the extent
possible on the record before us. In particular, the district court’s claim
construction is set forth in a chart format without providing the benefit of the
court’s analysis as to how that construction was determined. The lack of
explanation is particularly of note here because the district court did not
expressly address the parties’ dispute as to whether a diode is a type of
switch with an independent control input—a dispute similar to the one


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  The agreed construction was filed in the Jacksonville Court on January 5,
2018 and relates to the “switch” term in the ’528 patent, while the Orlando
Court entered its claim construction order on April 29, 2020 and construes
the “switch” and “switch module” terms in the related ’940 patent. See
Ex. 1039, 2; Ex. 2013, 58.

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before us. See Ex. 1040, 12 (discussing the parties’ argument to the court).
Moreover, the term “third switch” is used differently in claim 1 as compared
to claim 12 of the ’108 patent. See Ex. 1001, 65:54–55, 66:37–39 (claim 1
recites a third switch connected to an antenna while claim 12 recites a third
switch used to up-convert the signal). The court, however, construed the
terms to have their plain and ordinary meaning, and then decided that the
plain and ordinary meaning of “switch” is “an electronic device for opening
and closing a circuit as dictated by an independent control input.” As
reflected in the chart below, reproduced from the chart included in the
district court’s decision, the court’s decision recites the two parties’
proposed constructions and the court’s final construction of the terms.




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                 Patent Owner’s          Petitioner’s   District Court’s
      Term          Proposed              Proposed            Final
                  Construction          Construction      Construction
    “switch” “an electronic device   “an electronic    Plain-and-
              for opening and        device for openingordinary meaning
    ’108      closing a circuit as   and closing a     wherein the plain-
    patent,   dictated by an         circuit”          and-ordinary
    claim 1 independent control
            8
                                                       meaning is “an
              input”                                   electronic device
                                                       for opening and
                                                       closing a circuit
                                                       as dictated by an
                                                       independent
                                                       control input”
    “third    Plain and ordinary   “a switch           “Switch”: Plain-
    switch”   meaning, or “switch” controlling whether and-ordinary
              as construed by the  the antenna         meaning wherein
    ’108      Court in Case No.    transmits said      the plain-and-
    patent,   6:20-cv-108          signal”             ordinary meaning
    claim 1                                            is “an electronic
                                                       device for
                                                       opening and
                                                       closing a circuit
                                                       as dictated by an
                                                       independent
                                                       control input”
See Ex. 1026, 5, 15 (emphases added). 9 We are therefore deprived of the
court’s reasoned analysis that resulted in the court’s construction of the term
“switch” and “third switch.” 10
         The Orlando Court’s decision in adopting Patent Owner’s proposed
construction for claims of the ’940 patent is based primarily on the fact that
the defendant in that case, Qualcomm Inc. (“Qualcomm”), had previously

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  The court’s decision lists claims of other patents in this portion of the chart
that are not at issue in this proceeding and therefore have been omitted from
the chart above.

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“agreed with the construction of ‘switch/switch module’ . . . advanced by
[Patent Owner].” Ex. 2013, 31. The court’s analysis in arriving at its
construction is provided below:
      Qualcomm’s current argument is largely limited to their
      reference to the ’940 patent at 7:54–60, where the patent provides
      that “typically” a switch is controlled by an electronic or
      electrical input. The Court agrees with ParkerVision, however,
      that the embodiments and teachings of the patent as a whole
      support Plaintiff’s construction of “switch/switching module.”
Ex. 2013, 32. 11 The Orlando Court adopted Patent Owner’s proposed
construction in that case as a “device with an input and output that can take
two states, open and closed, as dictated by an independent control input.”
Id. Aside from the court’s statement above agreeing with Patent Owner that
the teachings of the patent support Patent Owner’s construction, we do not



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  The Special Master’s recommendation to the Texas Court that Patent
Owner relies on also includes nothing more than the claim construction set
forth in a chart format similar to the district court’s decision. See
ParkerVision, Inc. v. TCL Indus. Holdings Co., No. 6:20-cv-00945-ADA,
Dkt. No. 49 (W.D. Tex. Oct. 29, 2021)).
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   At the oral hearing, Patent Owner noted that “[t]here were several claim
construction hearings,” but did not point us to any reasoning that the court
may have provided at any of those hearings. See Tr. 35:8–16. The
transcripts available on the docket in the Texas cases do not address the
construction of the term “switch.” See generally ParkerVision, Inc. v. Intel
Corp., No. 6:20-cv-00108-ADA, Dkt. 77 (W.D. Tex. Jan. 29, 2021);
ParkerVision, Inc. v. Intel Corp., No. 6:20-cv-00562-ADA, Dkts. 57, 63
(W.D. Tex. June 27, 2021, Aug. 8, 2021).
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   Although Patent Owner argues that “the Orlando Court provided a
detailed written opinion,” most of that opinion lays out the parties’
arguments to the court, the procedural history of the claim construction
dispute, the Board’s prior construction of the claim terms, and the claim
construction standard employed by the Board in the inter partes review. See
Ex. 2013, 24–32.

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have before us the court’s reasoned analysis that may have resulted in the
court’s decision to adopt that construction. We do, however, consider both
courts’ construction as we analyze the meaning of “switch” based on the
complete record before us. See 37 C.F.R. § 42.100(b).
      As part of its discussion, the Orlando Court noted that the Board
previously construed the terms “switch” and “switch module” in claims of
the ’940 patent to mean a “device with an input and output that can take two
states, open and closed.” Ex. 2013, 25 (citing Qualcomm Inc. v.
ParkerVision, Inc., IPR2015-01829, Paper 30 at 7 (PTAB Mar. 7, 2017)). In
that inter partes review, Patent Owner agreed with the Board’s construction
from the institution decision. See IPR2015-01829, Paper 30 at 7. As the
Orlando Court pointed out, the Board’s construction was based on the
broadest reasonable interpretation of the claims, and Patent Owner did not
appeal the Board’s construction to the U.S. Court of Appeals for the Federal
Circuit. Ex. 2013, 25 (citing ParkerVision v. Qualcomm, 903 F.3d 1354,
1358 (Fed. Cir. 2018)).
      As reflected in the arguments above, Patent Owner’s proposed
construction in this proceeding matches the Texas Court’s final construction
in the related litigation. Petitioner too presents the same construction here
that it proposed in the related litigation. The parties’ proposed constructions
in this proceeding are reflected in the chart below.

              Patent Owner’s Proposed             Petitioner’s Proposed
   Term
                    Construction                      Construction
“switch”      “an electronic device for       “an electronic device for
              opening and closing a circuit   opening and closing a circuit”
              as dictated by an
              independent control input”



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See, e.g., PO Resp. 31 (emphasis altered), 34; Pet. Reply 5. The parties
make the same arguments regarding the term “third switch.” PO Resp. 31;
Pet. Reply 7.
      We begin with the language of claim 1, which does not expressly
require an independent control input for every switch. Claim 1, as
reproduced above, is directed to “[a] frequency conversion module,
comprising: a first switch configured to up-convert a signal based on a
control signal and a bias signal.” Ex. 1001, 65:49–51. Claim 1, therefore,
recites a control signal that up-converts another signal by controlling the
first switch that is configured to perform the up-conversion. Id. On the
other hand, claim 1 does not recite a control signal in relation to the
operation performed by the second switch and the third switch. Id. at 65:52–
53. The same is true for claim 12, which instead recites that the third switch
is used to up-convert a signal based on a control signal. Id. at 66:31–39.
The claims therefore suggest that the patentees understood how to recite a
control signal to the switch when the patentees intended to do so, but did not
add an independent control input requirement to any of the switches.
      We now turn to the Specification of the ’108 patent. The
Specification includes a section titled “Terminology.” Ex. 1001, 7:22–9:46.
This section provides lexicographic definitions of numerous terms used in
the ’108 patent. Among the terms defined therein is the phrase “control a
switch”:
      Control a switch: Causing a switch to open and close. The switch
      may be, without limitation, mechanical, electrical, electronic,
      optical, etc., or any combination thereof. Typically, it is
      controlled by an electrical or electronic input. If the switch is




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       controlled by an electronic signal, it is typically a different signal
       than the signals connected to either terminal of the switch.
Id. at 7:57–64. We find this paragraph of critical importance to
understanding the patentees’ intended meaning of the term “switch” and
walk through each sentence.
       The first sentence of this paragraph defines the phrase “[c]ontrol a
switch” as “[c]ausing a switch to open and close.” This aspect is not in
dispute.
       The second sentence of this paragraph provides examples of different
types of switches, expressly states that the examples are “without
limitation,” and states that “[t]he switch may be” “mechanical, electrical,
electronic, optical, etc. or any combination thereof.” This aspect also is not
in dispute as the parties agree that, in the context of the claims, the switch is
an “electronic device.”
       The third sentence refers back to “the switch” just described in the
second sentence using the pronoun “it” and specifically states that
“[t]ypically” the type of input that may control the switch is “an electrical or
electronic input.” This sentence is important at least because the patentees
chose to describe these control inputs as “typically.” The use of “typically,”
in this context, is non-limiting. In other words, the ’108 patent expressly
leaves open the option that the described switch may be controlled with an
input that is not electrical or electronic.
       The fourth, and final, sentence of this paragraph is critical. It
specifically states that “[i]f the switch is controlled by an electronic signal, it
is typically a different signal than the signals connected to either terminal of
the switch.” This sentence is significant for several reasons. First, by
stating “if the switch is controlled by an electronic signal” (emphasis added),


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the Specification reaffirms that the switch may be controlled by an input that
is not an electronic signal. Second, reading the sentence as a whole, it states
that “[i]f the switch is controlled by an electronic signal, it is typically a
different signal than the signals connected to either terminal of the switch”
(emphasis added). To clarify, a signal that is different than the signals
connected to either terminal of the switch is what the parties refer to as “an
independent control signal.” Thus, the fourth sentence, in the context of the
parties’ dispute, means that if the switch is controlled by an electronic signal,
it is typically an independent control signal. The same meaning of
“typically” applies here, i.e., it is non-limiting. Thus, if the first part of the
sentence that provides the conditional clause (if) is met, i.e., the switch is
controlled by an electronic signal, the electronic signal is not always an
independent control signal because typically does not require always.
       Putting the discussion above into context, particularly in comparison
to the construction advocated by Patent Owner, it is important to recognize
that the lexicographic definition does not require a switch to be “dictated by
an independent control input” because the definition specifically says that if
the switch is controlled by an electronic control signal it is typically a
different signal (i.e., an independent signal). Thus, Patent Owner’s proposed
construction seeks to limit the term “switch” to what is expressly stated in
the Specification as typical.
       Patent Owner argues that the fourth sentence of the definition “merely
refers to the switch typically being controlled by an electronic signal as
opposed to mechanical, electrical, optical or some other manner.” PO Sur-
reply 5. According to Patent Owner, “[t]he passage does not say that the
switch is sometimes not controlled by an independent control input. The



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fact remains that an independent control input is always controlling the
switch.” Id. We agree with Patent Owner that the passage does not
expressly say “the switch is sometimes not controlled by an independent
control input.” But, that is not what Petitioner contends nor does it resolve
the issue before us. As noted above, the passage states that if the switch is
controlled by an electronic signal it is typically a different signal (i.e., an
independent signal). That is, that the control input need not always be
“independent,” in the manner that Patent Owner’s proposed construction
mandates. See Praxair, Inc. v. ATMI, Inc., 543 F.3d 1306, 1323 (Fed. Cir.
2008) (“the word ‘typically’ . . . impl[ies] that the passage describes only the
most common embodiment rather than the full scope of the invention”). If
the patentees wanted to limit the term “switch” to require an independent
control input, the description provided in the “terminology” section of the
Specification would have made that clear. 12 Ex. 1001, 7:57. For the reasons
explained above, however, the description does not. Therefore, we do not
agree with Patent Owner that “switch” should be limited to require “an
independent control input.”
       Patent Owner further argues that each disclosed embodiment in the
’108 patent depicts a switch with an input, an output, and an independent
control input. PO Sur-reply 3 (citing Ex. 1001, Figs. 28A, 29A, 30A, 31A,
32A, 33A, 54A, 57A–C). But the ’108 patent Specification “does not
describe the invention as limited to embodiments having” an independent


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   Additionally, the terminology section states that “[e]ach description in this
section is provided for illustrative and convenience purposes only, and is not
limiting.” Ex. 1001, 7:24–25 (emphasis added). Yet, Patent Owner urges us
to limit the “switch” even beyond the definition and description provided in
the Specification. We decline to do so.

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control input. See Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906–
08 (Fed. Cir. 2004) (rejecting the argument that when “the subject matter
claimed in the patent-in-suit is the only subject matter described . . . that
subject matter is the invention, and not simply a ‘preferred embodiment’ of a
broader invention”); i4i Ltd. v. Microsoft Corp., 598 F.3d 831, 843–44 (Fed.
Cir. 2010) (“[A] claim is not limited to the embodiments described in the
specification unless the patentee has demonstrated a clear intention to limit
the claim’s scope with words or expressions of manifest exclusion or
restriction.”). In fact, the ’108 patent Specification does not even refer to an
“independent control input,” and discusses switches only as opening and
closing. See, e.g., Ex. 1001, 54:61–63 (“As a result of the switch opening
and closing, a down converted signal 5409 is generated.”). Given the
’108 patent’s description of how a switch is controlled (id. at 7:57–64), we
find no “clear intention to limit the claim’s scope.” 13 See i4i, 598 F.3d at
843–44.
       Turning to extrinsic evidence, we note that Dr. Steer agrees with
Patent Owner’s proposed construction, whereas Dr. van der Weide does not
offer an opinion on the meaning of the term “switch.” Specifically,
Dr. Steer testifies that the Texas Court’s “construction is correct and
accurately captures the meaning of ‘switch’ as understood by a [person of
ordinary skill in the art (‘POSITA’)].” See Ex. 2022 ¶ 166. Although we
have considered Dr. Steer’s testimony, we find it “less significant than the
intrinsic record in determining the legally operative meaning of” the term



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  Patent Owner has not pointed us to any aspect of the prosecution history
of the ’108 patent that supports interpreting the claim term as proposed by
Patent Owner. See PO Resp. 31–34; PO Sur-reply 1–6.

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“switch.” Phillips, 415 F.3d at 1317 (internal quotations and citations
omitted). In particular, we are cognizant of the Federal Circuit’s guidance
that we “should discount any expert testimony that is clearly at odds with the
claim construction mandated by . . . the written description.” Id. at 1318
(internal quotation and citation omitted). In this instance, we find that
Dr. Steer’s testimony is clearly at odds with the description of switch
provided in the ’108 patent because that description does not require that the
operation of a switch always be “dictated by an independent control input.”
Moreover, other extrinsic evidence, such as dictionary definitions offered by
Petitioner, supports that the widely understood meaning of the term switch
was a device for opening and closing a circuit. See Pet. Reply 5 (citing
Ex. 1036 (IEEE Standard Dictionary of Electrical and Electronics Terms (3d
ed. 1984)) (defining “switch” as “[a] device designed to close or open, or
both, one or more electric circuits”)); Ex. 1037 (Webster’s New World
Dictionary of Computing (3d ed. 1988) (defining “switch” as “a device used
to open, close, or divert an electric circuit”))).
       We also find it relevant that at some point during the district court
litigations, Patent Owner itself agreed to Petitioner’s proposed construction.
Patent Owner argues that the Orlando Court’s later construction of the term
“trumps any agreement the parties made in litigation.” PO Sur-reply 5.
Patent Owner’s argument, however, misses the point. Although the court’s
construction is binding on the parties before the court, it does not alter the
fact that Patent Owner, at one point, independently understood Petitioner’s
proposed construction to be the proper construction of the term.
       Based on our review of the complete record before us, including the
intrinsic and extrinsic evidence, we determine that one of ordinary skill in



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the art would understand “switch” to mean “an electronic device for opening
and closing a circuit.” With that construction of the term “switch,” we do
not find it necessary to further construe the term “third switch.”

   D. Overview of the Asserted Prior Art
      1. Downey (Ex. 1003)
      Downey is titled “Transceiver with Rapid Mode Switching
Capability” and describes a need for “a lightweight, compact and
inexpensive [radio frequency (“RF”)] transceiver that can switch rapidly
from the receive mode to the transmit mode.” Ex. 1003, code (54), 1:51–54.
To that end, Downey’s transceiver “achieves a fast switching time between
transmit and receive mode by leaving the transmit oscillator on all the time,”
which “eliminates the start up time of up to about five milliseconds.” Id. at
1:61–65. The transmit oscillator operates “at one third the transmit
frequency followed by a frequency tripler/filter/amplifier chain that can be
quickly switched on and off.” Id. at 1:68–2:6 (explaining that “only the third
harmonic of the oscillator falls into the sensitive receive frequency band”).




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      Figure 1 of Downey is reproduced below.
                             10                      12

            DATA tl
                      LOW PASS FILTER             vcxo



                      20                                       16


                                                             HARMONIC
                                                              FILTER



                                    24


                                                  DATA OUT
                                  RECEIVER




                                          FIG.1

Figure 1 shows a block diagram of an embodiment of Downey’s transceiver.
Id. at 2:25–26, 2:53–54. Digital data “is asserted at low pass filter 10 where
high frequency components of the data bit stream are removed prior to
modulation of an RF signal.” Id. at 2:54–60. “The output of low pass filter
10 is asserted at voltage controlled crystal oscillator (VCXO) 12, which
frequency modulates the oscillator’s RF signal.” Id. at 2:60–62. “VCXO 12
operates at a fundamental frequency that is one third of the transceiver’s
communication frequency.” Id. at 2:64–66. “The modulated RF output of
VCXO 12 is asserted at frequency tripler 14 where harmonics, particularly
the third harmonic, of the crystal oscillator signal are generated.” Id. at
2:67–3:2. “The output of frequency tripler 14 is asserted at harmonic filter
16 which selectively passes the third harmonic (at the communication
frequency of the transceiver).” Id. at 3:2–5. “The RF signal from harmonic



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filter 16 is asserted at power amplifier 18 where the signal power is boosted
to a level sufficient for transmission.” Id. at 3:5–7. “The signal from power
amplifier 18 is coupled to antenna 20 which radiates the transmit signal.” Id.
at 3:8–10.
      Figure 2c of Downey is reproduced below.

                                     R59

               FIG.2c          R62




                                                      D




Figure 2c shows a frequency tripler circuit for Downey’s transceiver. Id. at
2:33–34, 4:8–9. “The output of VCXO 12 (signal D) is asserted at the input
of inverter U5A.” Id. at 4:9–10. Inverter U5A outputs “harmonics of the
input signal, particularly the third harmonic which will drive the RF power
amplifier.” Id. at 4:10–13. “The input of inverter U5A is grounded through
transistor Q13 in the receive mode . . . thereby preventing the generation of
any harmonics of VCXO 12 during the receive mode.” Id. at 4:15–19.
      2. Sedra (Ex. 1004)
      Sedra is titled “Microelectronic Circuits,” and is a book “intended as a
text for the core courses in electronic circuits taught to majors in electrical
and computer engineering.” Ex. 1004, v (Preface). The objective of the
book is “to develop in the reader the ability to analyze and design electronic
circuits, both analog and digital, discrete and integrated.” Id. Sedra discuses



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“some basic concepts that underlie the design and specification of logic gate
circuits.” Id. at 908.
      A portion of Figure 13.2 of Sedra is reproduced below.

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Figure 13.2 is “[a] conceptual representation of the logic inverter.” Id. at
909. Sedra explains that “[t]he logic inverter is basically a voltage-
controlled switch such as that represented schematically in Fig[ure] 13.2.”
Id. at 908. Sedra further explains that “[p]ractical implementations of a
logic inverter utilize a transistor (a [metal–oxide–semiconductor field-effect
transistor (MOSFET)] or a [bipolar junction transistor (BJT)]) as the
switching element and a resistor or another transistor for the load resistor
RL.” Id. at 909.
      3. Hahnel (Ex. 1005)
      Hahnel is titled “Frequency Multiplier Circuit,” and relates to “a
frequency multiplier where a high degree of multiplication is desired at a
prescribed frequency.” Ex. 1005, 1:4, 1:18–21. Hahnel describes a circuit
with “a source of fundamental frequency voltage and a pulse shaper
responsive to the fundamental frequency voltage and adapted to produce



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gating pulses having a repetition frequency equal to the fundamental
frequency.” Id. at 1:59–63.
      Figure 1 of Hahnel is reproduced below.



       FIG. I




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Figure 1 illustrates a schematic representation of Hahnel’s circuit. Id. at
2:19–20. Hahnel’s circuit includes “a source [10] of frequency voltage F
which may comprise any suitable oscillator designed to produce a stable
frequency output.” Id. at 2:24–26. “The output of frequency source 10 is
applied to pulse shaper 12 for producing a substantially square-shaped
voltage wave.” Id. at 2:26–28. “The square-wave output of pulse shaper 12
controls the duration of the period of oscillation of a harmonic frequency
generator,” comprising other components of the circuit shown in Figure 1.
Id. at 2:43–48.


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   E. Obviousness of Claims 1 and 12 over Downey and Sedra
      Petitioner contends that claims 1 and 12 are unpatentable as obvious
over the combination of Downey and Sedra. Pet. 41–67, 84–85. To support
its contentions, Petitioner provides, among other things, explanations as to
how the prior art teaches each claim limitation. Id. Petitioner also relies
upon Dr. van der Weide’s testimony (Exs. 1002, 1035) to support its
positions. Id.
      Patent Owner argues that Petitioner’s proposed obviousness
combination fails to teach each of the three “switch” limitations recited in
claims 1 and 12. PO Resp. 46–49. On the complete record, we are
persuaded by Petitioner’s explanations and evidence in support of the
obviousness ground for claims 1 and 12 over Downey and Sedra. We
address below the evidence, analysis, and arguments presented by the
parties.
      1. Independent Claim 1
           a) Element [1Preamble]: “A frequency conversion module,
              comprising”
      Petitioner contends that, to the extent the preamble is limiting,
Downey teaches the preamble because Downey discloses a frequency
conversion module. Pet. 41. In particular, Petitioner contends that “Downey
discloses a transceiver that up-converts the frequency of the modulating
oscillating control signal from the VCXO by using a ‘frequency tripler’ that
triples the frequency of the signal.” Id. (citing Ex. 1003, 1:67–2:10, 2:60–
3:5, 3:53–57, 4:9–13, 4:20–25, Figs. 1, 2a–2e; Ex. 1002 ¶¶ 77–78). Patent
Owner does not present arguments as to the preamble. See generally PO
Resp. Based on the entirety of the record and for the reasons explained by
Petitioner, we determine that, to the extent the preamble is limiting,

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Petitioner has proved by a preponderance of the evidence that the asserted
prior art teaches the preamble.
          b) Element [1A]: “a first switch configured to up-convert a signal
             based on a control signal and a bias signal”
      Petitioner contends that Downey in view of Sedra teaches this
limitation. Pet. 41.
             (1) “a first switch configured to up-convert a signal”
      Petitioner contends that Downey’s frequency tripler 14 includes an
inverter U5A that up-converts a modulated signal from voltage controlled
crystal oscillator (VCXO) 12. Pet. 41–45 (citing Ex. 1002 ¶¶ 79–86).
Petitioner contends that in Downey’s system, an information signal is routed
through a low pass filter 10 and output to VCXO 12. Id. at 42 (citing
Ex. 1003, 2:54–61, Fig. 1). Petitioner further contends that the VCXO
operates at a frequency that is one-third of the frequency of the signal
ultimately transmitted. Id. at 42–43 (citing Ex. 1003, 2:64–66, 3:54–56;
Ex. 1002 ¶ 81). The modulated oscillating signal supplied to frequency
tripler 14 from the VCXO thus has a frequency of 16.628 MHz. Id. at 43–44
(citing Ex. 1002 ¶ 83). Petitioner contends frequency tripler 14 “creates a
harmonically rich signal that includes the third harmonic (with a frequency
of 49.885 MHz (3 x 16.628 MHz)) of the modulated oscillating signal.” Id.
at 44 (citing Ex. 1003, 2:66–3:2; Ex. 1002 ¶ 84). Petitioner contends this
tripling of the modulated oscillating signal amounts to an up-conversion of
the modulated oscillating signal to the desired output communications
frequency. Id. at 44–45 (citing Ex. 1003, 2:64–66, 3:54–56; Ex. 1002 ¶ 85).




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      Petitioner further contends Downey in view of Sedra teaches up-
converting a signal with a switch. Id. at 45. Petitioner’s annotated version
of Figures 1 and 2c of Downey are reproduced below.
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Id. Figure 2c is a schematic diagram of Downey’s frequency tripler circuit
(Ex. 1003, 2:32–34), which Petitioner has rotated and combined with
Figure 1 of Downey, providing annotations (in red) to show that Downey’s
frequency tripler 14 includes inverter U5A. Pet. 45–46 (citing Ex. 1003,
4:8–13). Petitioner contends that the inverter “is the component that up-
converts the modulated oscillating signal to the third harmonic.” Id.
Petitioner further contends that “[i]t was well-known in the art that an




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inverter is a switch,” and that “Sedra expressly discloses that an inverter is
‘basically a . . . switch.’” Id. at 46 (citing Ex. 1004, 908–09; Ex. 1002 ¶ 87).
      Petitioner’s annotated version of Figure 13.2 of Sedra is reproduced
below.
                         Bias signal

                                    "'   -      ou·put




                          -            -- ·!(\ --
                              Ground           Switch

Id. at 48. Figure 13.2 of Sedra (above) includes Petitioner’s annotations
showing Sedra’s inverter switch (red) with one terminal connected to a bias
signal (grey) and another to ground (yellow). Id. at 48–49 (citing Ex. 1004,
908–10; Ex. 1002 ¶ 91). Petitioner contends that “Sedra explains that an
inverter includes a switch, such as a transistor, that opens and closes to either
allow signals to pass or prevent them from doing so—just like the switch of
the ’108 patent.” Id. at 49–50 (citing Ex. 1001, 33:33–55, 55:12–20;
Ex. 1004, 908–10; Ex. 1002 ¶ 92).
             (2) Rationale to Combine Downey and Sedra
      Petitioner contends that “a POSITA would have been motivated to
combine Sedra with Downey. Specifically, a POSITA would have been
motivated to use Sedra to design the inverter of Downey and would have had
a reasonable expectation of success of doing so.” Pet. 50 (citing Ex. 1002
¶ 93). Petitioner contends that “both Sedra and Downey describe the use of

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inverters in signal processing” (id. (citing Ex. 1003, 4:10–13; Ex. 1004, 1,
911, 930; Ex. 1002 ¶ 94)), and “Sedra provides the additional details of the
structure of Downey’s inverter,” i.e., it “shows the components and structure
to use in such an inverter” (id. (citing Ex. 1004, 908–09; Ex. 1002 ¶ 95)),
and also “discloses benefits of using a switch within the inverter in a system
like Downey” (id. at 51). In particular, with respect to Sedra’s alleged
benefits, Petitioner contends that one of Downey’s goals “is to provide a
compact transceiver” and Sedra “accomplishes this goal because switching
elements—such as [metal–oxide–semiconductor (MOS)] transistors—are
small and energy efficient.” Id. (citing Ex. 1003, 1:51–52; Ex. 1004, 906).
Petitioner further contends that using Sedra’s switch to design Downey’s
inverter would thus yield predictable benefits and result in an improved
inverter that can be used to process signals for transmission. Id. at 51–52
(citing Ex. 1002 ¶ 96).
      Petitioner argues that a person of ordinary skill in the art would have
had a reasonable expectation of success combining Downey with Sedra
because the “combination is simply the application of known techniques to a
known device,” and given Sedra’s disclosure, “a POSITA would have had a
roadmap of how to construct the inverter of Downey—specifically, by using
the switch disclosed in Sedra within the inverter of Downey.” Id. at 52
(citing Ex. 1002 ¶ 97).
             (3) Patent Owner’s Response
      Patent Owner argues that “[i]nverter U5A in the frequency tripler
circuit of Downey is not configured as a switch, nor can it be without
rendering the circuit unsuitable for its intended purpose.” PO Resp. 48.
Patent Owner argues that “inverter U5A is not toggled between an open and



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closed state, but instead is configured to operate as a ‘non-linear amplifier.’”
Id. at 48–49 (citing Ex. 1003, 4:10–13; Ex. 2022 ¶ 197). According to
Patent Owner, a person of ordinary skill in the art would have understood
that “a [complementary metal-oxide semiconductor (‘CMOS’)] inverter with
appropriate feedback ensures that the transistor operates [in] its active region
(i.e., it is always ON/conducting current).” 14 Id. at 49 (citing Ex. 1003,
Fig. 2c; Ex. 2021; Ex. 2022 ¶ 198). Patent Owner contends such a
configuration “is essential to the operation of Downey’s ‘frequency tripler’
circuit that uses the nonlinear function to ‘develop harmonics of the input
signal, particularly the third harmonic.’” Id. (citing Ex. 1003, 4:10–13).
Patent Owner argues that there is no teaching, suggestion, or motivation in
Downey to use an inverter as a switch for up-conversion nor would it have
been obvious or inherent to a person of ordinary skill in the art to modify the
inverter in Downey (which operates as a non-linear amplifier) to operate as a
completely different device—a switch. Id. at 50 (citing Ex. 2022 ¶ 199).
       As to Petitioner’s proposed combination of Downey and Sedra, Patent
Owner contends that “[i]mplementing the transistor of Sedra with the
inverter of Downey would not change the operation of Downey’s frequency
tripler circuit,” and “one would have to ignore all of the disclosure in
Downey, and abandon all of the teachings and suggestions of Downey,”
using hindsight to modify Downey to arrive at the claimed invention. PO
Resp. 49–50 (citing Ex. 2022 ¶ 200).



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  Downey’s disclosed circuit component for U5A inverter is “74HC04” (see
Ex. 1001, 5:21), and Patent Owner relies on an Application Note from
Fairchild Semiconductors titled “CMOS Linear Applications,” which
discusses a MM74C04 inverter. See Ex. 2021; Ex. 2022 ¶ 198.

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             (4) Petitioner’s Reply
      Petitioner responds that although Downey discloses an inverter for
performing up-conversion, the Petition also relies on the combination of
Downey and Sedra, “which specifically describes an inverter like Downey’s
. . . and states that an ‘inverter is basically a voltage-controlled switch.’”
Pet. Reply 8–9 (citing Ex. 1004, 908; Ex. 1030 ¶¶ 5–6). Petitioner asserts
that Patent Owner’s arguments ignore Sedra’s disclosure. Id. at 9.
Petitioner contends that “Sedra’s inverter has the same configuration as the
‘first switch’ disclosed in the ’108 patent—a fact that PO does not dispute.”
Id. Petitioner asserts that “Downey in combination with Sedra thus plainly
disclose the claimed ‘first switch.’” Id. at 10 (citing Ex. 1001, Fig. 28A;
Ex. 1004, 908).
      Petitioner further contends that Patent Owner is also wrong that
Downey alone does not disclose the required switch because Patent Owner’s
argument that a non-linear amplifier is different from a switch is based on
“two demonstrably incorrect propositions: (1) an inverter cannot function as
both a ‘switch’ and ‘amplifier’ at the same time; and (2) a ‘non-linear’
amplifier cannot be a switch.” Pet. Reply 10–11 (citing Ex. 1030 ¶ 9).
Petitioner contends that basic engineering textbooks, including one authored
by Dr. Steer, show that amplifiers and switches are not mutually exclusive
components. Pet. Reply 11–12 (citing Ex. 1031, 116–22; Ex. 1035, 174;
Ex. 1030 ¶¶ 11–12). Petitioner argues that “it is precisely the operation of
Downey’s inverter as a non-linear amplifier—and the resulting square-wave
waveform—that allows Downey to upconvert a signal as described in
Downey (and in the ’108 patent).” Id. at 14–15 (citing Ex. 1003, 2:67–3:5,
4:10–13; Ex. 1030 ¶¶ 18–23); see also id. at 15–20 (explaining the



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difference between linear and non-linear amplifiers) (citing Ex. 1004, 13,
Fig. 1.11; Ex. 1030 ¶¶ 21–25).
             (5) Patent Owner’s Sur-reply
      In its Sur-reply, Patent Owner argues that Petitioner “ignores that
there are other types of amplifiers that are a compromise between these two
types of amplifiers,” such as those “that operate in an active region
(linear/non-linear modes) without causing the amplifier to saturate.” PO
Sur-reply 11 (citing Ex. 1031, 136; Ex. 1038, 146). Patent Owner further
argues that “amplifiers, such as inverter U5A (part no. 74HC04) as
configured in Downey, are never ‘purely linear’ and will always ‘exhibit
harmonic content or other distortions.’” Id. (citing Ex. 2023, 107:18–
110:22; Ex. 1032, 14–17). Patent Owner points to the voltage transfer
characteristic of the MM74C045 inverter to argue that Downey’s inverter
operates in both linear and non-linear modes. Id. at 12–13 (citing Ex. 2021,
Fig. 1; Ex. 2023, 131:16–132:10, 132:11–24). Patent Owner asserts, without
support, that “[b]ecause the amplifier operates in both linear and non-linear
modes, it is sometimes referred to as a non-linear amplifier.” Id. at 13.
Patent Owner further argues that a “pure non-linear amplifier can use
transistors that operate in two discrete regions — saturation region and cut-
off/pinch-off region.” Id. (citing Ex. 2022 ¶¶ 133–143). Patent Owner
asserts that “a continuously-ON non-linear amplifier can use transistors that
operate in the saturation region and triode/linear region.” Id. (citing
Ex. 2022 ¶¶ 137–138). According to Patent Owner, “[i]nverter U5A in
Downey is a continuously-ON non-linear amplifier,” and “does not operate
as a pure non-linear amplifier.” Id. at 14.




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      As to Petitioner’s proposed combination of Downey and Sedra, Patent
Owner argues that “implementing Downey’s inverter U5A with the
transistor of Sedra would not change this operation.” PO Sur-reply 8 (citing
PO Resp. 49). Patent Owner argues that “[u]nlike a switch, inverter U5A of
Downey (implemented with the transistor of Sedra) is not opening a circuit.”
Id. (citing PO Resp 48–49; Ex. 2022 ¶¶ 195–198).
             (6) Our Analysis
      Having fully considered the parties’ arguments and evidence, we
conclude that Petitioner has shown by a preponderance of the evidence that
the combination of Downey and Sedra discloses this limitation.
      Patent Owner’s arguments focus on Petitioner’s contention that
Downey alone discloses this limitation. As discussed above, Patent Owner
argues at length about why inverter U5A in Downey’s frequency tripler
circuit is not configured as a switch and does not operate as a switch. Patent
Owner’s arguments are based on the specific circuit components shown in
Downey’s frequency tripler circuit and characteristics of the MM74C04
inverter. Patent Owner does not address Petitioner’s contention that the
combination of Downey and Sedra also teaches this limitation, except to
argue that Sedra’s inverter when combined with Downey “would not change
the operation of Downey’s frequency tripler circuit,” and that a person of
ordinary skill in the art “would have to ignore all of the disclosure in
Downey, and abandon all of the teachings and suggestions of Downey” to
combine the two references. PO Resp. 49–50. Patent Owner therefore does
not meaningfully address Petitioner’s proposed combination. See In re
Mouttet, 686 F.3d 1322, 1333 (Fed. Cir. 2012) (“the test for obviousness is
what the combined teachings of the references would have suggested to



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those having ordinary skill in the art”) (citing In re Keller, 642 F.2d 413, 425
(CCPA 1981)).
      The claims require “a first switch configured to up-convert.” Sedra
specifically discloses a switch used to implement an inverter, and also states
that an “inverter is basically a voltage-controlled switch”—disclosure that
Patent Owner does not dispute. See Ex. 1004, 908–09, Fig. 13.2. Patent
Owner also does not dispute that Downey’s frequency tripler circuit includes
an inverter that upconverts the input signal. Ex. 1003, 4:8–13. Patent
Owner’s arguments are directed to the inverter U5A that operates as a non-
linear amplifier, as disclosed in Downey. PO Resp. 46–50. Patent Owner
specifically argues “[i]nverter U5A in the frequency tripler circuit of
Downey is not configured as a switch, nor can it be without rendering the
circuit unsuitable for its intended purpose.” PO Resp. 48. But Sedra’s
inverter is a switch. Patent Owner does not explain why a switch-based
inverter would not work in Downey to accomplish the up-conversion.
      Petitioner offers persuasive evidence that Petitioner’s combined
circuit not only meets the claim limitation, but also looks and functions
similar to the one disclosed in the ’108 patent Specification. Petitioner’s
comparison of Sedra’s inverter with the ’108 patent’s up-conversion switch
is reproduced below.




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                 ln erter with a witch        '108 Patent "Up-conversion"                          itch
                     (Page 909)                                      (Fig 28A)
          Bias signal
                                                   Bias signal        FIG . 28/A
                                  Output
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             Input                                       •-
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                              Switch                   ') Ground         0         Switch!
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Pet. Reply 10 (citing Ex. 1001, Fig. 28A; Ex. 1004, 908). Petitioner’s
comparison above shows Sedra’s inverter alongside Figure 28A of the
’108 patent, with annotations showing the various input and output signals to
each of the switches. As shown in Petitioner’s comparison of the two
figures, Sedra’s inverter has the same configuration as the switch
corresponding to the claimed “first switch” in the ’108 patent. Dr. van der
Weide testifies that “[b]oth switch configurations include a transistor
symbolized as an ideal switch (red), which opens and closes a circuit
between the bias signal (gray) and ground (yellow).” Ex. 1030 ¶ 8 (citing
Ex. 1002 ¶¶ 91–92). Dr. van der Weide further testifies that Sedra describes
that “an inverter includes a switch, such as a MOSFET or BJT transistor,
that closes to allow a signal to pass through it and opens to prevent signals
from passing through it.” Ex. 1002 ¶ 92 (citing Ex. 1004, 908–10). Dr. van
der Weide testifies that “when the switch opens and closes, the output signal
(green) fluctuates between 1V and 0V,” and therefore, the output signal is a
square wave. Id. Dr. van der Weide testifies that this is the same function as
the switch of the ’108 patent. Id. (citing Ex. 1001, 32:43–45, 33:33–55,


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42:65–43:16, 55:12–20). We find Dr. van der Weide’s testimony persuasive
because it is based on the disclosure of the ’108 patent and Sedra.
      Petitioner also provides adequate reasons with rational underpinning
as to why a person of ordinary skill in the art would have been motivated to
combine the teachings of Downey and Sedra, including because Sedra
accomplishes Downey’s goal of providing a compact transceiver by using
small and energy efficient MOS transistors. Pet. 51–52 (citing Ex. 1003,
1:51–52; Ex. 1004, 906; Ex. 1002 ¶ 96). Sedra provides a roadmap of how
to construct an inverter to be used in the circuit of Downey, and a person of
ordinary skill in the art would thus have had a reasonable expectation of
success in Petitioner’s proposed combination. Id. at 52 (citing Ex. 1002
¶ 97). Dr. van der Weide testifies that an ordinarily skilled artisan would
have understood from Sedra that a switch connected to a voltage supply
through a resistor is an inverter and that “this circuit realizes the logic
inversion operation,” allowing it to be used as an inverter in Downey’s
circuit. See Ex. 1002 ¶ 97 (citing Ex. 1004, 908–09, Fig. 13.2). We credit
Dr. van der Weide’s testimony because it is based on Sedra’s disclosure.
      Patent Owner and Dr. Steer fail to address Petitioner’s arguments or
Dr. van der Weide’s testimony on motivation to combine. See PO Resp. 49–
50 (citing Ex. 2022 ¶ 200); PO Sur-reply 8–9 (citing PO Resp. 49). Instead,
Patent Owner’s arguments focus on Downey’s disclosed inverter functioning
as a non-linear amplifier and the related circuitry in Downey’s frequency
tripler circuit. For example, Patent Owner argues that the inverter in
Downey is a special type of non-linear amplifier that is always ON and is




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therefore not a switch. 15 See PO Resp. 48–50; PO Sur-reply 11–14. Patent
Owner points to the existence of resistor R62 in Downey’s circuit to argue
that a person of ordinary skill in the art would have considered inverter U5A
“operates [in] its active region (i.e., it is always ON/conducting current).”
PO Resp. 49 (citing Ex. 2022 ¶ 198; Ex. 2021).
       Patent Owner does not however address why a person of ordinary
skill in the art looking to use Sedra’s inverter to design Downey’s inverter
would alter Sedra’s switch circuit to something else, or why the combined
circuit would also have the same non-switch characteristics that Patent
Owner contends render Downey’s inverter deficient in teaching this
limitation. See Ex. 1004, 908–09. Figure 13.2 of Sedra is reproduced
below.


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         v,
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Id. at 909. Figure 13.2 is “[a] conceptual representation of the logic
inverter.” Id. Sedra discloses its inverter circuit operates as a switch that

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  Petitioner contends that a person of ordinary skill in the art would have
understood that a non-linear amplifier is one that toggles between open and
closed states. Pet. Reply 12–13 (citing Ex. 1033, 8 (“Non-linear amplifiers
operate such that the transistor is saturated (‘fully-ON’) o[r] cut-off (‘fully-
OFF’), no intermediate state”)). Patent Owner contends that Downey’s
inverter is a special non-linear amplifier that is continuously-ON. PO Sur-
reply 13.

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fluctuates between open and close positions depending on the input signal,
and produces a square wave output signal that is the inverted form of the
input signal. Id. at 908–09. Sedra explains that the inverter transfer
characteristic of its inverter indicates that it is “a grossly nonlinear device,”
which is consistent with the mode that Downey states its inverter should
operate in. Id. at 911; Ex. 1003, 4:10–13. Downey states that it is the non-
linear operation that allows Downey’s circuit to up-convert a signal and act
as a frequency tripler. Ex. 1003, 4:10–13. It is therefore unclear why a
person of ordinary skill in the art considering combining Sedra’s inverter
with Downey’s circuit would alter the configuration of Sedra’s inverter from
a mode that Downey states enables up-conversion to a different mode that
Patent Owner alleges does not meet the claim limitation. 16 See Ex. 1030
¶¶ 13–16. Rather, we find it more likely, as argued by Petitioner and
supported by Dr. van der Weide’s testimony, that an ordinarily skilled
artisan would have understood from Sedra that a switch connected to a
voltage supply through a resistor realizes the logic inversion operation,
allowing it to be used as an inverter in Downey’s circuit just as it is
disclosed in Sedra. Pet. 52 (citing Ex. 1002 ¶ 97).
       Nor do we agree with Patent Owner’s argument that a person of
ordinary skill in the art would have understood that the use of resistor R62
suggests that the U5A inverter is in continuously on mode. Petitioner cites
an example of at least one other reference that discloses the use of a similar
resistor configuration with an inverter where the output waveform represents

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  Notably, Patent Owner does not argue that the combined circuit would not
accomplish the up-conversion. See PO Resp. 49 (arguing that
“implementing the transistor of Sedra with the inverter of Downey would
not change the operation of Downey’s frequency tripler circuit”).

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the ON and OFF values indicating that the inverter turns on and off. See
Ex. 1030 ¶ 27 (citing Ex. 1034, Fig. 4a.); Pet. Reply 18–20 n.6. To the
extent Patent Owner argues that the presence of resistor R62 would have
resulted in a continuously on state in the combined circuit with Sedra’s
inverter, “the test for obviousness is not whether the features of a secondary
reference may be bodily incorporated into the structure of the primary
reference.” In re Keller, 642 F.2d at 425. “Rather, the test is what the
combined teachings of the references would have suggested to those of
ordinary skill in the art.” Id. The presence of a feedback resistor in
Downey’s circuit therefore does not undermine the combined teachings of
Downey’s circuit with Sedra’s inverter.
      Lastly, we reject Patent Owner’s argument that a sinusoidal input to
Downey’s U5A inverter suggests that the inverter always stays on. See PO
Sur-reply 14 n.6 (“unlike a switch, inverter U5A of Downey receives a
sinusoidal input signal”); Tr. 54:7–20. We see no support in the record to
find that a sinusoidal input signal prevents a switch from operating between
on and off states; as Petitioner points out, Patent Owner’s position is at odds
with the very disclosure of the ’108 patent. See, e.g., Ex. 1001, 33:1–11
(explaining that the modulating input signal can be a sinusoidal wave,
causing the switch to open and close); Tr. 64:7–65:3.
      Fundamentally, Patent Owner does not explain how its arguments
relating to Downey’s circuit would be applicable to Petitioner’s proposed
combined circuit which in fact does utilize a “switch.” Patent Owner argues
that “one would have to ignore all of the disclosure in Downey, and abandon
all of the teachings and suggestions of Downey” to arrive at the combination




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(PO Resp. 50), but we find no teachings in Downey that dissuade
Petitioner’s proposed combination.
      We are therefore persuaded that a person of ordinary skill in the art
would have been motivated to combine Downey and Sedra in the manner
proposed by Petitioner and would have had a reasonable expectation of
success for the combination. We are therefore persuaded that the
combination of Downey and Sedra teaches this limitation.
             (7) “based on a control signal and a bias signal”
      Petitioner contends that Downey teaches using a control signal and a
bias signal to up-convert a signal with a switch. Pet. 52 (citing Ex. 1002
¶ 98). In particular, Petitioner contends that “the modulated oscillating
signal from [Downey’s] VCXO 12 controls the switch within the inverter of
Downey and Sedra—just like the control signal from the ’108 patent’s VCO
controls the switch.” Id. at 54 (citing Ex. 1003, 3:53–54, 4:8–10, 4:16–19,
Fig. 2c; Ex. 1004, 908).




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      Petitioner’s annotated versions of Figure 2c of Downey and Figure
13.2 of Sedra are reproduced below.


                         A     0811
                                                         saR        oS.E>I,

                                                                      Inverter


                                      a    ,,,,,,,,,,           \,
                         Control s:~::'..,//                        \\\
                             ,,/Sedra's Switch Within lnverte;\

                                               V




                                                               In




                                                        Switch within
                                                          inverter


Id. at 55. Figure 2c is a schematic diagram of Downey’s frequency tripler
circuit (Ex. 1002, 2:12–14), which Petitioner has rotated and combined with
Figure 13.2 of Sedra to show a control signal (blue) applied to Sedra’s
switch (red) shown as being within Downey’s frequency tripler’s inverter.
Id. (citing Ex. 1002 ¶ 101).
      Petitioner contends that Downey’s signal VCC teaches a bias signal.
Id. at 56 (citing Ex. 1003, 3:30–31). Petitioner contends that “the control
and bias signals of Downey in view of Sedra operate the same way as the
signals of the ’108 patent,” that is, “[t]he control signal causes Downey’s
inverter (implemented with Sedra’s switch) to open and close,” and “[w]hen


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the switch is open, the switch outputs the bias signal voltage VCC.” Id. at
58–59 (citing Ex. 1001, 55:12–20; Ex. 1003, 4:8–19; Ex. 1002 ¶ 104).
       Patent Owner does not present arguments as to this limitation. See
generally PO Resp. Based on the entirety of the record and for the reasons
explained by Petitioner, we determine that Petitioner has proved by a
preponderance of the evidence that the asserted prior art teaches this claim
limitation.
          c) Element [1B]: “wherein said signal are routed to said
             frequency conversion module via a second switch, and”
       Petitioner contends that Downey teaches this limitation. Pet. 59–61.
Petitioner’s annotated version of Figures 1 and 2a of Downey are reproduced
below.
                                                                  10                    1Z

                            DATA W
                                                           LOW PASS Fil.TEA          vcxo

                  Information                       ''
                     Signal                        ''      zo                                      18

                                              ''
                                             ''                                                 HAPMONIC
                                                                                                 FLTER

                                         '         CR6
                                       ''
                                      ''                                  ••
                                 ''
                                ''                                     RECEIVER


                            '
                          '
                        '''

                                                     ...


                                 Switch
                       Information
                          Signal                                               ,.,
                                       .~·•"        ••:>;;
                                                                ""
                                                                ..,,                   sS.f)R

                                                                                       Components of low Pass Filter 10




Id. at 60. Figure 2a is a schematic diagram of Downey’s low pass filter
circuit (Ex. 1003, 2:27–27), which Petitioner has rotated and combined with
Figure 1 of Downey to argue that “Downey discloses diode CR9 (second


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switch (light blue)) that routes the input data to be up-converted to the
VCXO via a low pass filter.” Id. at 59–60 (citing Ex. 1003, 3:19–52,
Figs. 1, 2a; Ex. 1002 ¶ 105). Petitioner further contends “[t]he ’108 patent
specifically refers to diodes as switches.” Id. at 61 (citing Ex. 1001,
33:60–61; Ex. 1012, Figs. 28C–28D, 56:26–33; Ex. 1002 ¶ 106).
      Patent Owner responds that Downey’s diode CR9 is not a switch
because it is not “an electronic device for opening and closing a circuit as
dictated by an independent control input.” PO Resp. 51 (citing Ex. 2022
¶ 202). Patent Owner asserts that the ’108 patent does not refer to a diode as
switch, but instead refers to a “diode ring” as a switch, and person of
ordinary skill in the art would have understood the two to be different. Id.
(citing Ex. 2022 ¶ 203).
      In its Reply, Petitioner argues that Patent Owner’s argument that CR9
is not a switch is based on Patent Owner’s improper construction of
“switch,” requiring an “independent control input.” Pet. Reply 21.
Petitioner argues that Downey discloses, with reference to Figure 2a
(reproduced above), that when the receive/transmit signal CP2 is high, the
transceiver is in transmit mode, and diode CR9 allows the information signal
CP1 to pass through to inverter U5B, and when CP2 is low, diode CR9
prevents information signal CP1 from passing through. Id. at 22–21 (citing
Ex. 1003, 3:27–30, Fig. 2a; Ex. 1030 ¶¶ 30–36).
      Moreover, Petitioner asserts that, in the parallel litigation, Patent
Owner has argued that various diodes with similar configuration as
Downey’s, disclosed in U.S. Patent No. 6,061,551 (“the ’551 patent”), which
is incorporated by reference in the ’108 patent, meet the “switch” limitation.
Pet. Reply 24–27 (citing Ex. 1040, 12–13; Ex. 1012, 56:60–62,



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Figs. 28A–C; Ex. 1030 ¶¶ 39–40). Petitioner’s comparison of Figure 28C
from the ’551 patent and Figure 2a from Downey is reproduced below.

           Ex. 1012- 551 patent, Fig. 28C                          Downey, Fig. 2a

              Output                                                         Independent
                                                                             control signal
            ~
            CQ
           C'\J
                           -
                           C>
                           ..,...
                           LQ


                           J Independent
                                                              Output
                                                                              (from CP2)



                          _[,                           (to inverter USB)
                               , co ntrol signal
                               I
                               I                                                                Diode



                          Diode                                                         CR9

                  Input
                                                                            Inp ut !from CP1)



Pet. Reply 26. Petitioner’s annotations show the various inputs and outputs
to the diode shown in each of the two figures in support of Petitioner’s
argument that Downey’s diode CR9 has the same structure in all relevant
respects as the “diode switch” in Figure 28C of the ’551 patent. Id. at
25–26. Petitioner contends that Patent Owner’s argument that Downey’s
diode CR9 is not a “switch,” thus directly contradicts both the ’108 patent’s
disclosure and Patent Owner’s representations in district court. Id. at 27.
      In its Sur-reply, Patent Owner argues that Downey’s diode CR9 does
not receive an independent control input because diode CR8 prevents signal
CP2 from reaching CR9. PO Sur-reply 19–22. According to Patent Owner,
diode CR8 in Downey’s circuit makes the configuration different than the
one shown in Figure 28C of the ’551 patent. Id. at 22–23. Patent Owner
also seeks to distinguish arguments that it made to the district court by
arguing that Patent Owner never stated to the court that a diode by itself is a
“switch,” but instead represented to the court that the module containing the


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diode is the switch. Id. at 23–25. Patent Owner argues, for the first time,
that diode CR9 is not a switch because “a diode (similar to a one-way valve)
only allows current to flow in one direction,” and is therefore not closing a
circuit. Id. at 18; Tr. 60:6–13.
      To begin, we agree with Petitioner that the arguments asserted in
Patent Owner’s Response, and Dr. Steer’s testimony in support thereof, are
entirely dependent upon Patent Owner’s proposed construction of “switch,”
which we do not adopt.
      We consider Patent Owner’s new argument raised in Patent Owner’s
Sur-reply (PO Sur-reply 18) to be untimely. See NuVasive, 842 F.3d at
1380‒81 (holding that the patent owner waived arguments that were not
raised in its response after institution); Paper 13, 8 (“Patent Owner is
cautioned that any arguments not raised in the response may be deemed
waived.”). Even if not waived, we find no evidentiary support for Patent
Owner’s requirement that a switch has to permit bidirectional current flow
in order to be in a closed state. PO Sur-reply 18 (citing PO Resp. 21). As a
threshold matter, Patent Owner’s proposed construction for the term
“switch” does not require such bidirectional current flow. Further, Patent
Owner fails to offer any support for such a requirement. Patent Owner’s
citation to its own Patent Owner Response refers to a discussion of FETs
used in a switching system, not to the claimed “second switch.” See PO
Resp. 21 (citing Ex. 2022 ¶ 146). Even in that context, Dr. Steer’s cited
testimony is merely that “a FET used as a switch has two states – either ON
(closed) or OFF (opened); allowing all current through or preventing current
from flowing.” Ex. 2022 ¶ 146. Patent Owner’s argument that the claimed
“switch” requires permitting bidirectional current flow in a closed state is



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therefore entirely unsupported. On the contrary, Dr. Steer himself testifies
that “[i]n circuits, information can be conveyed either as charge, voltage, or
current,” and that “a voltage signal refers to information that is almost
entirely conveyed as a voltage.” Ex. 2022 ¶¶ 14–15 n.3, 42. Dr. Steer’s
testimony supports that a switch may open and close a circuit for a voltage
signal, not just a current signal or for bidirectional flow.
      Patent Owner’s argument also lacks support because, as Petitioner
points out, Patent Owner has previously argued and Dr. Steer has explained
in his textbook, that diodes, at least in certain configurations, operate as
switches. See Pet. Reply 24–27 (citing Ex. 1040, 12–13; Ex. 1038, 174–75).
Patent Owner’s arguments distinguishing these prior statements as relating
to different circuit configurations are based on differences that are
immaterial to Petitioner’s contentions. See PO Sur-reply 18 n.9 (seeking to
distinguish diodes from PIN diodes) (citing Ex. 1038, 178), 22–25 (referring
to diodes disclosed in the ’551 patent as “rectifiers” in order to distinguish
them from diodes).




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      Petitioner’s annotated versions of Figure 2a of Downey are
reproduced below.
                  Transmit                                              Receive
             Si nal CP2 Is Hi                                     (Si nal CP2 Is Low)
                 Ll3                                                  Lill


                        ~Cl7                 Hl7                             , 1 l1 7
                                                                             "v'            ltl7

               Receive/Tran mi                                        eceive/Transmit
                 Signa l {High)                                        Signal {Low )
       D                                                  'I/SO
                         ' " '..        Cl't.
                           ~ 5Ml1
                            UODE SEu.cTIO'l


                    Switch (ON)                                         Swit ch (O FF )

                  •//       Info rmat io n                                         Inform ation
                                   Sil:lnal                                             Signa l
                         RIii      ►/
                                        Pl




Pet. Reply 22. Petitioner’s annotations of Figure 2a show Petitioner’s
argument that Downey’s diode CR9 (highlighted in blue) opens and closes a
circuit between inverter U5B (highlighted in green) and CP1 (highlighted in
purple). Id. at 21–24. Downey discloses that the “input data stream is
conditioned . . . and is applied to the input of inverter USB through diode
CR9. Diode CR9 is forward biased by Vcc applied through resistor R65.”
Ex. 1003, 3:27–31 (emphasis added). In view of Downey’s disclosure,
Dr. van der Weide testifies that “based on whether receive/transmit signal
CP2 is high or low, diode CR9 either closes the circuit from CP1 to the
inverter (allowing information signal CP1 to be applied to the inverter
(green) through the diode CR9) or opens that circuit (preventing information
signal CP1 from being applied to the inverter (green) through the diode
CR9).” Ex. 1030 ¶ 37 (citing Ex. 1003, 3:27–30). He further testifies as to
how CR9 allows information signal CP1 to be applied to the input of


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inverter U5B in the transmit mode. See id. ¶¶ 32–36. We credit Dr. van der
Weide’s testimony because it is consistent with Downey’s disclosure of how
its circuit operates.
       Based on the full record before us, we find Petitioner’s argument and
evidence persuasive to show that Downey’s diode CR9 teaches the recited
“second switch” because Petitioner establishes sufficiently that Downey’s
diode CR9 is “an electronic device for opening and closing a circuit.”
       Accordingly, we find that Downey teaches or suggests this limitation.
          d) Element [1C]: “wherein said signal is transmitted by an
             antenna connected to a third switch”
       Petitioner contends that Downey teaches this limitation. Pet. 61
(citing Ex. 1002 ¶ 102). Petitioner’s annotated version of Figure 2e of
Downey is reproduced below.
                                                   Amplifier              B

                              'XMT 1       R45



                                                                r
                            CR7
                            LEO                     L9              LIO         ~C40
                              f                          C35                  R47

                                                                                     F
                   Antenna                                                    R46


                        l
                   2fLc23

                                                               24
                                                                    Switch
                                           CR6

                                                    RECEIVER
                                           R56


                                                     FIG.2e
                                       A


Id. at 64. Figure 2e is a schematic diagram of Downey’s power amplifier
circuit (Ex. 1003, 2:37–38), which Petitioner has annotated to identify an
amplifier, a switch (Q11), and an antenna (numeral 20). Id. (citing Ex. 1002
¶ 112). Petitioner contends that Downey’s “amplifier includes a third


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switch—transistor Q11 (light blue . . .)—that controls whether the antenna
(brown) transmits the signal.” Id. at 63 (citing Ex. 1003, 4:33–35, Fig. 2e;
Ex. 1002 ¶ 112). Petitioner contends that “[w]hen the Downey transceiver is
in the ‘transmit mode,’ current is supplied to the switch (transistor Q11),
which permits the desired harmonic to be amplified and supplied to antenna
20.” Id. at 64–65 (citing Ex. 1003, 3:46–52, 4:35–37; Ex. 1002 ¶ 113).
      Patent Owner responds that “the proper construction of ‘switch’ is
[‘]an electronic device for opening and closing a circuit as dictated by an
independent control input,’” and transistor Q11 in Downey is not toggled
between an open and closed state, but instead is configured to operate as a
“power amplifier,” providing gain. PO Resp. 52–54 (citing Ex. 1003, 3:5–8;
Ex. 2022 ¶¶ 207–209).
       In its Reply, Petitioner asserts that Patent Owner’s argument that Q11
is not a switch is based on Patent Owner’s characterization of Signal B as a
fixed supply voltage. Pet. Reply 27–29 (citing PO Resp. 43, 53). Petitioner
contends that “Signal B is a version of the receive/transmit signal CP2
transmitted from low pass filter 10 (shown in Figure 2a),” and selectively
supplies power to Q11 based on whether CP2 is high or low. Id. at 29
(citing Ex. 1003, 3:38–52, 4:33–42; Ex. 1030 ¶¶ 47–54). Petitioner’s
annotated versions of Figure 2e of Downey are reproduced below.




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                                           Signal B (High)                                                Signal B (Low)
                                                                                                          =i   a:' /

               R45

                     Lt
                                t   L IO
                                             ft47
                                                    ~c•o                           1.9
                                                                                         C35
                                                                                                1   LIO



 Antenna                                                              Artenna

                                           Signal with desired                                                   '
                                                                                                               Signal is bloded
                                Switch         frequency
                                                                                           Switch is disabled
                           2,
                                                                                               24

                     R£CEIVtR




                      FIG.2e                                                        FIG.2e

Pet. Reply 30–31. Petitioner annotates Figure 2e of Downey separately to
show how Downey’s circuit operates when Signal B is high and when
Signal B is low. Id. (citing Ex. 1003, Fig. 2e; Ex. 1030 ¶¶ 47–54).
Petitioner contends that depending on the state of Signal B, transistor Q11
either passes or blocks Signal F, which is the up-converted signal to be
transmitted. Id. at 30. Petitioner contends that when Signal B is high,
transistor Q11 closes the circuit between Signal F and the antenna, allowing
Signal F to be amplified by transistor Q11 and transmitted by the antenna,
and when Signal B is low, transistor Q11 opens the circuit between signal F
and the antenna, preventing Signal F from passing through the circuit to the
antenna. Id. Moreover, Petitioner further contends that a person of ordinary
skill in the art would have understood that when Signal B is high, transistor
Q11 would act as a switching amplifier by opening and closing a circuit (the
circuit between inductor L10 and resistor R51) based on the value of
Signal F. Id. at 31–32 (citing Ex. 1031, 116, 153; Ex. 1030 ¶¶ 55–58).
           Patent Owner responds that transistor Q11 is only operational when
the Downey transceiver is in the transmit mode, and “[i]n this mode,
transistor Q11 provides gain (i.e., amplifies a signal) . . . and, thus, is

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configured to operate as a ‘power amplifier.’” PO Sur-reply 25–26 (citing
Ex. 1003, 3:5–8; Ex. 2022 ¶ 207). Patent Owner contends that when the
circuit is non-operational, i.e., when Signal B is low, transistor Q11 is still a
power amplifier but is not working. Id. at 26. According to Patent Owner,
“[w]hether the circuit is operational or non-operational does not change the
fundamental nature of transistor Q11 as being configured as a power
amplifier (i.e., it does not turn an amplifier into a switch).” Id.
      We agree with Petitioner that Patent Owner confuses Petitioner’s
contentions. Pet. Reply 31 (citing PO Resp. 53). By considering the
operation of transistor Q11 in the transmit mode only, i.e., when Signal B is
high, Patent Owner ignores Petitioner’s contention that in receive mode
(when Signal B is low), transistor Q11 is off, and those two states, Petitioner
contends, demonstrate that Q11 functions as a switch. Id.; see also
Tr. 29:18–30:5 (providing a light switch analogy).
      Dr. van der Weide testifies that Signal B corresponds to the
receive/transmit signal CP2, which is generated within the low pass filter 10
portion of the transceiver. Ex. 1030 ¶¶ 49–51 (citing Ex. 1003, Fig. 2a).
Dr. van der Weide further testifies that
      Since Signal B selectively supplies power to the power amplifier,
      it dictates whether transistor Q11 opens or closes a circuit to pass
      Signal F, which is the up-converted signal to be transmitted via
      the antenna. That is, in transmit mode, Signal B is high and
      transistor Q11 closes a circuit, allowing signal F to pass to the
      antenna. In receive mode, Signal B is low and transistor Q11 is
      opens a circuit and prevents signal F from passing to the antenna.
Id. ¶ 52 (citing Ex. 1003, 3:38–52, 4:33–42); see also id. ¶¶ 53, 54
(annotating Downey’s Fig. 2e showing signal F when Signal B is high and
when Signal B is low). Dr. van der Weide’s testimony is consistent with
Downey’s disclosure.

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       We are also persuaded by Petitioner’s argument that transistor Q11
functions as a “switching amplifier.” Pet. Reply 28. Patent Owner asserts
transistor Q11 is configured as an amplifier, and therefore, cannot also be
configured as a switch. PO Resp. 52–53. Dr. Steer testifies in support of
Patent Owner’s argument that “unlike a transistor used as a switch, transistor
Q11 provides gain.” See Ex. 2022 ¶¶ 205–207. As Petitioner points out,
Dr. Steer’s textbook, on the other hand, makes clear that amplifiers and
switches are not mutually exclusive. See Pet. Reply 11–12 (citing Ex. 1031,
116–22; Ex. 1035, 174). For example, Dr. Steer explains in his textbook
that “a switching amplifier is ideally either fully on or fully off,” i.e.,
functions as a switch. See Ex. 1031, 119. Dr. Steer further explains that
“[t]he main concept of the Class D [switching] amplifier is using the
transistor as a switch.” 17 Id.
       Dr. van der Weide persuasively testifies that a person of ordinary skill
in the art would have understood “that a given device (such as the transistor
in an inverter) can and typically does act as both a switch and an amplifier,”
and a person of ordinary skill in the art “would have been aware of specific,
well-known examples of transistors used for both functions.” Ex. 1030 ¶ 11
(citing Ex. 1031, 116–22; Ex. 1035, 174).
       In light of the discussion above, including Dr. van der Weide’s
testimony, we agree with Petitioner that transistor Q11 functions as a switch

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   Patent Owner contends that Petitioner’s reliance on Dr. Steer’s textbook is
improper as it was published well after the priority date of the ’108 patent.
PO Sur-reply 16. We consider Dr. Steer’s textbook not as prior art, but
instead as impeachment evidence for Dr. Steer’s testimony, which testimony
is the only evidentiary support for Patent Owner’s argument that an
amplifier cannot also function as a switch. See Pet. Reply 11 (refuting
Dr. Steer’s testimony with Dr. Steer’s textbook).

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in Downey’s power amplifier circuit, and based on the full record before us,
we find Petitioner’s argument and evidence persuasive to show that
Downey’s transistor Q11 teaches the recited “third switch.” 18 Accordingly,
we find that Downey teaches or suggests this limitation.
       2. Independent Claim 12
       Petitioner contends that “claim 12 has substantially the same scope as
claim 1 but is the ‘method version’ of claim 1,” and relies on its arguments
directed to claim 1. 19 Pet. 84–85 (citing 1002 ¶ 145). Patent Owner does
not present separate arguments as to claim 12. See PO Resp. 46 n.8
(“[Patent Owner’s] analysis of claim 1 of the ’108 patent similarly applies to
claim 12.”). Based on the entirety of the record and for the reasons
explained by Petitioner, we determine that Petitioner has proved by a
preponderance of the evidence that the asserted prior art teaches the claim
limitations recited in claim 12.
       3. Weighing the Graham Factors
       “Once all relevant facts are found, the ultimate legal determination [of
obviousness] involves the weighing of the fact findings to conclude whether
the claimed combination would have been obvious to an ordinary artisan.”
Arctic Cat Inc. v. Bombardier Recreational Prods. Inc., 876 F.3d 1350, 1361



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   To the extent Patent Owner’s arguments are based on its proposed
construction of the term “switch” (PO Resp. 52; Tr. 41:4–9), we do not
adopt that construction and, thus, for this additional reason, we do not agree
with those arguments.
19
   Petitioner notes that “claim 12 has essentially the same limitations as
claim 1, except that the ‘first switch’ routes the signal to the antenna,” and is
“a switch controlling whether the antenna transmits said signal.” Pet. 61 n.6;
see also PO Resp. 46 n.8 (agreeing that “claim 12 also recites a first and
third switch, but their roles are reversed from claim 1”).

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(Fed. Cir. 2017). On balance, considering the record before us, Petitioner
has shown, by a preponderance of the evidence, that the combination of
Downey and Sedra would have rendered the subject matter of claims 1 and
12 obvious to one of ordinary skill in the art at the time of the invention.

   F. Obviousness of Dependent Claims 6–9 and 17–20 over Downey,
      Sedra, and Hahnel
      Petitioner contends that claims 6–9 and 17–20 are unpatentable as
obvious over Downey, Sedra, and Hahnel. Pet. 67–85. Patent Owner argues
that Petitioner’s proposed obviousness combination fails to provide an
adequate rationale to combine Downey and Hahnel given the differences
between Downey’s circuit and that of Hahnel. PO Resp. 45–49. On the
complete record, we are persuaded by Petitioner’s explanations and evidence
in support of the obviousness ground for claims 6–9 and 17–20 over the
combination of Downey, Sedra, and Hahnel. We address below the
evidence, analysis, and arguments presented by the parties.
      1. Claim 6
      Claim 6 depends from claim 1 and additionally recites “a pulse
shaper; and an oscillating signal generator.” Ex. 1001, 66:13–14. Petitioner
contends that Downey in view of Sedra and Hahnel renders claim 6 obvious.
Pet. 67.
           a) “a pulse shaper”
      Petitioner contends that Hahnel discloses the claimed “pulse shaper.”
Id. at 70 (citing Ex. 1002 ¶¶ 124–125). Petitioner contends that the pulse
shaper in Hahnel receives an oscillating signal and shapes that signal into a
string of pulses. Id. at 72–73 (citing Ex. 1005, 2:23–29, Figs. 2C, 2D;
Ex. 1002 ¶¶ 126–128).


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         b) Rationale to Combine Downey and Hahnel
      Petitioner contends that a person of ordinary skill in the art would
have been motivated to combine Hahnel’s pulse shaper with Downey’s
system. Id. at 76 (citing Ex. 1002 ¶ 133). Specifically, Petitioner contends
that both Downey and Hahnel “describe techniques to increase, or multiply,
the frequency of a signal” and “Hahnel describes the benefit of using a pulse
shaper in systems such as Downey,” which require additional time or steps
to produce an up-converted signal with sufficient amplitude without a pulse
shaper. Id. at 76–77 (citing Ex. 1003, 2:9–11; Ex. 1005, 1:18–39; Ex. 1002
¶ 134). Petitioner argues that combining Downey with Hahnel to use a pulse
shaper in Downey’s system would solve these problems yielding predictable
benefits. Id. at 77 (citing Ex. 1002 ¶ 135). Petitioner contends that a person
of ordinary skill in the art would have had a reasonable expectation of
success combining Downey with Hahnel because Hahnel shows how to
combine the references by “instruct[ing] that the pulse shaper should be
positioned between the oscillator and frequency multiplier.” Id. at 77–78
(citing Ex. 1005, Fig. 1; Ex. 1002 ¶ 136).




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       Figure 1 of Downey, as modified and annotated by Petitioner, is
reproduced below.
                                                              Hahnel's pulse shaper

                           10                  12                12

                     LOW PASS FILTER        vcxo
                                                                    PULSE
                                                                   SHAPER

                                       20                                             16


                                                                                 HARMONIC
                                                                                   FILTER




                                                    24



                                                   RECEIVER




Id. at 79. Petitioner’s modified Figure 1 shows Petitioner’s proposal to add
Hahnel’s pulse shaper (green) to Downey between oscillator 12 (blue) and
frequency multiplier 14 (red). Id. at 78–79 (citing Ex. 1002 ¶ 137).
             (1) Patent Owner’s Arguments on Motivation to Combine
                 Downey and Hahnel
       Patent Owner responds that communications systems disclosed in
Downey and Hahnel are incompatible because Hahnel discloses an apparatus
which produces a discontinuous radio frequency signal while Downey
teaches outputting a continuous radio signal, and a person of ordinary skill in
the art would not have been motivated to combine the two. PO Resp. 54
(citing Ex. 2022 ¶ 210). Patent Owner, quoting from a different Hahnel
reference, argues that “[t]he circuit of Hahnel is an oscillator that is turned
on and off, that is keyed, by pulses . . . [derived from a] crystal-controlled
fundamental frequency.” Id. (citing Ex. 2018, 78). 20 Patent Owner argues


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  Exhibit 2018 is an article titled “Multichannel Crystal Control of VHF and
UHF Oscillators” by Alwin Hahnel, from the Proceedings of the Institute of
Radio Engineers.

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that “Downey, on the other hand, uses a crystal to control the oscillating
frequency of the RF signal,” and that “Downey specifically teaches that the
benefit of its system is ‘leaving the transmit oscillator on all the time.’” Id.
at 55 (citing Ex. 1003, 1:63). Patent Owner contends that it would not have
been obvious to a person of ordinary skill in the art “to insert the pulse
shaper of Hahnel into the transceiver circuit of Downey,” and that “to get to
the invention of the ’474 [sic] patent using Downey and Hahnel, one would
have to ignore all of the disclosure in Downey, and abandon all of the
teachings and suggestions of Downey.” Id. (citing Ex. 2022 ¶ 212).
             (2) Petitioner’s Reply Arguments
      In its Reply, Petitioner contends that Patent Owner’s argument
focuses on the wrong Hahnel reference, and that Hahnel and Exhibit 2018
are different publications that disclose different circuits, including “different
components—most importantly, Exhibit 2018 does not even include the
‘pulse shaper’ for which the Petition relied on Hahnel in the first place.”
Pet. Reply 33–34 (citing Ex. 1005, Fig. 1; Ex. 2018, Fig. 2; Ex. 2022
¶¶ 188–189; Ex. 1030 ¶ 60). Petitioner’s comparison of the two circuits is
reproduced below.




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                    Hahnel (Ex. 1005)                                       Ex.2018
                                   a+
    FIG. I

             Pulse shaper                                No pulse shaper


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                                                             Fig-. 2-Seheuut ic di:agr.am ol a vh( •p,ectrum roera tor.




Id. at 34. Petitioner annotates Figure 1 from Hahnel to highlight the pulse
shaper component (green) that Petitioner relies on for the proposed
combination and annotates Figure 2 of Exhibit 2018 to show that there is no
pulse shaper component disclosed.
         Petitioner further contends that Patent Owner’s substantive arguments
concerning motivation to combine are also wrong. Pet. Reply 34.
Petitioner’s annotated circuit combining the pulse shaper of Hahnel with
Downey’s circuit is reproduced below.




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                                                                     Downe       requency
                                              12                             11pl r




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                                                            FL E


                                       14




Id. at 35. Petitioner’s annotated figure of its proposed combined circuit
illustrates Petitioner’s argument that a person of ordinary skill in the art
“would have been motivated to incorporate Hahnel’s pulse shaper (green)
into Downey’s circuit between the voltage-controlled oscillator (VCXO 12
(blue)) and frequency tripler 14 (red).” Id. at 34–35 (citing Ex. 1030 ¶ 61).
Petitioner contends that “the motivation to do so would be to open and close
the inverter in the frequency tripler crisply, and thereby generating an up-
converted signal that has a harmonic at the desired output frequency with a
much larger and more constant amplitude as compared to the other undesired
harmonics.” Id. at 34. Contrary to Patent Owner’s argument, Petitioner
contends, “the proposed combination does not involve putting the pulse
shaper in front of Downey’s voltage-controlled oscillator (VCXO, blue) to
turn the oscillator on and off,” but instead, “the pulse shaper is provided
after the oscillator and in front of Downey’s frequency tripler (red).” Id. at
36. Because the pulse train is not fed into the oscillator in the proposed




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circuit, “it is entirely irrelevant that Hahnel’s oscillator turns on and off
while Downey states that its oscillator stays ‘on all the time.’” Id.
             (3) Patent Owner’s Sur-reply Arguments
      Patent Owner responds that the circuits disclosed in Hahnel and in
Exhibit 2018 “are functionally identical.” PO Sur-reply 27 (citing Ex. 2022
¶¶ 188–190). According to Patent Owner, Exhibit 2018 shows a “pulse
input” and combined with its express teachings, “e.g., ‘uhf oscillator . . . is
keyed by pulses,’ ‘the pulse repetition interval (T) is divided into a
regenerative and a degenerative period,’” a person of ordinary skill in the art
would have understood Figure 2 of Exhibit 2018 to indicate the use of a
pulse shaper. Id. Patent Owner further contends that “Hahnel’s pulse shaper
comes before (or is provided in front of) the oscillator, not after as
[Petitioner] suggests.” Id. at 28. Patent Owner asserts that “to get to the
invention of the ’108 patent using Downey and Hahnel, one would have to
ignore all of the disclosure in Hahnel, and abandon all of the teachings and
suggestions of Hahnel.” Id. (citing Ex. 2022 ¶ 213).
             (4) Analysis
      We are persuaded that Petitioner sufficiently shows that an ordinarily
skilled artisan would have had reason with rational underpinning to combine
the teachings of Hahnel with Downey. Patent Owner’s reliance on
Exhibit 2018 to argue that Hahnel discloses an apparatus incompatible with
Downey is misplaced. As evident from Petitioner’s comparison of the
figures from Hahnel and Exhibit 2018 (reproduced above), Hahnel and
Exhibit 2018 disclose entirely different circuits. Compare Ex. 1005, Fig. 1
with Ex. 2018, Fig. 2; Pet. Reply 34. Dr. Steer testifies that “Hahnel was
preceded by a 1953 publication (Ex. 2018) which describes the circuit in



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further detail.” Ex. 2022 ¶ 188. Dr. Steer further testifies that the circuits
are identical and the functionality is identical. Id. ¶ 189. Dr. Steer,
however, offers no support either in Hahnel or Exhibit 2018 for his
conclusion. Neither of the references incorporates the other and there is no
indication in either of the references that they are related. See Ex. 1003;
Ex. 2018. Not only are the two circuits relied upon by Dr. Steer facially
different in various respects (see comparison above), the circuit disclosed in
Exhibit 2018 does not include the very pulse shaper component of Hahnel
that Petitioner relies on for the proposed combination. Ex. 2018, Fig. 2.
Because Dr. Steer and Patent Owner rely on Exhibit 2018 to argue that
Hahnel’s circuit is incompatible with Downey’s circuit for the purposes of
Petitioner’s proposed combination, we find Patent Owner’s arguments do
not undermine Petitioner’s rationale to combine Downey with Hahnel. Id.
¶¶ 210–213; PO Resp. 54–55.
      Contrary to Patent Owner’s assertions, Petitioner does rely on
Hahnel’s teachings to argue why a person of ordinary skill in the art would
have been motived to combine Hahnel’s pulse shaper with Downey’s circuit.
See Pet. 76–79. Hahnel explains the drawbacks of systems that do not have
a pulse shaper, including “a large number of stages,” the difficulty in
obtaining “a high degree of frequency accuracy,” and the difficulty in
isolating “the desired harmonic frequencies from the many spurious
oscillations and unwanted harmonics.” Ex. 1005, 1:18–39. Hahnel further
explains its goals of providing a system, using a pulse shaper, that “permits
better control of the amplitude of the desired output harmonic frequency,”
and “wherein the amplitude of the desired harmonic frequency is at a
maximum.” Id. at 1:50–2:14. Relying on that disclosure, Dr. van der Weide



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testifies that adding Hahnel’s pulse shaper to Downey’s system would yield
predictable benefits, such as providing an improved up-conversion circuit
that generates a signal with a sufficient amplitude and can generate such a
signal with fewer steps in less time. Ex. 1003 ¶ 135 (quoting Ex. 1005,
1:18–39, 1:50–2:14). Dr. van der Weide further testifies that Hahnel
expressly discloses how to combine the references because it notes that the
pulse shaper should be located between an oscillator and a frequency
multiplier. Id. ¶ 136 (citing Ex. 1005, Fig. 1). We credit Dr. van der
Weide’s testimony because it is based on the express teachings of Hahnel
and Downey. And because Petitioner’s proposed combination adds
Hahnel’s pulse shaper after oscillator 12 in Downey’s circuit (see
Petitioner’s annotated figure above), Patent Owner’s argued difference
between the oscillators in Downey and Hahnel does not apply to Petitioner’s
proposed use of Hahnel’s pulse shaper in Downey’s circuit. See Pet. Reply
36.
        Based on the entirety of the record, we determine that Petitioner has
proved by a preponderance of the evidence that the asserted prior art teaches
the “pulse shaper” limitation.
           c) “an oscillating signal generator”
        Claim 6 also recites “an oscillating signal generator.” Ex. 1001,
66:13–14. Petitioner contends that Downey discloses a voltage controlled
oscillator, i.e., VCXO 12 that generates a modulated oscillating signal. Pet.
79 (citing Ex. 1003, 2:60–63, Fig. 1; Ex. 1002 ¶ 138). Patent Owner does
not present arguments as to this limitation. See generally PO Resp. Based
on the entirety of the record and for the reasons explained by Petitioner, we




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determine that Petitioner has proved by a preponderance of the evidence that
the asserted prior art teaches this claim limitation.
      2. Claim 7–9 and 17–20
      Claim 7 depends from claim 6 and additionally recites “wherein the
oscillating signal generator comprises a voltage controlled oscillator
configured to generate an oscillating signal.” Ex. 1001, 66:15–17. For the
additional limitations in claim 7, Petitioner relies on its arguments directed
to claim 6. Pet. 80 (citing Ex. 1003, 2:60–63, 3:61–66; Ex. 1002 ¶ 139).
      Claim 8 depends from claim 7 and additionally recites “wherein the
pulse shaper is configured to generate a string of pulses based on the
oscillating signal.” Ex. 1001, 66:18–20. Petitioner contends that Hahnel
teaches the additional limitations of claim 8 because it “discloses a pulse
shaper” that “receives an oscillating signal from the frequency source and
outputs a string of pulses.” Pet. 80–81 (citing Ex. 1005, 1:60–66, 2:23–30,
2:32–39, Figs. 2C, 2D; Ex. 1003, 2:60–3:2, 3:53–4:19; Ex. 1002 ¶ 140).
      Claim 9 depends from claim 8 and additionally recites “wherein the
first switch opens and closes based on the string of pulses.” Ex. 1001,
66:22–23. For the additional limitations of claim 9, Petitioner relies on its
arguments directed to claim 1 with respect to the “first switch,” and further
contends Hahnel teaches a “pulsed-signal from the pulse shaper . . . is input
to the control input 22 of the switch 16.” See Pet. 82–83 (citing Ex. 1005,
1:70–2:5, 2:43–3:44, Figs. 1, 2; Ex. 1003, 4:8–13, Fig. 1; Ex. 1002 ¶ 143).
Petitioner contends that in the combination of Downey, Sedra, and Hahnel,
“[w]hen Downey’s inverter is implemented with Sedra’s switch, the string of
pulses from Hahnel’s pulse shaper will open and close Sedra’s switch.” Id.
at 83–84 (citing Ex. 1004, 908; Ex. 1002 ¶ 144).



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      Petitioner contends that “claims 17–20 have essentially the same
scope as claims 6–9, respectively,” and relies on its arguments directed to
claims 6–9. Pet. 85 (citing Ex. 1002 ¶ 146).
      Patent Owner does not present arguments as to claims 7–9 and 17–20.
See generally PO Resp. Based on the entirety of the record and for the
reasons explained by Petitioner, we determine that Petitioner has proved by
a preponderance of the evidence that the asserted prior art teaches the claim
limitations recited in those dependent claims.
      3. Weighing the Graham Factors
      “Once all relevant facts are found, the ultimate legal determination [of
obviousness] involves the weighing of the fact findings to conclude whether
the claimed combination would have been obvious to an ordinary artisan.”
Arctic Cat Inc., 876 F.3d at 1361. On balance, considering the record before
us, Petitioner has shown, by a preponderance of the evidence, that the
combination of Downey, Sedra and Hahnel would have rendered the subject
matter of claims 6–9 and 17–20 obvious to one of ordinary skill in the art at
the time of the invention.
       IV. PETITIONER’S OBJECTION TO PATENT OWNER’S
                       DEMONSTRATIVES
      At the oral hearing, Petitioner objected to Patent Owner’s
demonstratives 81 and 82 (see Paper 30) as containing new arguments that
were not previously presented by Patent Owner. Tr. 6:17–7:1. Petitioner
argued that those demonstratives contain testimony from Dr. van der Weide
that Patent Owner did not cite in its Sur-reply and address an issue that was
not presented in Patent Owner’s Response. Id. Patent Owner did not rely on
those demonstratives during the oral hearing. Id. at 8:10–15 (Patent



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Owner’s counsel stating that he may not refer to those demonstratives during
the hearing). We therefore dismiss Petitioner’s objection as moot. 21

                             V. CONCLUSION
        For the reasons discussed above, Petitioner has demonstrated, by a
preponderance of the evidence, that claims 1, 6–9, 12, and 17–20 of the
’108 patent are unpatentable. 22 Our conclusions regarding the challenged
claims are summarized below:
                                     Claims      Claims Not
  Claims      35     Reference(s)/   Shown         Shown
 Challenged U.S.C. §    Basis      Unpatentable Unpatentable
                              Downey,
       1, 12      103(a)                         1, 12
                               Sedra
                              Downey,
     6–9, 17–20   103(a)                      6–9, 17–20
                            Sedra, Hahnel
     Overall                                   1, 6–9, 12,
     Outcome                                     17–20

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   We also note that demonstratives are not evidence, and in making our
decision, we consider the arguments presented in the papers and the
evidence presented in the exhibits filed in this case. See Paper 29, 5
(“Demonstrative exhibits used at the hearing are not evidence, nor will they
be relied upon as evidence.”); Consolidated Trial Practice Guide 84,
available at https://www.uspto.gov/TrialPracticeGuideConsolidated
(“Demonstrative exhibits used at the final hearing are aids to oral argument
and not evidence.”).
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   Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).

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                                VI. ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED that claims 1, 6–9, 12, and 17–20 of U.S. Patent
No. 8,190,108 B2 are determined to be unpatentable;
      FURTHER ORDERED that Petitioner’s objection to Patent Owner’s
demonstratives 81 and 82 is dismissed as moot; and
      FURTHER ORDERED that, because this a Final Written Decision,
parties to this proceeding seeking judicial review of this Decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




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                                                                                                          US00S 190108B2


02)    United States Patent                                                            (10) Patent No.:                    US 8,190,108 B2
       Sorrells et al.                                                                 (45) Date of Patent:                          May 29, 2012

(54)   METHODANDSYSTEMFORFREQUENCY                                                (56)                      References Cited
       UP-CONVERSION
                                                                                                    U.S. PATENT DOCUMENTS
(75)   Inventors: David F. Sorrells, Middleburg, FL (US);                                2,057,613 A        10/1936 Gardner
                  Michael J. Bultman, Jacksonville, FL                                                          (Continued)
                  (US); Robert W. Cook, Switzerland, FL
                  (US); Richard C. Looke, Jacksonville,                                         FOREIGN PATENT DOCUMENTS
                  FL (US); Charley D. Moses, Jr.,                                 DE                  1936252             1/1971
                  DeBary, FL (US)
                                                                                                                (Continued)
(73)   Assignee: ParkerVision, Inc., Jacksonville, FL                                                  OTHER PUBLICATIONS
                 (US)                                                            Aghvami, H. et al., "Land Movile Satellites Using the Highly Elliptic
                                                                                 Orbits-The UK T-SAT Mobile Payload," Fourth International Con-
( *) Notice:         Subject to any disclaimer, the term of this                 ference on Satellite Systems for Mobile Communications and Navi-
                     patent is extended or adjusted under 35                     gation, IEE, pp. 147-153 (Oct. 17-19, 1988).
                     U.S.C. 154(b) by 0 days.
                                                                                                                (Continued)
(21)   Appl. No.: 13/093,887                                                     Primary Examiner - Sam Bhattacharya
                                                                                 (74) Attorney, Agent, or Firm - Workman Nydegger
(22)   Filed:        Apr. 26, 2011                                               (57)                      ABSTRACT
                                                                                 A method and system is described wherein a signal with a
(65)                     Prior Publication Data                                  lower frequency is up-converted to a higher frequency. In one
       US 2011/0255578 Al               Oct. 20, 2011                            embodiment, the higher frequency signal is used as a stable
                                                                                 frequency and phase reference. In another embodiment, the
                                                                                 invention is used as a transmitter. The up-conversion is
                Related U.S. Application Data                                    accomplished by controlling a switch with an oscillating sig-
(60)   Continuation of application No. 12/435,595, filed on                      nal, the frequency of the oscillating signal being selected as a
                                                                                 sub-harmonic of the desired output frequency. When the
       May 5, 2009, now Pat. No. 8,019,291, which is a                           invention is being used as a frequency or phase reference, the
       continuation of application No. 11/802,389, filed on                      oscillating signal is not modulated, and controls a switch that
       May 22, 2007, now Pat. No. 7,546,096, which is a                          is connected to a bias signal. When the invention is being used
       divisionofapplicationNo. 10/086,367, filedou Mar. 4,                      in the frequency modulation (FM) or phase modulation (PM)
       2002, now Pat. No. 7,236,754, which is a continuation                     implementations, the oscillating signal is modulated by an
       ofapplication No. 09/379,497, filed on Aug. 23, 1999,                     information signal before it causes the switch to gate the bias
       now Pat. No. 6,353,735, which is a continuation of                        signal. In the amplitude modulation implementation (AM),
       application No. 09/176,154, filed on Oct. 21, 1998,                       the oscillating signal is not modulated, but rather causes the
                                                                                 switch to gate a reference signal that is substantially equal to
       now Pat. No. 6,091,940.
                                                                                 or proportional to the information signal. In the FM and PM
                                                                                 implementations, the signal that is output from the switch is
(51)   Int. Cl.                                                                  modulated substantially the same as the modulated oscillat-
       G06F 15116                     (2006.01)                                  ing signal. In the AM implementation, the signal that is output
(52)   U.S. Cl. .......................................... 455/118; 455/69       from the switch has an amplitude that is a function of the
(58)   Field of Classification Search .................... 455/69,               information signal. In both embodiments, the output of the
                                                 455/76, 78,82-84, 118           switch is filtered, and the desired harmonic is output.
       See application file for complete search history.                                           21 Claims, 59 Drawing Sheets




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                                   FIG. 12




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Appx110
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                                                               V V. -AlLl\                                                                                        FIG, 19G
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                               FIG. i!JH
        HORMONICS OF
        SIGNAL A&B
   {SHOWN SIMULTANEOUSLY
     BUT NOT SUMMED)
     !SHOWN EXPANDEOI
           1Sl.6
             ~




                               FIG. 1.9I
          FILTERED
         SH;NAL A & B
       (SHOWN EXPANDED)                                 191Ac
                                                          )
            1SiB
              ~




                                    Appx111
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                                   FIG. 20A
                                   IAELHE:O MH




                                   FIG. 208
     OSCIU.i\TING                  IREUTE!.l Mm
       CARRIER
       Sitll4l
         ,02
           \....!



                                   FIG. 20C
                                   rnRATEO Nrn




                                   Appx112
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                                     FIG. 21A
                                      rnnAirn AH n




                                     FIG. 2:18
    OSC!U.ATING                       rnELAIW Ii.Im
      CARRlf:"R
      Sl6t4Al
       aoa

        "-Pv'\l\f-· --
                  i



                                     FIG. 2iC
                                      !RELAlH.l NHJ




                                     Appx113
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                                    FIG. 22A
                                     mn.ATm Mn




                                    FIG. 228
    osnuATrn:;                      rnaATrn AAn
     tM'ifUER
      sr&tM.
        S-09


        ' - ~
                 l




                                    FIG. 23




                                    Appx114
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                                                    FIG. 24




                                                    FIG. 25




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                ~'tIUATING
                    SWNAl
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                                                    FIG. 27
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                                                         KODUlE               I        · ---~,
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                                             L. . . . . . . . . ------· .. ···-···J~- 1.aos


                                                      Appx115
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                                   FIG~ 28A




                                                            SfGttAl WHH




                                                FIG. 28C




                                   Appx116
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                                         FIG . 29A

                                 BIAS
                                          r2aon
                                SIGNAL




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        SIGNAl .I •
              ;r,.,.........~

           28-04




              FIG. 298                                     FIG, 2!JC




                                               Appx117
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                                   FIG. 30A
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                                     S.lGWAf.
                                          ,,.~-- 2806



                                                           28H
                                                           )     SIGNAi.. wrm
                                        ........-----1--'--o HA.RMO~UU-Ll Y
                                                               f!ICH ~l\'EFOl¾l




                                     0

                FIG. 308




                                   Appx118
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                                       FIG. 314
                                            r3106
                   REFEflENCF.o--'_,.
                  SIGNAL
               f"""- • >   •--•-•••W • • •••••••••••• •   -                   • 0 -••oovo._ ,- •• ••••••••••   i
               !                                              r-3108                                           !


                                                                                                                                SIGNAL WlfH
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                                                                                                                    ,         FUCH WAVEFORM
                                                                                                                    31H

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              FIG. 318                                                                              FIG. 31C


                                                                                                           SECOND         __.., - 3116
                                                                                                           SI6NAl




                                                  Appx119
    Case: 22-2173          Document: 15          Page: 203         Filed: 01/17/2023




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                                FIG. 32A
                                   ··3106
                   REFERENCE o--......_..,
                     SIGNAL




     OSCILLATING
       SRiNA




               FIG. 328                               FIG. 32C


                                                          SECOND      .•✓ 3HS
                                                          SIGNAL




                                       Appx120
    Case: 22-2173      Document: 15           Page: 204   Filed: 01/17/2023




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                               FIG. 33A
                                 REFERENCE
                                    Sif.NAL




                                                          3114
                                                          / ' SIGNAL WHH
                                      ...------+"--ottfu1-lONJCALLY
                                                             RICH WAVEPJHM




               FIG~ 338                           FIG. 33C




                                   Appx121
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                               FIG. 34




                               FIG. 35




                               FIG. 36

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                                    f'l!li
                             DESIRED f-RWJtNC't




                                    Appx122
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                                               FIG. 37A




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                                               FIG~ 378




                                                   FIG. 38
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                                     l 38041
            HARMONIC SIGNAL
                Ar DESIRED
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                                             Appx123
    Case: 22-2173         Document: 15         Page: 207    Filed: 01/17/2023




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                               FIG. 3SA




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                                   3910        3S04


                               FIG. 398




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     WA\'EFOh'fi
                                FIG. 39C
       3904,


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               7     ::                        l I                 L
                                FIG. 39D
    WAVEFOOM
      390~



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          -~----_-----+--+----Fl_-


                                    Appx124
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                                   FIG. 40A




                                   FIG. 408




                                   FIG. 40C




                                   FIG, 400




                                   Appx125
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                                   FIG. 41
              4100,




                                   FIG. 42A



                                   FIG. 428



                                   FIG. 42C



                                   FIG. 420



                                   FIG. 42£




                                   Appx126
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                                                                                     Appx127
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                                   FIG. 448




                                          44C




   !fARNtNICALLY                   FIG, 440
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       44   on---~Alll.JLJ1JLJLlL.fl.JlJL11llJLJUlJLilJLL




                                   Appx128
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                                     FIG. 458




                                     FIG. 45C
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   RICH SIQiAl.
       ~506 ~"-
                  .....



                                     FIG. 450




                                     FIG. 45£




                                     FIG. 45F




                                         Appx129
    Case: 22-2173      Document: 15      Page: 213      Filed: 01/17/2023




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                              FIG~ 48
       CONTINUOUS
        PERIOD.IC
      c--------..i; ENHANCEME~~
        WAVEFORM      HARMONIC
                       MODULE
                                                      STRING OF PULSES
     480-4
                           4602




                              FIG~ 47
        SIGNAL
      REQUIRING                                          AMPLIFIED
     AMPl.IFICATIO~
     o-----.....i Af1PLIFIER                              SIGNAL
                    MODULE
     4704                                             4706)




                                   Appx130
    Case: 22-2173                Document: 15                         Page: 214                 Filed: 01/17/2023




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                                                    FIG. 48A
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                                                    Appx131
    Case: 22-2173        Document: 15      Page: 215    Filed: 01/17/2023




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              3




                                     Appx132
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                                   Appx133
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                                   FIG. 51.A




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                                   Appx134
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                                 FIG. 518
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                                                 SIAS ~~.6NAt



                                FIG. 51D

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                                    Appx135
    Case: 22-2173      Document: 15              Page: 219          Filed: 01/17/2023




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                                   FIG. 52
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                      UNI\i'mSAf. fREQiJf}lt't ~ 1IH'.Q~t\lERSlON




                                     Appx136
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                                       FIG. 53




   5328




                OSClU.ATIN~··;IG;;:····1
              -UNMl.ll)ULA !BJ lAttl
              -~ODUL!\TEO IH11 Pm
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                     !NFOR~.AT!ON
                   SIGNAL ffM/PMJ                                         "··5314




                                       Appx137
    Case: 22-2173      Document: 15           Page: 221          Filed: 01/17/2023




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                                   FIG. 54A
              ·--------/'...,_..····-·----·--···--••.•·--------------------------·--··1




                                   Appx138
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                            FIG. 548
                               FM MOUE




          l
                           FIG. 54C
                               PM MODE




                                   Appx139
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                                   FIG. 5'5
    --~---------__.,,,,....._~------ ------·.,,.




                                   Appx140
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                                         FIG. 56
                           mAIISMHTEfl USING PRESENT !NV£NU(t.i IN
                          FULL DUPLEX COl-!M'JNlCATIQNS crncv1f W1TH
                             lJNMRSM.. ffifOUENCY OOWN-C\'1«\IU!lf.R
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                                        Appx141
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                                    FIG. 57A
                          11-1.t~S.tiinf.fl IN Hit FM D-!flOOJMBfl




                                    Appx142
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                                                                         FIG, SlB
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                                                                         FIG. SIC
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                                                                          Appx143
    Case: 22-2173                                    Document: 15                                                           Page: 227                                               Filed: 01/17/2023




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                                                                                      FIG. 58
                                                        f.~H lihTIO •· tu
             0.2000 .. · ··--· ..... ····--······ .. ······ · ········· ...... -- ............................,..................... · · ... · ..... ·
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             0.1300 \ ' ...................... "" ............. ······ .................................. ··••· ..................... ,
                                      -ii. ·.·. . - . ·.·.·.·.·. . .·.·.-.·.· .·.·.·. .· .·.·.·.·.-. . .·.-.-.·.·.·.-.-.-.-.... .-.·.·.· ..-.·. -· ..-.-.-.-.·.• .· -.-.· -. . . .-.-.-.-. . ·.·.-.-.-.-.· .-.-.-.-. ·..-.-.-. .-. . :.·.-..-.-
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                                                                                            Appx144
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                                   Appx145
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                                   Appx146
                                                                                                                                                                          ~
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                                                                              FIG. 61                                                                                    •
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                                                                                                                                                                                    Case: 22-2173




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                                                                                                          FIG. 62                                                                            ~
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                                                                                    FIG. 63A




                                                                                    FIG. 638
   OSCIU.A TING
     SIGNAL
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                                                                                    FIG. 63C
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                                                                                    FIG. 63D




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                                  FIG. 63F

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          SIGNAL
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                         FIG. 64A




                       FIG. 64A-1




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                                        FIG. 848
                                                         1 su4
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                                        FIG. 64C




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              to
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     METHOD AND SYSTEM FOR FREQUENCY                                    In one embodiment, the invention uses a stable, low fre-
              UP-CONVERSION                                          quency signal to generate a higher frequency signal with a
                                                                     frequency and phase that can be used as stable references.
             CROSS REFERENCE TO RELATED                                 In another embodiment, the present invention is used as a
                         APPLICATIONS                             5 transmitter. In this embodiment, the invention accepts an
                                                                     information signal at a baseband frequency and transmits a
    The present application is a continuation of U.S. patent
application Ser. No. 12/435,595, "Method and System for              modulated signal at a frequency higher than the baseband
Frequency Down-Conversion and Frequency Up-Conver-                   frequency.
sion," filed May 5, 2009, now U.S. Pat. No. 8,019,291, which            The methods and systems of transmitting vary slightly
is a continuation of U.S. patent application Ser. No. 11/802, 10 depending on the modulation scheme being used. For some
389, "Frequency Up-Conversion Using a Harmonic Genera-               embodiments using frequency modulation (FM) or phase
tion and Extraction Module," filed May 22, 2007, U.S. Pat.           modulation (PM), the information signal is used to modulate
No. 7,546,096, which is a divisional of U.S. patent applica-         an oscillating signal to create a modulated intermediate sig-
tion Ser. No. 10/086,367, "Method and System for Frequency 15 nal. Ifneeded, this modulated intermediate signal is "shaped"
Up-Conversion," filed Mar. 4, 2002, U.S. Pat. No. 7,236,754,
                                                                     to provide a substantially optimum pulse-width-to-period
which is a continuation of U.S. patent application Ser. No.
09/379,497, "Method for Output Signal Generation," filed             ratio. This shaped signal is then used to control a switch which
Aug. 23, 1999, U.S. Pat. No. 6,353,735, which is a continu-          opens and closes as a function of the frequency and pulse
ation of U.S. patent application Ser. No. 09/176,154,                width of the shaped signal. As a result of this opening and
"Method and System for Frequency Up-Conversion," filed 20 closing, a signal that is harmonically rich is produced with
Oct. 21, 1998, U.S. Pat. No. 6,091,940, all ofwhich are herein       each harmonic of the harmonically rich signal being modu-
incorporated by reference in their entireties.                       lated substantially the same as the modulated intermediate
    The following applications of common assignee are related        signal. Through proper filtering, the desired harmonic (or
to the present application and are herein incorporated by            harmonics) is selected and transmitted.
reference in their entireties:                                    25    For some embodiments using amplitude modulation
    U.S. patent application Ser. No. 09/176,022, "Method and
                                                                     (AM), the switch is controlled by an unmodulated oscillating
       System for Down-Converting Electromagnetic Sig-
       nals," filed Oct. 21, 1998, U.S. Pat. No. 6,061,551.          signal (which may, if needed, be shaped). As the switch opens
    U.S. patent application Ser. No. 09/176,415, "Method and         and closes, it gates a reference signal which is the information
       System for Ensuring Reception of a Communications             signal. In an alternate implementation, the information signal
       Signal," filed Oct. 21, 1998, U.S. Pat. No. 6,061,555.     30 is combined with a bias signal to create the reference signal,
    U.S. patent application Ser. No. 09/175,966, "Integrated         which is then gated. The result of the gating is a harmonically
       Frequency Translation And Selectivity," filed Oct. 21,        rich signal having a fundamental frequency substantially pro-
       1998, U.S. Pat. No. 6,049,706.                                portional to the oscillating signal and an amplitude substan-
    U.S. patent application Ser. No. 09/176,027, "Universal 35 tially proportional to the amplitude of the reference signal.
       Frequency Translation, andApplications of Same," filed
                                                                     Each of the harmonics of the harmonically rich signal also
       Oct. 21, 1998 (abandoned).
                                                                     have amplitudes proportional to the reference signal, and are
            BACKGROUND OF THE INVENTION                              thus considered to be amplitude modulated. Just as with the
                                                                     FM/PM embodiments described above, tlrrough proper filter-
    1. Field of the Invention                                     40 ing, the desired harmonic (or harmonics) is selected and
    The present invention is generally directed to frequency         transmitted.
up-conversion of electromagnetic (EM) signals.                          Further features and advantages of the invention, as well as
    2. Related Art                                                   the structure and operation of various embodiments of the
    Modem day communication systems employ components                invention, are described in detail below with reference to the
such as transmitters and receivers to transmit information 45 accompanying figures. The left-most digit(s) of a reference
from a source to a destination. To accomplish this transmis-         number typically identifies the figure in which the reference
sion, information is imparted on a carrier signal and the            number first appears.
carrier signal is then transmitted. Typically, the carrier signal
is at a frequency higher than the baseband frequency of the                   BRIEF DESCRIPTION OF THE FIGURES
information signal. Typical ways that the information is so
imparted on the carrier signal are called modulation.                   FIG. I illustrates a circuit for a frequency modulation (FM)
    Three widely used modulation schemes include: frequency          transmitter;
modulation (FM), where the frequency of the carrier wave                FIGS. 2A, 2B, and 2C illustrate typical waveforms associ-
changes to reflect the information that has been modulated on        ated with the FIG. 1 FM circuit for a digital information
the signal; phase modulation (PM), where the phase of the 55 signal;
carrier signal changes to reflect the information imparted on           FIG. 3 illustrates a circuit for a phase modulation (PM)
it; and amplitude modulation (AM), where the amplitude of            transmitter;
the carrier signal changes to reflect the information. Also,            FIGS. 4A, 4B, and 4C illustrate typical waveforms associ-
these modulation schemes are used in combination with each           ated with the FIG. 3 PM circuit for a digital information
other (e.g., AM combined with FM and AM combined with 60 signal;
PM).                                                                    FIG. 5 illustrates a circuit for an amplitude modulation
                                                                     (AM) transmitter;
               SUMMARY OF THE INVENTION                                 FIGS. 6A, 6B, and 6C illustrate typical waveforms associ-
                                                                     ated with the FIG. 5 AM circuit for a digital information
    The present invention is directed to methods and systems to 65 signal;
up-convert a signal from a lower frequency to a higher fre-             FIG. 7 illustrates a circuit for an in-phase/quadrature-phase
quency, and applications thereof.                                    modulation ("1/Q") transmitter;




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   FIGS. 8A, 88, 8C, 8D, and 8E illustrate typical waveforms          FIG. 36 is a representative spectrum demonstrating the
associated with the FIG. 7 "I/Q" circuit for digital informa-      calculation of "Q;"
tion signal;                                                          FIGS. 37A and 378 are representative examples of filter
   FIG. 9 illustrates the high level operational flowchart of a    circuits;
transmitter according to an embodiment of the present inven- 5        FIG. 38 illustrates an implementation example of a trans-
tion;                                                              mission module;
   FIG. 10 illustrates the high level structural block diagram        FIG. 39A shows a first exemplary pulse shaping circuit
of the transmitter of an embodiment of the present invention;      using digital logic devices for a squarewave input from an
   FIG. 11 illustrates the operational flowchart of a first        oscillator;
embodiment (i.e., FM mode) of the present invention;            10    FIGS. 398, 39C, and 39D illustrate waveforms associated
   FIG. 12 illustrates an exemplary structural block diagram       with the FIG. 39A circuit;
of the first embodiment (i.e., FM mode) of the present inven-         FIG. 40A shows a second exemplary pulse shaping circuit
tion;                                                              using digital logic devices for a squarewave input from an
   FIG. 13 illustrates the operational flowchart of a second       oscillator;
embodiment (i.e., PM mode) of the present invention;            15    FIGS. 408, 40C, and 40D illustrate waveforms associated
   FIG. 14 illustrates an exemplary structural block diagram       with the FIG. 40A circuit;
of the second embodiment (i.e., PM mode) of the present               FIG. 41 shows a third exemplary pulse shaping circuit for
invention;                                                         any input from an oscillator;
   FIG. 15 illustrates the operational flowchart of a third           FIGS. 42A, 428, 42C, 42D, and 42E illustrate representa-
embodiment (i.e., AM mode) of the present invention;            20 tive waveforms associated with the FIG. 41 circuit;
   FIG. 16 illustrates an exemplary structural block diagram          FIG. 43 shows the internal circuitry for elements ofFIG. 41
of the third embodiment (i.e.,AM mode) of the present inven-       according to an embodiment of the invention;
tion;                                                                 FIGS. 44A-44G illustrate exemplary waveforms (for a
   FIG. 17 illustrates the operational flowchart of a fourth       pulse modulation mode operating in a pulse shift keying
embodiment (i.e., "I/Q" mode) of the present invention;         25 embodiment) at a plurality of points in an exemplary high
   FIG. 18 illustrates an exemplary structural block diagram       level circuit diagram, highlighting the characteristics of the
of the fourth embodiment (i.e., "I/Q" mode) of the present         first three harmonics;
invention;                                                            FIGS. 45A-45F illustrate exemplary waveforms (for an
   FIGS.19A-19I illustrate exemplary waveforms (for a fre-         amplitude modulation mode operating in an amplitude shift
quency modulation mode operating in a frequency shift key- 30 keying embodiment) at a plurality of points in an exemplary
ing embodiment) at a plurality of points in an exemplary high      high level circuit diagram, highlighting the characteristics of
level circuit diagram;                                             the first three harmonies;
   FIGS. 20A, 208, 20C illustrate typical waveforms associ-           FIG. 46 illustrates an implementation example of a har-
ated with the FIG. 1 FM circuit for an analog information          monic enhancement module;
signal;                                                         35    FIG. 47 illustrates an implementation example ofan ampli-
   FIGS. 21A, 218, 21C illustrate typical waveforms associ-        fier module;
ated with the FIG. 3 PM circuit for an analog information             FIGS. 48A and 488 illustrate exemplary circuits for a
signal;                                                            linear amplifier;
   FIGS. 22A, 228, 22C illustrate typical waveforms associ-           FIG. 49 illustrates a typical superheterodyne receiver;
ated with the FIG. 5 AM circuit for an analog information 40          FIG. 50 illustrates a transmitter according to an embodi-
signal;                                                            ment of the present invention in a transceiver circuit with a
   FIG. 23 illustrates an implementation example of a voltage      typical superheterodyne receiver in a full-duplex mode;
controlled oscillator (VCO);                                          FIGS. SIA, 518, SIC, and SID illustrate a transmitter
   FIG. 24 illustrates an implementation example of a local        according to an embodiment of the present invention in a
oscillator (LO);                                                45 transceiver circuit using a common oscillator with a typical
   FIG. 25 illustrates an implementation example of a phase        superheterodyne receiver in a half-duplex mode;
shifter;                                                              FIG. 52 illustrates an exemplary receiver using universal
   FIG. 26 illustrates an implementation example of a phase        frequency down conversion techniques according to an
modulator;                                                         embodiment;
   FIG. 27 illustrates an implementation example of a sum- so         FIG. 53 illustrates an exemplary transmitter of the present
ming amplifier;                                                    invention;
   FIGS. 28A-28C illustrate an implementation example of a            FIGS. 54A, 548, and 54C illustrate an exemplary trans-
switch module for the FM and PM modes;                             mitter of the present invention in a transceiver circuit with a
   FIG. 29A-29C illustrate an example of the switch module         universal frequency down conversion receiver operating in a
of FIGS. 28A-28C wherein the switch is a GaAsFET;               55 half-duplex mode for the FM and PM modulation embodi-
   FIGS. 30A-30C illustrate an example of a design to ensure       ment;
symmetry for a GaAsFET implementation in the FM and PM                FIG. 55 illustrates an exemplary transmitter of the present
modes;                                                             invention in a transceiver circuit with a universal frequency
   FIGS. 31A-31C illustrate an implementation example of a         down conversion receiver operating in a half-duplex mode for
switch module for the AM mode;                                  60 the AM modulation embodiment;
   FIGS. 32A-32C illustrate the switchmoduleofFIGS. 31A-              FIG. 56 illustrates an exemplary transmitter of the present
31C wherein the switch is a GaAsFET;                               invention in a transceiver circuit with a universal frequency
   FIGS. 33A-33C illustrates an example of a design to ensure      down conversion receiver operating in a fall-duplex mode;
symmetry for a GaAsFET implementation in the AM mode;                 FIGS. 57A-57C illustrate an exemplary transmitter of the
   FIG. 34 illustrates an implementation example of a sum- 65 present invention being used in frequency modulation, phase
mer;                                                               modulation, and amplitude modulation embodiments,
   FIG. 35 illustrates an implementation example of a filter;      including a pulse shaping circuit and an amplifier module;




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                                                   US 8,190,108 B2
                             5                                                                 6
   FIG. 58 illustrates harmonic amplitudes for a pulse-width-           The Summing Module (AM Mode).
to-period ratio of0.01;                                                 Operational Description.
   FIG. 59 illustrates harmonic amplitudes for a pulse-width-           Structural Description.
to-period ratio of0.0556;                                               The Switch Module (FM, PM, and "I/Q" Modes).
   FIG. 60 is a table that illustrates the relative amplitudes of 5     Operational Description.
the first 50 harmonics for six exemplary pulse-width-to-pe-             Structural Description.
riod ratios;                                                            The Switch Module (AM Mode).
   FIG. 61 is a table that illustrates the relative amplitudes of       Operational Description.
the first 25 harmonics for six pulse-width-to-period ratios             Structural Description.
optimized for the 1st through 1O"' subharmonics;                  10    The Summer ("I/Q" Mode).
   FIG. 62 illustrates an exemplary structural block diagram            Operational Description.
for an alternative embodiment of the present invention (i.e., a         Structural Description.
mode wherein AM is combined with PM);                                   The Filter (FM, PM, AM, and "I/Q" Modes).
   FIGS. 63A-63H illustrate exemplary waveforms (for the                Operational Description.
embodiment of FIG. 62) at a plurality of points in an exem- 15          Structural Description.
plary high level circuit diagram, highlighting the character-           The Transmission Module (FM, PM, AM, and "I/Q"
istics of the first two harmonics;                                   Modes).
   FIGS. 64A and 64A1 illustrate exemplary implementa-                  Operational Description.
tions of aliasing modules; and                                          Structural Description.
   FIGS. 64B-64F illustrate exemplary waveforms at a plu- 20            Other Implementations.
rality of points in the FIGS. 64A and 64A1 circuits.                    Harmonic Enhancement.
                                                                        High Level Description.
    DETAILED DESCRIPTION OF THE PREFERRED                               Operational Description.
                        EMBODIMENTS                                     Structural Description.
                                                                  25    Exemplary Embodiments.
Table of contents                                                       First Embodiment: When a Square Wave Feeds The Har-
   Terminology.                                                      monic Enhancement Module to Create One Pulse per Cycle.
   Overview of the Invention.                                           Operational Description.
   Discussion of Modulation Teclmiques.                                 Structural Description.
   Explanation of Exemplary Circuits and Waveforms.               30    Second Embodiment: When a Square Wave Feeds The
   Frequency Modulation.                                             Harmonic Enhancement Module to Create Two Pulse per
   Phase Modulation.                                                 Cycle.
   Amplitude Modulation.                                                Operational Description.
   In-phase/Quadrature-phase Modulation.                                Structural Description.
   Features of the Invention.                                     35    Third Embodiment: When Any Waveform Feeds the Har-
   Frequency Up-conversion.                                          monic Enhancement Module.
   High level Description.                                              Operational Description.
   Operational Description.                                             Structural Description.
   Structural Description.                                              Other Embodiments.
   Exemplary Embodiments.                                         40    Implementation Examples.
   First Embodiment: Frequency Modulation (FM) Mode.                    First Digital Logic Circuit.
   Operational Description.                                             Second Digital Logic Circuit.
   Structural Description.                                              Analog Circuit.
   Second Embodiment: Phase Modulation (PM) Mode.                       Other Implementations.
   Operational Description.                                       45    Amplifier Module.
   Structural Description.                                              High Level Description.
   Third Embodiment: Amplitude Modulation (AM) Mode.                    Operational Description.
   Operational Description.                                             Structural Description.
   Structural Description.                                              Exemplary Embodiments.
   Fourth Embodiment: In-phase/Quadrature-phase ("I/Q") 50              Linear Amplifier.
Modulation Mode.                                                        Operational Description.
   Operational Description.                                             Structural Description.
   Structural Description.                                              Other Embodiments.
   Other Embodiments.                                                   Implementation Examples.
   Methods and Systems for Implementing the Embodiments. 55             Linear Amplifier.
   The Voltage Controlled Oscillator (FM Mode).                         Operational Description.
   Operational Description.                                             Structural Description.
   Structural Description.                                              Other Implementations.
   The Local Oscillator (PM, AM, and "I/Q" Modes).                      Receiver/Transmitter Systems.
   Operational Description.                                       60    High Level Description.
   Structural Description.                                              Exemplary Embodiments and Implementation Examples.
   The Phase Shifter (PM Mode).                                         First Embodiment: The Transmitter of the Present Inven-
   Operational Description.                                          tion Being Used in a Circuit with a Superheterodyne
   Structural Description.                                           Receiver.
   The Phase Modulator (PM and "I/Q" Modes).                      65    Second Embodiment: The Transmitter of the Present
   Operational Description.                                          Invention Being Used with a Universal Frequency Down
   Structural Description.                                           Converter in a Half-Duplex Mode.




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   Third Embodiment: The Transmitter of the Present Inven-              closely approximate the information signal (i.e., the modu-
tion Being Used with a Universal Frequency Down Converter               lating baseband signal) in frequency, amplitude, and informa-
in a Full-Duplex Mode.                                                  tion.
   Other Embodiments and Implementations.                                  Demodulation: The process of removing information from
   Summary Description of Down-conversion Using a Uni- 5 a carrier or intermediate frequency signal.
versal Frequency Translation Module.                                       Digital signal: A signal in which the information contained
   Designing a Transmitter According to an Embodiment of                therein has discrete states as contrasted to a signal that has a
the Present Invention.                                                  property that may be continuously variable.
   Frequency of the Transmission Signal.                                   Direct down conversion: A down conversion technique
                                                                     10 wherein a received signal is directly down converted and
   Characteristics of the Transmission Signal.
                                                                        demodulated, if applicable, from the original transmitted fre-
   Modulation Scheme.
                                                                        quency (i.e., a carrier frequency) to baseband without having
   Characteristics of the Information Signal.
                                                                        an intermediate frequency.
   Characteristic of the Oscillating Signal.                               Down conversion: A process for performing frequency
   Frequency of the Oscillating Signal.                              15 translation in which the final frequency is lower than the
   Pulse Width of the String of Pulses.                                 initial frequency.
   Design of the Pulse Shaping Circuit.                                    Drive a switch: Same as control a switch.
   Selection of the Switch.                                                Frequency Modulation (FM): A modulation technique
   Design of the Filter.                                                wherein the frequency of the carrier signal is shifted (i.e.,
   Selection of an Amplifier.                                        20 varied) as a function ofthe information signal.A subset of FM
   Design of the Transmission Module.                                   is referred to as "frequency shift keying" which is used pri-
Terminology                                                             marily for digital communications where the frequency ofthe
   Various terms used in this application are generally                 carrier signal shifts between discrete states rather than vary-
described in this section. Each description in this section is          ing continuously as it does for analog information.
provided for illustrative and convenience purposes only, and 25            Harmonic: A harmonic is a frequency or tone that, when
is not limiting. The meaning of these terms will be apparentto          compared to its fundamental or reference frequency or tone,
persons skilled in the relevant art( s) based on the entirety of        is an integer multiple of it. In other words, if a periodic
the teachings provided herein.                                          waveform has a fundamental frequency of"f' (also called the
   Amplitude Modulation (AM): A modulation technique                    first harmonic), then its harmonics may be located at frequen-
                                                                     30 cies of "n·f," where "n" is 2, 3, 4, etc. The harmonic corre-
wherein the amplitude of the carrier signal is shifted (i.e.,
                                                                        sponding to n=2 is referred to as the second harmonic, the
varied) as a function of the information signal. The frequency
                                                                        harmonic corresponding to n=3 is referred to as the third
of the carrier signal typically remains constant. A subset of
                                                                        harmonic, and so on.
AM is referred to as "amplitude shift keying" which is used
                                                                           In-phase ("I") signal: The signal typically generated by an
primarily for digital communications where the amplitude of 35 oscillator. It has not had its phase shifted and is often repre-
the carrier signal shifts between discrete states rather than           sented as a sine wave to distinguish it from a "Q" signal. The
varying continuously as it does for analog information.                 "I" signal can, itself, be modulated by any means. When the
   Analog signal: A signal in which the information contained           "I" signal is combined with a "Q" signal, the resultant signal
therein is continuous as contrasted to discrete, and represents         is referred to as an "I/Q" signal.
a time varying physical event or quantity. The information 40              In-phase/Quadrature-phase ("I/Q") signal: The signal that
content is conveyed by varying at least one characteristic of           results when an "I" signal is summed with a "Q" signal.
the signal, such as but not limited to amplitude, frequency, or         Typically, both the "I" and "Q" signals have been phase
phase, or any combinations thereof.                                     modulated, although other modulation techniques may also
   Baseband signal: Any generic information signal desired              be used, such as amplitude modulation. An "I/Q" signal is
for transmission and/or reception. As used herein, it refers to 45 used to transmit separate streams of information simulta-
both the information signal that is generated at a source prior         neously on a single transmitted carrier. Note that the modu-
to any transmission (also referred to as the modulating base-           lated "I" signal and the modulated. "Q" signal are both carrier
band signal), and to the signal that is to be used by the               signals having the same frequency. When combined, the
recipient after transmission (also referred to as the demodu-           resultant "I/Q" signal is also a carrier signal at the same
lated baseband signal).                                              50 frequency.
   Carrier signal: A signal capable of carrying information.               Information signal: The signal that contains the informa-
Typically, it is an electromagnetic signal that can be varied           tion that is to be transmitted. As used herein, it refers to the
through a process called modulation. The frequency of the               original baseband signal at the source. When it is intended
carrier signal is referred to as the carrier frequency. A com-          that the information signal modulate a carrier signal, it is also
munications system may have multiple carrier signals at dif- 55 referred to as the "modulating baseband signal." It may be
ferent carrier frequencies.                                             voice or data, analog or digital, or any other signal or combi-
   Control a switch: Causing a switch to open and close. The            nation thereof.
switch may be, without limitation, mechanical, electrical,                 Intermediate frequency (IF) signal: A signal that is at a
electronic, optical, etc., or any combination thereof. Typi-            frequency between the frequency of the baseband signal and
cally, it is controlled by an electrical or electronic input. If the 60 the frequency of the transmitted signal.
switch is controlled by an electronic signal, it is typically a            Modulation: The process of varying one or more physical
different signal than the signals connected to either terminal          characteristics of a signal to represent the information to be
of the switch.                                                          transmitted. Three commonly used modulation techniques
   Demodulated baseband signal: The baseband signal that is             are frequency modulation, phase modulation, and amplitude
to be used by the recipient after transmission. Typically it has 65 modulation. There are also variations, subsets, and combina-
been down converted from a carrier signal and has been                  tions of these three techniques.
demodulated. The demodulated baseband signal should                        Operate a switch: Same as control a switch.




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   Phase Modulation (PM): A modulation technique wherein                  For illustrative purposes, various modulation examples are
the phase of the carrier signal is shifted (i.e., varied) as a         discussed below. However, it should be understood that the
function of the information signal. A subset of pm is referred         invention is not limited by these examples. Other modulation
to as "phase shift keying" which is used primarily for digital         techniques that might be used with the present invention will
communications where the phase of the carrier signal shifts 5 be apparent to persons skilled in the relevant art(s) based on
between discrete states rather than varying continuously as it         the teaching contained herein.
does for analog information.                                              Also for illustrative purposes, frequency up-conversion
   Quadrature-phase ("Q") signal: A signal that is out of              according to the present invention is described below in the
phase with an in-phase: ("I") signal. The amount of phase              context of a transmitter. However, the invention is not limited
shift is predetermined for a particular application, but in a 10
                                                                       to this embodiment. Equivalents, extensions, variations,
typical implementation, the "Q" signal is 90° out of phase
                                                                       deviations, etc., of the following will be apparent to persons
with the "I" signal. Thus, if the "I" signal were a sine wave,
                                                                       skilled in the relevant art( s) based on the teachings contained
the "Q" signal would be a cosine wave. When discussed
together, the "I" signal and the "Q" signal have the same              herein.  Such equivalents, extensions, variations, deviations,
frequencies.                                                        15 etc., are within the scope and spirit of the present invention.
   Spectrum: Spectrum is used to signify a continuous range            2.1 Discussion of Modulation Techniques.
of frequencies, usually wide, within which electromagnetic                Techniques by which information can be imparted onto
(EM) waves have some specific common characteristic. Such              EM signals to be transmitted are called modulation. These
waves may be propagated in any communication medium,                   techniques are generally well known to one skilled in the
both natural and mamnade, including but not limited to air, 20 relevant art(s), and include, but are not limited to, frequency
space, wire, cable, liquid, waveguide, microstrip, stripline,          modulation (FM), phase modulation (PM), amplitude modu-
optical fiber, etc. The EM spectrum includes all frequencies           lation (AM), quadrature-phase shift keying (QPSK), fre-
greater than zero hertz.                                               quency shift keying (FSK), phase shift keying (PSK), ampli-
   Subharmonic: A subharmonic is a frequency or tone that is           tude shift keying (ASK), etc., and combinations thereof.
an integer submultiple ofa referenced fundamental frequency 25 These last three modulation techniques, FSK, PSK, andASK,
or tone. That is, a subharmonic frequency is the quotient              are subsets of FM, PM, and AM, respectively, and refer to
obtained by dividing the fundamental frequency by an inte-             circuits having discrete input signals (e.g., digital input sig-
ger. For example, if a periodic waveform has a frequency of            nals).
"f' (also called the "fundamental frequency" or first subhar-             For illustrative purposes only, the circuits and techniques
monic), then its subharmonics have frequencies of "fin," 30 described below all refer to the EM broadcast medium. How-
where n is 2, 3, 4, etc. The subharmonic corresponding to n=2          ever, the invention is not limited by this embodiment. Persons
is referred to as the second subharmonic, the subharmonic              skilled in the relevant art(s) will recognize that these same
corresponding to n=3 is referred to as the third subharmonic,          circuits and techniques can be used in all transmission media
and so on. A subharmonic itself has possible harmonics, and            (e.g., over-the-air broadcast, point-to-point cable, etc.).
the ith harmonic of the ith subharmonic will be at the funda- 35 2.2 Explanation of Exemplary Circuits and Waveforms.
mental frequency of the original periodic waveform. For                   2.2.1 Frequency Modulation.
example, the third subharmonic (which has a frequency of                  FIG. 1 illustrates an example of a frequency modulation
"f/3") may have harmonics at integer multiples of itself (i.e.,        (FM) circuit 100 and FIGS. 2A, 2B, and 2C, and FIGS. 20A,
a second harmonic at "2·f/3," a third harmonic at "3·f/3," and         20B, and 20C illustrate examples of waveforms at several
so on). The third harmonic of the third subharmonic of the 40 points in FM circuit 100. In an FM system, the frequency of
original signal (i.e., "3·f/3") is at the frequency of the original    a carrier signal, such as an oscillating signal 202 (FIG. 2B and
signal.                                                                FIG. 20B), is varied to represent the data to be communicated,
   Trigger a switch: Same as control a switch.                         such as information signals 102 ofFIGS. 2A and 2002 of FIG.
   Up conversion: A process for performing frequency trans-            20A. In FIG. 20A, information signal 2002 is a continuous
lation in which the final frequency is higher than the initial 45 signal (i.e., an analog signal), and in FIG. 2A, information
frequency.                                                             signal 102 is a discrete signal (i.e., a digital signal). In the case
2. Overview of the Invention                                           of the discrete information signal 102, the FM circuit 100 is
   The present invention is directed to systems and methods            referred to as a frequency shift keying (FSK) system, which is
for frequency up-conversion, and applications thereof.                 a subset of an FM system.
   In one embodiment, the frequency up-converter of the so                Frequency modulation circuit 100 receives an information
present invention is used as a stable reference frequency              signal 102, 2002 from a source (not shown). Information
source in a phase comparator or in a frequency comparator.             signal 102, 2002 can be amplified by an optional amplifier
This embodiment of the present invention achieves this                 104 and filtered by an optional filter 114 and is the voltage
through the use of a stable, low frequency local oscillator, a         input that drives a voltage controlled oscillator (VCO) 106.
switch, and a filter. Because it up-converts frequency, the 55 Within VCO 106, an oscillating signal 202 (seen on FIG. 2B
present invention can take advantage ofthe relatively low cost         and FIG. 20B) is generated. The purpose ofVCO 106 is to
of low frequency oscillators to generate stable, high fre-             vary the frequency of oscillating signal 202 as a function of
quency signals.                                                        the input voltage, i.e., information signal 102, 2002. The
   In a second embodiment, the frequency up-converter is               output ofVCO 106 is a modulated signal shown as modulated
used as a system and method for transmitting an electromag- 60 signal 108 (FIG. 2C) when the information signal is the
netic (EM) signal.                                                     digital information signal 102 and shown as modulated signal
   Based on the discussion contained herein, one skilled in the        2004 (FIG. 20C) when the information signal is the analog
relevant art(s) will recognize that there are other, alternative       signal 2002. Modulated signal 108, 2004 is at a relatively low
embodiments in which the frequency up-converter of the                 frequency (e.g., generally between 50 MHz and 100 MHz)
present invention could be used in other applications, and that 65 and can have its frequency increased by an optional frequency
these alternative embodiments fall within the scope of the             multiplier 110 (e.g., to 900 MHz, 1.8 GHz) and have its
present invention.                                                     amplitude increased by an optional amplifier 116. The output




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of optional frequency multiplier 110 and/or optional ampli-           raises the signal strength of phase modulated signal 312, 2104
fier 116 is then transmitted by an exemplary antenna 112.             to a desired level to be transmitted by an exemplary antenna
   2.2.2 Phase Modulation.                                            316.
   FIG. 3 illustrates an example of a phase modulation (PM)              2.2.3 Amplitude Modulation.
circuit 300 and FIGS. 4A, 4B, and 4C, and FIGS. 21A, 21B, 5              FIG. 5 illustrates an example ofan amplitude modulation
and 21C illustrate examples of waveforms at several points in         (AM) circuit 500 and FIGS. 6A, 6B, and 6C, and FIGS. 22A,
PM circuit 300. In a PM system, the phase of a carrier signal,        22B, and 22C illustrate examples of waveforms at several
such as a local oscillator (LO) output 308 (FIG. 4B and FIG.          points in AM circuit 500. In an AM system, the amplitude of
21B), is varied to represent the data to be co=unicated, such         a carrier signal, such as a local oscillator (LO) signal 508
as an information signals 302 of FIGS. 4A and 2102 of FIG. 10 (FIG. 6B and FIG. 22B), is varied to represent the data to be
21A. In FIG. 21A, information signal 2102 is a continuous             communicated, such as information signals 502 of FIGS. 6A
signal (i.e., an analog signal), and in FIG. 4A, information          and 2202 of FIG. 22A. In FIG. 22A, information signal 2202
signal 302 is a discrete signal (i.e., a digital signal). In the case is a continuous signal (i.e., an analog signal), and in FIG. 6A,
of the discrete information signal 302, the PM circuit is 15 information signal 502 is a discrete signal (i.e., a digital
referred to as a phase shift keying (PSK) system. This is the         signal). In the case of the discrete information signal 502, the
typical implementation, and is a subset of a PM system.               AM circuit is referred to as an amplitude shift keying (ASK)
   Phase modulation circuit 300 receives information signal           system, which is a subset of an AM system.
302, 2102 from a source (not shown). Information signal 302,             Amplitude modulation circuit 500 receives information
2102 can be amplified by an optional amplifier 304 and fil- 20 signal 502 from a source (not shown). Information signal 502,
tered by an optional filter 318 and is routed to a phase modu-        2202 can be amplified by an optional amplifier 504 and fil-
lator 306.Also feeding phase modulator 306 is LU output 308           tered by an optional filter 518. Amplitude modulation circuit
of a local oscillator 310. LO output 308 is shown on FIG. 4B          500 also includes a local oscillator (LO) 506 which has an LO
and FIG. 21B. Local oscillators, such as local oscillator 310,        output 508. Information signal 502, 2202 and LO output 508
output an electromagnetic wave at a predetermined frequency 25 are then multiplied by a multiplier 510. The purpose of mul-
and amplitude.                                                        tiplier 510 is to cause the amplitude of LO output 508 to vary
   The output of phase modulator 306 is a modulated signal            as a function of the amplitude of information signal 502,
shown as a phase modulated signal 312 (FIG. 4C) when the              2202. The output of multiplier 510 is a modulated signal
information signal is the discrete information signal 302 and         shown as amplitude modulated signal 512 (FIG. 6C) when the
shown as a phase modulated signal 2104 (FIG. 21C) when the 30 information signal is the digital information signal 502 and
                                                                      shown as modulated signal 2204 (FIG. 22C) when the infor-
information signal is the analog information signal 2102. The
                                                                      mation signal is the analog information signal 2202. AM
purpose of phase modulator 306 is to change the phase of LO
                                                                      signal 512, 2204 can then be routed to an optional frequency
output 308 as a function of the value of information signal
                                                                      multiplier 514 where the frequency ofAM signal 512, 2204 is
302, 2102. That is, for example in a PSK mode, if LO output 35 increased from a relatively low level (e.g., 50 MHz to 100
308 were a sine wave, and the value of information signal 302         MHz) to a higher level desired for broadcast (e.g., 900 MHz,
changed from a binary high to a binary low, the phase of LO           1.8 GHz) and an optional amplifier 520, which increases the
output 308 would change from a sine wave with a zero phase            signal strength of AM signal 512, 2204 to a desired level for
to a sine wave with, for example, a phase of 180°. The result         broadcast by an exemplary antenna 516.
of this phase change would be phase modulated signal 312 of 40           2.2.4 In-Phase/Quadrature-Phase Modulation.
FIG. 4C which would have the same frequency as LO output                 FIG. 7 illustrates an example of an in-phase/quadrature-
308, but would be out of phase by 180° in this example. For a         phase ("I/Q") modulation circuit 700 and FIGS. SA, 8B, SC,
PSK system, the phase changes in phase modulated signal               SD, and SE illustrate examples of waveforms at several points
312 that are representative of the information in information         in "I/Q" modulation circuit 700. In this technique, which
signal 302 can be seen by comparing waveforms 302, 308, 45 increases bandwidth efficiency, separate information signals
and 312 on FIGS. 4A, 4B, and 4C. For the case of an analog            can be simultaneously transmitted on carrier signals that are
information signal 2102 ofFIG. 21A, the phase of LO output            out of phase with each other. That is, a first information signal
308 of FIG. 21B changes continuously as a function of the             702 of FIG. SA can be modulated onto the in-phase ("I")
amplitude of the information signal 2102. That is, for                oscillator signal 710 of FIG. 8B and a second information
example, as information signal 2102 increases from a value of 50 signal 704 of FIG. SC can be modulated onto the quadrature-
"X" to "X+<lx", the PM signal 2104 of FIG. 21C changes                phase ("Q") oscillator signal 712 of FIG. SD. The "I" modu-
from a signal which may be represented by the equation                lated signal is combined with the "Q" modulated signal and
sin(wt) to a signal which can be represented by the equation          the resulting "I/Q" modulated signal is then transmitted. In a
sin(wt+<j>), where <I> is the phase change associated with a          typical usage, both information signals are digital, and both
change of <Ix in information signal 2102. For an analog PM 55 are phase modulated onto the "I" and "Q" oscillating signals.
system, the phase changes in phase modulated signal 2104              One skilled in the relevant art(s) will recognize that the "I/Q"
that are representative of the information in information sig-        mode can also work with analog information signals, with
nal 2102 can be seen by comparing waveforms 2102, 308, and            combinations of analog and digital signals, with other modu-
2104 on FIGS. 21A, 21B, and 21C.                                      lation techniques, or any combinations thereof.
   After information signal 302, 2102 and LO output 308 60               This "I/Q" modulation system uses two PM circuits
have been modulated by phase modulator 306, phase modu-               together in order to increase the bandwidth efficiency. As
lated signal 312, 2104 can be routed to an optional frequency         stated above, in a PM circuit, the phase of an oscillating
multiplier 314 and optional amplifier 320. The purpose of             signal, such as 710 (or 712) (FIG. 8B or SD), is varied to
optional frequency multiplier 314 is to increase the frequency        represent the data to be communicated, such as an informa-
of phase modulated signal 312 from a relatively low fre- 65 tion signal such as 702 (or 704). For ease of understanding
quency (e.g., 50 MHz to 100 MHz) to a desired broadcast               and display, the discussion herein will describe the more
frequency (e.g., 900 MHz, 1.8 GHz). Optional amplifier 320            typical use of the "I/Q" mode, thatis, with digital information




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signals and phase modulation on both oscillating signals.                Typically, in the transmitter subsystem of a communica-
Thus, both signal streams are phase shift keying (PSK), which         tions system, upconverting the information signal to broad-
is a subset of PM.                                                    cast frequency requires, at least, filters, amplifiers, and fre-
   "1/Q" modulation circuit 700 receives an information sig-          quency multipliers. Each of these components is costly, not
nal 702 from a first source (not shown) and an information 5 only in terms of the purchase price of the component, but also
signal 704 from a second source (not shown). Examples of              because of the power required to operate them.
information signals 702 and 704 are shown in FIGS. 8A and                The present invention provides a more efficient means for
8C. Information signals 702 and 704 can be amplified by               producing a modulated carrier for transmission, uses less
optional amplifiers 714 and 716 and filtered by optional filters      power, and requires fewer components. These and additional
734 and 736. It is then routed to phase modulators 718 and 10 advantages of the present invention will be apparent from the
720. Also feeding phase modulators 718 and 720 are oscil-             following description.
lating signals 710 and 712. Oscillating signal 710 was gener-         3. Frequency Up-Conversion.
ated by a local oscillator 706, and is shown in FIG. 8B, and             The present invention is directed to systems and methods
oscillating signal 712 is the phase shifted output of local 15 for frequency up-conversion and applications of the same. In
oscillator 706. Local oscillators, such as local oscillator 706,      one embodiment, the frequency up-converter of the present
output an electromagnetic wave at a predetermined frequency           invention allows the use of a stable, low frequency oscillator
and amplitude.                                                        to generate a stable high frequency signal that, for example
   The output of phase modulator 718 is a phase modulated             and without limitation, can be used as a reference signal in a
signal 722 which is shown using a dotted line as one of the 20 phase comparator or a frequency comparator. In another
waveforms in FIG. 8E. Similarly, the output of phase modu-            embodiment, the up-converter of the present invention is used
lator 720, which operates in a manner similar to phase modu-          in a transmitter. The invention is also directed to a transmitter.
lator 718, is a phase modulated signal 724 which is shown             Based on the discussion contained herein, one skilled in the
using a solid line as the other waveform in FIG. 8E. The effect       relevant art(s) will recognize that there are other, alternative
of phase modulators 718 and 720 on oscillating signals 710 25 embodiments and applications in which the frequency up-
and 712 is to cause them to change phase. As stated above, the        converter of the present invention could be used, and that
system shown here is a PSK system, and as such, the phase of          these alternative embodiments and applications fall within
oscillating signals 710 and 712 is shifted by phase modulators        the scope of the present invention.
718 and 720 by a discrete amount as a function of information            For illustrative purposes, frequency up-conversion accord-
signals 702 and 704.                                               30 ing to the present invention is described below in the context
   For simplicity of discussion and ease of display, oscillating
                                                                      of a transmitter. However, as apparent from the preceding
signal 710 is shown on FIG. 8B as a sine wave and is referred
                                                                      paragraph, the invention is not limited to this embodiment.
to as the "I" signal in the "1/Q" circuit 700. After the output of
                                                                         The following sections describe methods related to a trans-
oscillator 706 has gone through a phase shifter 708, shown
here as shifting the phase by -rrJ2, oscillating signal 712 is a 35 mitter and frequency up-converter. Structural exemplary
cosine wave, shown on FIG. 8D, and is referred to as the "Q"          embodiments for achieving these methods are also described.
signal in the "1/Q" circuit. Again, for ease of display, phase        It should be understood that the invention is not limited to the
modulators 718 and 720 are shown as shifting the phase of the         particular embodiments described below. Equivalents, exten-
respective oscillating signals 710 and 712 by 180°. This is           sions, variations, deviations, etc., of the following will be
seen on FIG. 8E. Modulated signal 722 is summed with 40 apparent to persons skilled in the relevant art(s) based on the
modulated signal 724 by a summer 726. The output of sum-              teachings contained herein. Such equivalents, extensions,
mer 726 is the arithmetic sum of modulated signal 722 and             variations, deviations, etc., are within the scope and spirit of
724 and is an "1/Q" signal 728. (For clarity of the display on        the present invention.
FIG. 8E, the combined signal 728 is not shown. However, one           3.1. High Level Description.
skilled in the relevant art( s) will recognize that the arithmetic 45    This section (including its subsections) provides a high-
sum of 2 sinusoidal waves having the same frequency is also           level description of up-converting and transmitting signals
a sinusoidal wave at that frequency.)                                 according to the present invention. In particular, an opera-
   "1/Q" signal 728 can then be routed to an optional fre-            tional process of frequency up-conversion in the context of
quency multiplier 730, where the frequency of "1/Q" signal            transmitting signals is described at a high-level. The opera-
718 is increased from a relatively low level (e.g., 50 MHz to 50 tional process is often represented by flowcharts. The flow-
100 MHz) to a higher level desired for broadcast (e.g., 900           charts are presented herein for illustrative purposes only, and
MHz, 1.8 GHz), and to an optional amplifier 738 which                 are not limiting. In particular, the use of flowcharts should not
increases the signal strength of "1/Q" signal 728 to a desired        be interpreted as limiting the invention to discrete or digital
level for broadcast by an exemplary antenna 732.                      operation. In practice, those skilled in the relevant art(s) will
2.3 Features of the Invention.                                     55 appreciate, based on the teachings contained herein, that the
   As apparent from the above, several frequencies are                invention can be achieved via discrete operation, continuous
involved in a communications system. The frequency of the             operation, or any combination thereof. Furthermore, the flow
information signal is relatively low. The frequency of the            of control represented by the flowcharts is also provided for
local oscillator (both the voltage controlled oscillator as well      illustrative purposes only, and it will be appreciated by per-
as the other oscillators) is higher than that of the information 60 sons skilled in the relevant art( s) that otheroperational control
signal, but typically not high enough for efficient transmis-         flows are within the scope and spirit of the invention.
sion. A third frequency, not specifically mentioned above, is            Also, a structural implementation for achieving this pro-
the frequency of the transmitted signal which is greater than         cess is described at a high-level. This structural implementa-
or equal to the frequency of the oscillating signal. This is the      tion is described herein for illustrative purposes, and is not
frequency that is routed from the optional frequency multi- 65 limiting. In particular, the process described in this section
pliers and optional amplifiers to the antemras in the previously      can be achieved using any number of structural implementa-
described circuits.                                                   tions, one of which is described in this section. The details of




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such structural implementations will be apparent to persons          form's repetition frequency is the number of times per second
skilled in the relevant art( s) based on the teachings contained     the periodic waveform repeats.) A portion of the waveform of
herein.                                                              signal 1908 is shown in an expanded view as waveform 1910
   3.1.1 Operational Description.                                    of FIG. 19E. The first three sinusoidal components of wave-
   The flow chart 900 of FIG. 9 demonstrates the operational 5 form 1910 (FIG.19E) are depicted as waveforms 1912a, b, &
method of frequency up-conversion in the context of trans-           c ofFIG. 19F and waveforms 1914a, b, & c of FIG. 19G. (In
mitting a signal according to an embodiment of the present           the examples ofFIGS.19F & G, the three sinusoidal compo-
invention. The invention is directed to both frequency up-           nents are shown separately. In actuality, these waveforms,
conversion and transmitting signals as represented in FIG. 9.        along with all the other sinusoidal components which are not
Representative waveforms for signals generated in flow chart 10 shown, occur simultaneously, as seen in FIG. 19H. Note that
900 are depicted in FIG. 19. For purposes of illustrating the        in FIG. 19H, the waveforms are shown simultaneously, but
high level operation of the invention, frequency modulation          are not shown summed. If waveforms 1912 and 1914 were
of a digital information signal is depicted. The invention is not    shown summed, they would, in the limit, i.e., with an infinite
limited to this exemplary embodiment. One skilled in the             numberof sinusoidal components, be identical to the periodic
relevant art(s) will appreciate that other modulation modes 15 waveform 1910 ofFIG.19E. For ease of illustration, only the
could alternatively be used (as described in later sections).        first three of the infinite number of sinusoidal components are
   In step 902, an information signal 1902 (FIG. 19A) is             shown.) These sinusoidal waves are called ham!onics, and
generated by a source. 1bis information signal may be analog,        their existence can be demonstrated both graphically and
digital, and any combination thereof, or anything else that is       mathematically. Each harmonic (waveforms 1912a, b, & c
desired to be transmitted, and is at the baseband frequency. As 20 and 1914a, b, & c) has the same information content as does
described below, the information signal 1902 is used to              waveform 1910 (which has the same information as the cor-
modulate an intermediate signal 1904.Accordingly, the infor-         responding portion of waveform 1908). Accordingly, the
mation signal 1902 is also herein called a modulating base-          information content of waveform 1908 can be obtained from
band information signal. In the example of FIG. 19A, the             any of its ham!onics. As the harmonics have frequencies that
information signal 1902 is illustrated as a digital signal. How- 25 are integer multiples of the repetition frequency of signal
ever, the invention is not limited to this embodiment. As noted      1908, and since they have the same information content as
above, the information signal 1902 can be analog, digital,           signal 1908 (as just stated), the harmonics each represent an
and/or any combination thereof.                                      up-converted representation of signal 1908. Some of the har-
   An oscillating signal 1904 (FIG. 19B) is generated in step        monics are at desired frequencies (such as the frequencies
904. In step 906, the oscillating signal 1904 is modulated, 30 desired to be transmitted). These harmonics are called
where the modulation is a result of, and a function of, the          "desired harmonics" or "wanted ham!onics:' According to
information signal 1902. Step 906 produces a modulated               the invention, desired harmonics have sufficient amplitude
oscillating signal 1906 (FIG. 19C), also called a modulated          for accomplishing the desired processing (i.e., being trans-
intermediate signal.As noted above, the flowchartofFIG. 9 is         mitted). Other ham!onics are not at the desired frequencies.
being described in the context of an example where the infor- 35 These harmonics are called "undesired harmonics" or
mation signal 1902 is a digital signal. However, alternatively,      "unwanted ham!onics."
the information signal 1902 can be analog or any combination            In step 910, any unwanted ham!onics of the continuous
of analog and digital. Also, the example shown in FIG. 19            periodic waveform of signal 1908 are filtered out (for
uses frequency shift keying (FSK) as the modulation tech-            example, any ham!onics that are not at frequencies desired to
nique. Alternatively, any modulation technique (e.g., FM, 40 be transmitted). In the example of FIG. 19, the first and
AM, PM, ASK, PSK, etc., or any combination thereof) can be           second ham!onics (i.e., those depicted by waveforms 1912a
used. The remaining steps 908-912 of the flowchart of FIG. 9         & b of FIGS. 19F and 1914a & b of FIG. 19G) are the
operate in the same way, whether the information signal 1902         unwanted harmonics. In step 912, the remaining ham!onic, in
is digital, analog, etc., or any combination thereof, and            the example of FIG. 19, the third harmonic (i.e., those
regardless of what modulation technique is used.                  45 depicted by waveforms 1912c of FIGS. 19F and 1914c of
   A harmonically rich signal 1908 (FIG. 19D) is generated           FIG.19G), is transmitted. This is depicted by waveform 1918
from the modulated signal 1906 in step 908. Signal 1908 has          ofFIG. 191. In the example ofFIG. 19, only three harmonics
a substantially continuous and periodically repeated wave-           are shown, and the lowest two are filtered out to leave the third
form. In an embodiment, the waveform of signal 1908 is               harmonic as the desired ham!onic. In actual practice, there are
substantially rectangular, as is seen in the expanded wave- 50 an infinitenumberofharmonics, and the filtering can be made
form 1910 ofFIG.19E. One skilled in the relevant art(s) will         to remove unwanted ham!onics that are both lower in fre-
recognize the physical limitations to and mathematical               quency than the desired harmonic as well as those that are
obstacles against achieving an exact or perfect rectangular          higher in frequency than the desired harmonic.
waveform and it is not the intent or requirement of the present         3 .1.2 Structural Description.
invention that a perfect rectangular waveform be generated or 55        FIG. 10 is a block diagram of an up-conversion system
needed. However, for ease of discussion, the term "rectangu-         according to an embodiment of the invention. This embodi-
lar waveform" will be used herein and will refer to waveforms        ment of the up-conversion system is shown as a transmitter
that are substantially rectangular, and will include but will not    1000. Transmitter 1000 includes an acceptance module 1004,
be limited to those waveforms that are generally referred to as      a ham!onic generation and extraction module 1006, and a
square waves or pulses. It should be noted that if the situation 60 transmission module 1008 that accepts an information signal
arises wherein a perfect rectangular waveform is proven to be        1002 and outputs a transmitted signal 1014.
both technically and mathematically feasible, that situation            Preferably, the acceptance module 1004, harmonic genera-
will also fall within the scope and intent of this invention         tion and extraction module 1006, and transmission module
   A continuous periodic waveform (such as waveform 1908)            1008 process the information signal in the mamier shown in
is composed of a series of sinusoidal waves of specific ampli- 65 the operational flowchart 900. In other words, transmitter
tudes and phases, the frequencies of which are integer mul-          1000 is the structural embodiment for performing the opera-
tiples of the repetition frequency of the waveform. (A wave-         tional steps of flowchart 900. However, it should be under-




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stood that the scope and spirit of the present invention               information signal 1902 modulates an oscillating signal 1904
includes other structural embodiments for performing the               (FIG. 19B). The result of this modulation is the modulated
steps of flowchart 900. The specifics of these other structural        signal 1906 (FIG. 19C) as indicated in block 1106. Modu-
embodiments will be apparent to persons skilled in the rel-            lated signal 1906 has a frequency that varies as a function of
evant art( s) based on the discussion contained herein.              5 information signal 1902 and is referred to as an FM signal.
   The operation of the transmitter 1000 will now be                      In step 1108, a harmonically rich signal with a continuous
described in detail with reference to the flowchart 900. In step       periodic waveform, shown in FIG.19D as rectangular wave-
902, an information signal 1002 (for example, see FIG. 19A)            form 1908, is generated. Rectangular waveform 1908 is gen-
from a source (not shown) is routed to acceptance module               erated using the modulated signal 1906. One skilled in the
1004. In step 904, an oscillating signal (for example, see FIG. 1o relevant art(s) will recognize the physical limitations to and
19B) is generated and in step 906, it is modulated, thereby            mathematical obstacles against achieving an exact or perfect
producing a modulated signal 1010 (for an example of FM,               rectangular waveform and it is not the intent of the present
see FIG. 19C). The oscillating signal can be modulated using           invention that a perfect rectangular waveform be generated or
any modulation technique, examples of which are described              needed. Again, as stated above, for ease of discussion, the
below. In step 908, the harmonic generation and extraction 15 term "rectangular waveform" will be used to refer to wave-
module (HGEM) generates a harmonically rich signal with a              forms that are substantially rectangular. In a similar manner,
continuous and periodic waveform (an example of FM can be              the term "square wave" will refer to those waveforms that are
seen in FIG. 19D). This waveform is preferably a rectangular           substantially square and it is not the intent of the present
wave, such as a square wave or a pulse (although, the inven-           invention that a perfect square wave be generated or needed.
tion is not limited to this embodiment), and is comprised of a 20 A portion of rectangular waveform 1908 is shown in an
plurality of sinusoidal waves whose frequencies are integer            expanded view as periodic waveform 1910 in FIG. 19E. The
multiples of the fundamental frequency of the waveform.                first part of waveform 1910 is designated "signal A" and
These sinusoidal waves are referred to as the harmonics of the         represents information signal 1902 being "high," and the
underlying waveform. A Fourier series analysis can be used to          second part of waveform 1910 is designated "signal B" and
determine the amplitude of each harmonic (for example, see 25 information signal 1902 being "low." It should be noted that
FIGS. 19F and 19G). In step 910, a filter (not shown) within           this convention is used for illustrative purposes only, and
HGEM 1006 filters out the undesired frequencies (harmon-               alternatively, other conventions could be used.
ics), and outputs an electromagnetic (EM) signal 1012 at the              As stated before, a continuous and periodic waveform,
desired frequency (for example, see FIG. 191). In step 912,            such as a rectangular wave 1908 as indicated in block 1110 of
EM signal 1012 is routed to transmission module 1008 (op- 30 flowchart 1100, has sinusoidal components (harmonics) at
tional), where it is prepared for transmission. The transmis-          frequencies that are integer multiples of the fundamental
sion module 1008 then outputs a transmitted signal 1014.               frequency of the underlying waveform (i.e., at the Fourier
3.2 Exemplary Embodiments                                              component frequencies). Three harmonics of periodic wave-
   Various embodiments related to the method(s) and struc-             form 1910 are shown separately, in expanded views, in FIGS.
ture(s) described above are presented in this section (and its 35 19F and 19G. Since waveform 1910 (and also waveform
subsections). These embodiments are described herein for               1908) is shown as a square wave in this exemplary embodi-
purposes of illustration, and not limitation. The invention is         ment, only the odd harmonics are present, i.e., the first, third,
not limited to these embodiments. Alternate embodiments                fifth, seventh, etc. As shown in FIG. 19, ifrectangular wave-
(including equivalents, extensions, variations, deviations,            form 1908 has a fundamental frequency of f 1 ( also known as
etc., of the embodiments described herein) will be apparent to 40 the first harmonic), the third harmonic will have a frequency
persons skilled in the relevant art(s) based on the teachings          of3·f1 , the fifth harmonic will have a frequency of 5·f1 , and so
contained herein. The invention is intended and adapted to             on. The first, third, and fifth harmonics of signal A are shown
include such alternate embodiments.                                    as waveforms 1912a, 1912b, and 1912c of FIG. 19F, and the
   3.2.1 First Embodiment: Frequency Modulation (FM)                   first, third, and fifth harmonics of signal B are shown as
Mode.                                                               45 waveforms 1914a, 1914b, and 1914c of FIG. 19G. In actual-
   In this embodiment, an information signal is accepted and           ity, these harmonics (as well as all of the higher order har-
a modulated signal whose frequency varies as a function of             monics) occur simultaneously, as shown by waveform 1916
the information signal results.                                        ofFIG.19H. Note that if all of the harmonic components of
   3.2.1.1 Operational Description.                                    FIG.19H were shown summed together with all of the higher
   The flow chart of FIG. 11 demonstrates the method of 50 harmonics (i.e., the seventh, the ninth, etc.) the resulting
operation of a transmitter in the frequency modulation (FM)            waveform would, in the limit, be identical to waveform 1910.
mode according to an embodiment of the present invention.                 In step 1112, the unwanted frequencies of waveform 1916
As stated above, the representative waveforms shown in FIG.            are removed. In the example of FIG. 19, the first and third
19 depict the invention operating as a transmitter in the FM           harmonics are shown to be removed, and as indicated in block
mode.                                                               55 1114, the remaining waveform 1918 (i.e., waveforms 1912c
   In step 1102, an information signal 1902 (FIG. 19A) is              and 1914c) is at the desired EM frequency. Although not
generated by a source by any means and/or process. (Infor-             shown, the higher harmonics the seventh, ninth, etc.) are also
mation signal 1902 is a baseband signal, and, because it is            removed.
used to modulate a signal, may also be referred to as a modu-             The EM signal, shown here as remaining waveform 1918,
lating baseband signal 1902.) Information signal 1902 may 60 is prepared for transmission in step 1116, and in step 1118, the
be, for example, analog, digital, or any combination thereof.          EM signal is transmitted.
The signals shown in FIG. 19 depict a digital information                 3.2.1.2 Structural Description.
signal wherein the information is represented by discrete                 FIG. 12 is a block diagram of a transmitter according to an
states of the signal. It will be apparent to persons skilled in the    embodiment of the invention. This embodiment of the trans-
relevant art(s) that the invention is also adapted to working 65 mitter is shown as an FM transmitter 1200. FM transmitter
with an analog information signal wherein the information is           1200 includes a voltage controlled oscillator (VCO) 1204, a
represented by a continuously varying signal. In step 1104,            switch module 1214, a filter 1218, and a transmission module




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1222 that accepts an information signal 1202 and outputs a            A harmonically rich signal 4408 (FIG. 44D) with a con-
transmitted signal 1224. The operation and structure of exem-      tinuous periodic waveform is generated at step 1310 using
plary components are described below: an exemplary VCO is          modulated signal 4406. Harmonically rich signal 4408 is a
described below at sections 3.3.1-3.3.1.2; an exemplary            substantially rectangular waveform. One skilled in the rel-
switch module is described below at sections 3.3.6-3 .3 .6.2; an 5 evant art(s) will recognize the physical limitations to and
exemplary filter is described below at sections 3.3.9-3.3.9.2;     mathematical obstacles against achieving an exact or perfect
and an exemplary transmission module is described below at         rectangular waveform and it is not the intent of the present
sections 3.3.10-3.3.10.2.                                          invention that a perfect rectangular waveform be generated or
   Preferably, the voltage controlled oscillator 1204, switch      needed. Again, as stated above, for ease of discussion, the
module 1214, filter 1218, and transmission module 1222 10 term "rectangular waveform" will be used to refer to wave-
process the information signal in the manner shown in the          forms that are substantially rectangular. In a similar manner,
operational flowchart 1100. In other words, FM transmitter         the term "square wave" will refer to those waveforms that are
1200 is the structural embodiment for performing the opera-        substantially square and it is not the intent of the present
tional steps of flowchart 1100. However, it should be under-       invention that a perfect square wave be generated or needed.
stood that the scope and spirit of the present invention 15 As stated before, a continuous and periodic waveform, such
includes other structural embodiments for performing the           as the harmonically rich signal 4408 as indicated in block
steps of flowchart 1100. The specifics of these other structural   1312, has sinusoidal components (harmonics) at frequencies
embodiments will be apparent to persons skilled in the rel-        that are integer multiples of the fundamental frequency of the
evant art( s) based on the discussion contained herein.            underlying waveform (the Fourier component frequencies).
   The operation of the transmitter 1200 will now be 20 The first three harmonic waveforms are shown in FIGS. 44E,
described in detail with reference to the flowchart 1100. In       44F, and 44G. In actual fact, there are an infinite number of
step 1102, an information signal 1202 (for example, see FIG.       harmonics. In step 1314, the unwanted frequencies are
19A) from a source (not shown) is routed to VCO 1204. In           removed, and as indicated in block 1316, the remaining fre-
step 1104, an oscillating signal (for example, seeFIG.19B) is      quency is at the desired EM output. As an example, the first
generated and modulated, thereby producing a frequency 25 (fundamental) harmonic 4410 and the second harmonic 4412
modulated signal 1210 (for example, see FIG.19C). In step          along with the fourth, fifth, etc., harmonics (not shown) might
1108, the switch module 1214 generates a harmonically rich         be filtered out, leaving the third harmonic 4414 as the desired
signal 1216 with a continuous and periodic waveform (for           EM signal as indicated in block 1316.
example, see FIG. 19D). This waveform is preferably a rect-           The EM signal is prepared for transmission in step 1318,
angular wave, such as a square wave or a pulse (although, the 30 and in step 1320, the EM signal is transmitted.
invention is not limited to this embodiment), and is comprised        3.2.2.2 Structural Description.
of a plurality of sinusoidal waves whose frequencies are inte-        FIG. 14 is a block diagram of a transmitter according to an
ger multiples of the fundamental frequency of the waveform.        embodiment of the invention. This embodiment of the trans-
These sinusoidal waves are referred to as the harmonics of the     mitter is shown as a PM transmitter 1400. PM transmitter
underlying waveform, and a Fourier analysis will determine 35 1400 includes a local oscillator 1406, a phase modulator
the amplitude of each harmonic (for example, see FIGs. 19F         1404, a switch module 1410, a filter 1414, and a transmission
and 19G). In step 1112, a filter 1218 filters out the undesired    module 1418 that accepts an information signal 1402 and
frequencies (harmonics), and outputs an electromagnetic            outputs a transmitted signal 1420. The operation and structure
(EM) signal 1220 at the desired harmonic frequency (for            of exemplary components are described below: an exemplary
example, see FIG. 191). In step 1116, EM signal 1220 is 40 phase modulatoris described below at sections 3.3.4-3.3.4.2;
routed to transmission module 1222 (optional), where it is         an exemplary local oscillator is described below at sections
prepared for transmission. In step 1118, transmission module       3.3.2-3.3.2.2; an exemplary switch module is described
1222 outputs a transmitted signal 1224.                            below at sections 3.3.6-3.3.6.2; an exemplary filter is
   3.2.2 Second Embodiment: Phase Modulation (PM) Mode.            described below at sections 3.3.9-3.3.9.2; and an exemplary
   in this embodiment, an information signal is accepted and 45 transmission module is described below at sections 3 .3 .10-
a modulated signal whose phase varies as a function of the         3.3.10.2.
information signal is transmitted.                                    Preferably, the local oscillator 1406, phase modulator
   3.2.2.1 Operational Description.                                1404, switch module 1410, filter 1414, and transmission
   The flow chart of FIG. 13 demonstrates the method of            module 1418 process the information signal in the manner
operation of the transmitter in the phase modulation (PM) 50 shown in the operational flowchart 1300. In other words, PM
mode. The representative waveforms shown in FIG. 44 depict         transmitter 1400 is the structural embodiment for performing
the invention operating as a transmitter in the PM mode.           the operational steps of flowchart 1300. However, it should be
   In step 1302, an information signal 4402 (FIG. 44A) is          understood that the scope and spirit of the present invention
generated by a source. Information signal 4402 may be, for         includes other structural embodiments for performing the
example, analog, digital, or any combination thereof. The 55 steps of flowchart 1300. The specifics of these other structural
signals shown in FIG. 44 depict a digital information signal       embodiments will be apparent to persons skilled in the rel-
wherein the information is represented by discrete states of       evant art(s) based on the discussion contained herein.
the signal. It will be apparent to persons skilled in the relevant    The operation of the transmitter 1400 will now be
art(s) that the invention is also adapted to working with an       described in detail with reference to the flowchart 1300. In
analog information signal wherein the information is repre- 60 step 1302, an information signal 1402 (for example, see FIG.
sented by a continuously varying signal. In step 1304, an          44A) from a source (not shown) is routed to phase modulator
oscillating signal 4404 is generated and in step 1306, the         1404. In step 1304, an oscillating signal from local oscillator
oscillating signal 4404 (FIG. 44B) is modulated by the infor-      1406 (for example, see FIG. 44B) is generated and modu-
mation signal 4402, resulting in the modulated signal 4406         lated, thereby producing a modulated signal 1408 (for
(FIG. 44C) as indicated in block 1308. The phase of this 65 example, see FIG. 44C). In step 1310, the switch module
modulated signal 4406 is varied as a function of the informa-      1410 generates a harmonically rich signal 1412 with a con-
tion signal 4402.                                                  tinuous and periodic waveform (for example, see FIG. 44D).




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lbis waveform is preferably a rectangular wave, such as a             waveforms that are substantially square and it is not the intent
square wave or a pulse (although, the invention is not limited        of the present invention that a perfect square wave be gener-
to this embodiment), and is comprised of a plurality of sinu-         ated or needed.
soidal waves whose frequencies are integer multiples of the              As stated before, a harmonically rich signal 4506, such as
fundamental frequency of the waveform. These sinusoidal 5 the rectangular wave as indicated in block 1514, has sinusoi-
waves are referred to as the harmonics of the underlying              dal components (harmonics) at frequencies that are integer
waveform, and a Fourier analysis will determine the ampli-            multiples of the fundamental frequency of the underlying
tude of each harmonic (for an example of the first three              waveform (the Fourier component frequencies). The first
harmonics, see FIGS. 44E, 44F, and 44G). In step 1314, a              three harmonic waveforms are shown in FIGS. 45D, 45E, and
filter 1414 filters out the undesired harmonic frequencies (for 1o 45F. In fact, there are an infinite numberofharmonics. In step
example, the first harmonic 4410, the second harmonic 4412,           1516, the unwanted frequencies are removed, and as indi-
and the fourth, fifth, etc., harmonics, not shown), and outputs       cated in block 1518, the remaining frequency is at the desired
an electromagnetic (EM) signal 1416 at the desired harmonic           EM output. As an example, the first (fundamental) harmonic
frequency (for example, the third harmonic, see FIG. 44G). In         4510 and the second harmonic 4512 along with the fourth,
step 1318, EM signal 1416 is routed to transmission module 15 fifth, etc., harmonics (not shown) might be filtered out leaving
1418 (optional), where it is prepared for transmission. In step       the third harmonic 4514 as the desired EM signal as indicated
1320, the transmission module 1418 outputs a transmitted              in block 1518.
signal 1420.                                                             The EM signal is prepared for transmission in step 1520,
    3.2.3 Third Embodiment: Amplitude Modulation (AM)                 and in step 1522, the EM signal is transmitted.
Mode.                                                              20    3.2.3.2 Structural Description.
   In this embodiment, an information signal is accepted and             FIG. 16 is a block diagram of a transmitter according to an
a modulated signal whose amplitude varies as a function of            embodiment of the invention. lbis embodiment of the trans-
the information signal is transmitted.                                mitter is shown as an AM transmitter 1600. AM transmitter
    3.2.3.1 Operational Description.                                  1600 includes a local oscillator 1610, a summing module
    The flow chart of FIG. 15 demonstrates the method of 25 1606, a switch module 1614, a filter 1618, and a transmission
operation of the transmitter in the amplitude modulation              module 1622 that accepts an information signal 1602 and
(AM) mode. The representative waveforms shown in FIG. 45              outputs a transmitted signal 1624. The operation and structure
depict the invention operating as a transmitter in the AM             of exemplary components are described below: an exemplary
mode.                                                                 local oscillator is described below at sections 3.3.2-3.3.2.2;
   In step 1502, an information signal 4502 (FIG. 45A) is 30 an exemplary a switch module is described below at sections
generated by a source. Information signal 4502 may be, for            3.3.7-3.3.7.2; an exemplary filter is described below at sec-
example, analog, digital, or any combination thereof. The             tions 3.3.9-3.3.9.2; and an exemplary transmission module is
signals shown in FIG. 45 depict a digital information signal          described below at sections 3.3.10-3.3.10.2.
wherein the information is represented by discrete states of             Preferably, the local oscillator 1610, summing module
the signal. It will be apparent to persons skilled in the relevant 35 1606, switch module 1614, filter 1618, and transmission
art(s) that the invention is also adapted to working with an          module 1622 process an information signal 1602 in the man-
analog information signal wherein the information is repre-           ner shown in the operational flowchart 1500. In other words,
sented by a continuously varying signal. In step 1504, a              AM transmitter 1600 is the structural embodiment for per-
"reference signal" is created, which, as indicated in block           forming the operational steps of flowchart 1500. However, it
1506, has an amplitude that is a function of the information 40 should be understood that the scope and spirit of the present
signal 4502. In one embodiment of the invention, the refer-           invention includes other structural embodiments for perform-
ence signal is created by combining the information signal            ing the steps of flowchart 1500. The specifics of these other
4502 with a bias signal. In another embodiment of the inven-          structural embodiments will be apparent to persons skilled in
tion, the reference signal is comprised of only the information       the relevant art(s) based on the discussion contained herein.
signal 4502. One skilled in the relevant art(s) will recognize 45        The operation of the transmitter 1600 will now be
that any number of embodiments exist wherein the reference            described in detail with reference to the flowchart 1500. In
signal will vary as a function of the information signal.             step 1502, information signal 1602 (for example, see FIG.
   An oscillating signal 4504 (FIG. 458) is generated at step         45A) from a source (not shown) is routed to summing module
1508, and at step 1510, the reference signal (information             1606 (ifrequired), thereby producing a reference signal 1608.
signal 4502) is gated at a frequency that is a function of the so In step 1508, an oscillating signal 1612 is generated by local
oscillating signal 4504. The gated referenced signal is a har-        oscillator 1610 (for example, see FIG. 458) and in step 1510,
monically rich signal 4506 (FIG. 45C) with a continuous               switch module 1614 gates the reference voltage 1608 at a rate
periodic waveform and is generated at step 1512. lbis har-            that is a function of the oscillating signal 1612. The result of
monically rich signal 4506 as indicated in block 1514 is              the gating is a harmonically rich signal 1616 (for example, see
substantially a rectangular wave which has a fundamental 55 FIG. 45C) with a continuous and periodic waveform. This
frequency equal to the frequency at which the reference signal        waveform is preferably a rectangular wave, such as a square
(information signal 4502) is gated. In addition, the rectangu-        wave or a pulse (although, the invention is not limited to this
lar wave has pulse amplitudes that are a function of the ampli-       embodiment), and is comprised of a plurality of sinusoidal
tude of the reference signal (information signal 4502). One           waves whose frequencies are integer multiples of the funda-
skilled in the relevant art(s) will recognize the physical limi- 60 mental frequency of the waveform. These sinusoidal waves
tations to and mathematical obstacles against achieving an            are referred to as the harmonics of the underlying waveform,
exact or perfect rectangular waveform and it is not the intent        andaFourieranalysiswilldeterminetherelativeamplitudeof
of the present invention that a perfect rectangular waveform          each harmonic (for an example of the first three harmonics,
be generated or needed. Again, as stated above, for ease of           see FIGS. 45D, 45E, and 45F). When amplitude modulation
discussion, the term "rectangular waveform" will be used to 65 is applied, the amplitude of the pulses in rectangular wave-
refer to waveforms that are substantially rectangular. In a           form 1616 vary as a function ofreference signal 1608. As a
similar manner, the term "square wave" will refer to those            result, this change in amplitude of the pulses has a propor-




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tional effect on the absolute amplitude of all ofthe harmonics.     frequencies are removed, and as indicated in block 1728, the
In other words, the AM is embedded on top of each of the            remaining frequency is at the desired EM output.
harmonics. In step 1516, a filter 1618 filters out the undesired        The "I/Q" EM signal is prepared for transmission in step
harmonic frequencies (for example, the first harmonic 4510,         1730, and in step 1732, the "I/Q" EM signal is transmitted.
the secondharmonic 4512, and the fourth, fifth, etc., harmon- 5         3.2.4.2 Structural Description.
ics, not shown), and outputs an electromagnetic (EM) signal             FIG. 18 is a block diagram of a transmitter according to an
1620 at the desired harmonic frequency (for example, the            embodiment of the invention. This embodiment of the trans-
third harmonic, see FIG. 45F). In step 1520, EM signal 1620         mitter is shown as an "I/Q" transmitter 1800. "I/Q" transmit-
is routed to transmission module 1622 (optional), where it is       ter 1800 includes a local oscillator 1806, a phase shifter 1810,
prepared for transmission. In step 1522, the transmission 10 two phase modulators 1804 & 1816, two switch modules
module 1622 outputs a transmitted signal 1624.                      1822 & 1828, a summer 1832, a filter 1836, and a transmis-
   Note that the description of the AM embodiment given             sion module 1840. The "I/Q" transmitter accepts two infor-
herein shows the information signal being gated, thus apply-        mation signals 1802 & 1814 and outputs a transmitted signal
ing the amplitude modulation to the harmonically rich signal.       1420. The operation and structure of exemplary components
However, is would be apparent based on the teachings con- 15 are described below: an exemplary phase modulator is
tained herein, that the information signal can be modulated         described below at sections 3.3.4-3.3.4.2; an exemplary local
onto the harmonically rich signal or onto a filtered harmonic       oscillator is described below at sections 3.3.2-3.3.2.2; an
at any point in the circuit.                                        exemplary phase shifter is described below at sections 3.3.3-
   3.2.4 Fourth Embodiment: In-Phase/Quadrature-Phase               3.3.3.2; an exemplary switch module is described below at
Modulation ("I/Q") Mode.                                         20 sections 3.3.6-3.3.6.2; an exemplary summer is described
   In-phase/quadrature-phase modulation ("I/Q") is a specific       below at sections 3.3.8-3.3.8.2; an exemplary filter is
subset of a phase modulation (PM) embodiment. Because               described below at sections 3.3.9-3.3.9.2; and an exemplary
"I/Q" is so pervasive, it is described herein as a separate         transmission module is described below at sections 3 .3 .10-
embodiment. However, it should be remembered that since it          3 .3 .10.2.
is a specific subset of PM, the characteristics of PM also apply 25     Preferably, the local oscillator 1806, phase shifter 1810,
to "I/Q."                                                           phase modulators 1804 & 1816, switch modules 1822 &
   In this embodiment, two information signals are accepted.        1828, summer 1832, filter 1836, and transmission module
An in-phase signal ("I") is modulated such that its phase           1840 process the information signal in the manner shown in
varies as a function of one of the information signals, and a       the operational flowchart 1700. In other words, "I/Q" trans-
quadrature-phase signal ("Q") is modulated such that its 30 mitter 1800 is the structural embodiment for performing the
phase varies as a function of the other information signal. The     operational steps of flowchart 1700. However, it should be
two modulated signals are combined to form an "I/Q" modu-           understood that the scope and spirit of the present invention
lated signal and transmitted.                                       includes other structural embodiments for performing the
   3.2.4.1 Operational Description.                                 steps offlowchart 1700. The specifics of these other structural
   The flow chart of FIG. 17 demonstrates the method of 35 embodiments will be apparent to persons skilled in the rel-
operation of the transmitter in the in-phase/quadrature-phase       evant art(s) based on the discussion contained herein.
modulation ("I/Q") mode. In step 1702, a first information              The operation of the transmitter 1800 will now be
signal is generated by a first source. This information signal      described in detail with reference to the flowchart 1700 In
may be analog, digital, or any combination thereof. In step         step 1702, a first information signal 1802 from a source (not
1710, an in-phase oscillating signal (referred to as the "I" 40 shown) is routed to the first phase modulator 1804. In step
signal) is generated and in step 1704, it is modulated by the       1710, an "I" oscillating signal 1808 from local oscillator 1806
first information signal. This results in the "I" modulated         is generated and in step 1704, "I" oscillating signal 1808 is
signal as indicated in block 1706 wherein the phase of the "I"      modulated by first information signal 1802 in the first phase
modulated signal is varied as a function of the first informa-      modulator 1804, thereby producing an "I" modulated signal
tion signal.                                                     45 1820. In step 1708, the first switch module 1822 generates a
   In step 1714, a second information signal is generated.          harmonically rich "I" signal 1824 with a continuous and
Again, this signal may be analog, digital, or any combination       periodic waveform.
thereof, and may be different than the first information signal.        In step 1714, a second information signal 1814 from a
In step 1712, the phase of "I" oscillating signal generated in      source (not shown) is routed to the second phase modulator
step 1710 is shifted, creating a quadrature-phase oscillating 50 1816. In step 1712, the phase of oscillating signal 1808 is
signal (referred to as the "Q" signal). In step 1716, the "Q"       shifted by phase shifter 1810 to create "Q" oscillating signal
signal is modulated by the second information signal. This          1812. In step 1716, "Q" oscillating signal 1812 is modulated
results in the "Q" modulated signal as indicated in block 1718      by second information signal 1814 in the second phase modu-
wherein the phase of the "Q" modulated signal is varied as a        lator 1816, thereby producing "Q" modulated signal 1826. In
function of the second information signal.                       55 step 1720, the second switch module 1828 generates a har-
   An "I" signal with a continuous periodic waveform is gen-        monically rich "Q" signal 1830 with a continuous and peri-
erated at step 1708 using the "I" modulated signal, and a "Q"       odic waveform. Harmonically rich "I" signal 1824 and har-
signal with a continuous periodic waveform is generated at          monically rich "Q" signal 1830 are preferably rectangular
step 1720 using the "Q" modulated signal. In step 1722, the         waves, such as square waves or pulses (although, the inven-
"I" periodic waveform and the "Q" periodic waveform are 60 tion is not limited to this embodiment), and are comprised of
combined forming what is referred to as the "I/Q" periodic          pluralities of sinusoidal waves whose frequencies are integer
waveform as indicated in block 1724. As stated before, a            multiples of the fundamental frequency of the waveforms.
continuous and periodic waveform, such as a "I/Q" rectangu-         These sinusoidal waves are referred to as the harmonics of the
lar wave as indicated in block 1724, has sinusoidal compo-          underlying waveforms, and a Fourier analysis will determine
nents (harmonics) at frequencies that are integer multiples of 65 the amplitude of each harmonic.
the fundamental frequency of the underlying waveform (the               In step 1722, harmonically rich "I" signal 1824 and har-
Fourier component frequencies). In step 1726, the unwanted          monically rich "Q" signal 1830 are combined by summer




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1832 to create harmonically rich "I/Q" signal 1834. In step                The embodiments described above are provided for pur-
1726, a filter 1836 filters out the undesired harmonic frequen-         poses of illustration. These embodiments are not intended to
cies, and outputs an "I/Q" electromagnetic (EM) signal 1838             limit the invention. Alternate embodiments, differing slightly
at the desired harmonic frequency. In step 1730, "I/Q" EM               or substantially from those described herein, will be apparent
signal 1838 is routed to transmission module 1840 (optional), 5 to persons skilled in the relevant art(s) based on the teachings
where it is prepared for transmission. In step 1732, the trans-         contained herein. Such alternate embodiments include, but
mission module 1840 outputs a transmitted signal 1842.                  are not limited to, combinations of modulation techniques in
   it will be apparent to those skilled in the relevant art( s) that    an "1/Q" mode. Such alternate embodiments fall within the
an alternate embodiment exists wherein the harmonically rich            scope and spirit of the present invention.
"I" signal 1824 and the harmonically rich "Q" signal 1830 10 3.3 Methods and Systems for Implementing the Embodi-
may be filtered before they are summed, and further, another            ments.
alternate embodiment exists wherein "I" modulated signal                   Exemplary operational and/or structural implementations
1820 and "Q" modulated signal 1826 may be summed to                     related to the method(s), structure(s), and/or embodiments
create an "I/Q" modulated signal before being routed to a 15 described above are presented in this section (and its subsec-
switch module.                                                          tions). These components and methods are presented herein
   3.2.5 Other Embodiments.                                             for purposes of illustration, and not limitation. The invention
   Other embodiments of the up-converter of the present                 is not limited to the particular examples of components and
invention being used as a transmitter (or in other applications)        methods described herein. Alternatives (including equiva-
may use subsets and combinations of modulation techniques. 20 lents, extensions, variations, deviations, etc., of those
These would be apparent to one skilled in the relevant art(s)           described herein) will be apparent to persons skilled in the
based on the teachings disclosed herein, and include, but are           relevant art(s) based on the teachings contained herein. Such
not limited to, quadrature amplitude modulation (QAM), and              alternatives fall within the scope and spirit of the present
embedding two forms of modulation onto a signal for up-                 invention.
conversion.                                                          25    3.3.1 The Voltage Controlled Oscillator (FM Mode).
   An exemplary circuit diagram illustrating the combination               As discussed above, the frequency modulation (FM) mode
of two modulations is found in FIG. 62. lbis example uses               embodiment of the invention uses a voltage controlled oscil-
AM combined with PM. The waveforms shown in FIG. 63                     lator (VCO). See, as an example, VCO 1204 in FIG. 12. The
illustrate the phase modulation of a digital information signal         invention supports numerous embodiments of the VCO.
''A" 6202 combined with the amplitude modulation of an 30 Exemplary embodiments of the VCO 2304 (FIG. 23) are
analog information signal "B" 6204. An oscillating signal
                                                                        described below. However, it should be understood that these
6216 (FIG. 63B)andinformationsignal ''A" 6202 (FIG. 63A)
                                                                        examples are provided for illustrative purposes only. The
are received by phase modulator 1404, thereby creating a
                                                                        invention is not limited to these embodiments.
phase modulated signal 6208 (FIG. 63C). Note that for illus-
trative purposes, and not limiting, the information signal is 35           3.3.1.1 Operational Description.
shown as a digital signal, and the phase modulation is shown               The information signal 2302 is accepted and an oscillating
as shifting the phase of the oscillating signal by 180°. Those          signal 2306 whose frequency varies as a function ofthe infor-
skilled in the relevant art(s) will appreciate that the informa-        mation signal 2302 is created. Oscillating signal 2306 is also
tion signal could be analog (although typically it is digital),         referred to as frequency modulated intermediate signal 2306.
and that phase modulations other than 180° may also be used. 40 The information signal 2302 may be analog or digital or a
FIG. 62 shows a pulse shaper 6216 receiving phase modu-                 combination thereof, and may be conditioned to ensure it is
lated signal 6208 and outputting a pulse-shaped PM signal               within the desired range.
6210. The pulse shaper is optional, depending on the selection             In the case where the information signal 2302 is digital, the
and design of the phase modulator 1404. Information signal              oscillating signal 2306 may vary between discrete frequen-
"B" 6304 and bias signal 1604 (if required) are combined by 45 cies. For example, in a binary system, a first frequency cor-
summing module 1606 (optional) to create reference signal               responds to a digital "high," and a second frequency corre-
6206 (FIG. 63E). Pulse-shaped PM signal 6210 is routed to               sponds to a digital "low." Either frequency may correspond to
switch module 1410, 1614 where it gates the reference signal            the "high" or the "low," depending on the convention being
6206 thereby producing a harmonically rich signal 6212                  used. This operation is referred to as frequency shift keying
(FIG. 63F). It can be seen that the amplitude of harmonically 50 (FSK) which is a subset of FM. If the information signal 2302
rich signal 6212 varies as a function ofreference signal 6206,          is analog, the frequency of the oscillating signal 2306 will
and the period and pulse width of harmonically rich signal              vary as a function of that analog signal, and is not limited to
6212 are substantially the same as pulse-shaped PM signal               the subset ofFSK described above.
6210. FIG. 63 only illustrates the fundamental and second                  The oscillating signal 2306 is a frequency modulated sig-
harmonics of harmonically rich signal 6212. In fact, there 55 nal which can be a sinusoidal wave, a rectangular wave, a
may be an infinite number of harmonics, but for illustrative            triangular wave, a pulse, or any other continuous and periodic
purposes (and not limiting) the first two harmonics are suffi-          waveform. As stated above, one skilled in the relevant art(s)
cient to illustrate that both the phase modulation and the              will recognize the physical limitations to and mathematical
amplitude modulation that are present on the harmonically               obstacles against achieving exact or perfect waveforms and it
rich signal 6212 are also present on each of the harmonics. 60 is not the intent of the present invention that a perfect wave-
Filter 1414, 1618 willremovetheunwantedharmonics, and a                 form be generated or needed. Again, as stated above, for ease
desired harmonic 6214 is routed to transmission module                  of discussion, the term "rectangular waveform" will be used
1418, 1622 (optional) where it is prepared for transmission.            to refer to waveforms that are substantially rectangular, the
Transmission module 1418, 1622 then outputs a transmitted               term "square wave" will refer to those waveforms that are
signal 1420, 1624. Those skilled in the relevant art(s) will 65 substantially square, the term "triangular wave" will refer to
appreciate that these examples are provided for illustrative            those waveforms that are substantially triangular, and the
purposes only and are not limiting.                                     term "pulse" will refer to those waveforms that are substan-




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tially a pulse, and it is not the intent of the present invention    and it is not the intent of the present invention that a perfect
that a perfect square wave, triangle wave, or pulse be gener-        square wave, triangle wave, or pulse be generated or needed.
ated or needed.                                                         3.3.2.2 Structural Description.
   3.3.1.2 Structural Description.                                      The design and use of a local oscillator 2402 is well known
   The design and use of a voltage controlled oscillator 2304 5 to those skilled in the relevant art(s ). A local oscillator 2402
is well known to those skilled in the relevant art(s ). The VCO      may be designed and fabricated from discrete components or
2304 may be designed and fabricated from discrete compo-             it may be purchased "off the shelf." A local oscillator 2402 is
nents, or it may be purchased "off the shelf." VCO 2304              generally set to output a specific frequency. The output can be
accepts an information signal 2302 from a source. The infor-         "fixed" or it can be "selectable," based on the design of the
                                                                  10 circuit. If it is fixed, the output is considered to be substan-
mation signal 2302 is at baseband and generally is an electri-
                                                                     tially a fixed frequency that cannot be changed. If the output
cal signal within a prescribed voltage range. If the informa-
                                                                     frequency is selectable, the design of the circuit will allow a
tion is digital, the voltage will be at discrete levels. If the
                                                                     control signal to be applied to the local oscillator 2402 to
information is analog, the voltage will be continuously vari-        change the frequency for different applications. However, the
able between an upper and a lower level. The VCO 2304 uses 15 output frequency of a local oscillator 2402 is not considered
the voltage of the information signal 2302 to cause a modu-          to be ''variable" as a function of an information signal 2302
lated oscillating signal 2306 to be output. The information          such as the modulating baseband signal 2302. (If it were
signal 2302, because it is a baseband signal and is used to          desired for the output frequency of an oscillator to be variable
modulate the oscillating signal, may be referred to as the           as a function of an information signal, a VCO would prefer-
modulating baseband signal 2302.                                  20 ably be used.) The oscillating signal 2404 generally is a
   The frequency of the oscillating signal 2306 varies as a          sinusoidal wave, but it may also be a rectangular wave, a
function of the voltage of the modulating baseband signal            triangular wave, a pulse, or any other continuous and periodic
2302. If the modulating baseband signal 2302 represents              waveform.
digital information, the frequency of the oscillating signal            The output of a local oscillator 2402 may be an input to
23 06 will be at discrete levels. If, on the other hand, the 25 other circuit components such as a phase modulator 2606, a
modulating baseband signal 2302 represents analog informa-           phase shifting circuit 2504, switch module 3102, etc.
tion, the frequency of the oscillating signal 2306 will be              3.3.3 The Phase Shifter ("I/Q" Mode).
continuously variable between its higher and lower frequency            As discussed above, the in-phase/quadrature-phase modu-
limits. The oscillating signal 2306 can be a sinusoidal wave,        lation ("I/Q") mode embodiment of the invention uses a phase
a rectangular wave, a triangular wave, a pulse, or any other 30 shifter. See, as an example, phase shifter 1810 in FIG.18. The
continuous and periodic waveform.                                    invention supports numerous embodiments of the phase
   The frequency modulated oscillating signal 2306 may then          shifter. Exemplary embodiments of the phase shifter 2504
be used to drive a switch module 2802.                               (FIG. 25) are described below. The invention is not limited to
   3.3.2 The Local Oscillator (PM, AM, and "I/Q" Modes).             these embodiments. The description contained herein is for a
   As discussed above, the phase modulation (PM) and amp Ii- 35 "90° phase shifter." The 90° phase shifter is used for ease of
tude modulation (AM) mode embodiments of the invention               explanation, and one skilled in the relevant art(s) will under-
use a local oscillator. So too does the in-phase/quadrature-         stand that other phase shifts can be used without departing
phase modulation ("1/Q") mode embodiment. See, as an                 from the intent of the present invention.
example, local oscillator 1406 in FIG. 14, local oscillator             3.3.3.1 Operational Description.
1610 in FIG. 16, and local oscillator 1806 in FIG. 18. The 40           An "in-phase" oscillating signal 2502 is received and a
invention supports numerous embodiments of the local oscil-          "quadrature-phase" oscillating signal 2506 is output. If the
lator. Exemplary embodiments of the local oscillator 2402            in-phase ("I") signal 2502 is referred to as being a sine wave,
(FIG. 24) are described below.                                       then the quadrature-phase ("Q") signal 2506 can be referred
   However, it should be understood that these examples are          to as being a cosine wave (i.e., the "Q" signal 2506 is 90° out
provided for illustrative purposes only. The invention is not 45 of phase with the "I" signal 2502). However, they may also be
limited to these embodiments.                                        rectangular waves, triangular waves, pulses, or any other
   3.3.2.1 Operational Description.                                  continuous and periodic waveforms. As stated above, one
   An oscillating signal 2404 is generated. The frequency of         skilled in the relevant art(s) will recognize the physical limi-
the signal 2404 may be selectable, but generally is not con-         tations to and mathematical obstacles against achieving exact
sidered to be "variable." That is, the frequency may be 50 or perfect waveforms and it is not the intent of the present
selected to be a specific value for a specific implementation,       invention that a perfect waveform be generated or needed.
but generally it does not vary as a function of the information      Again, as stated above, for ease of discussion, the term "rect-
signal 2302 (i.e., the modulating baseband signal).                  angular waveform" will be used to refer to waveforms that are
   The oscillating signal 2404 generally is a sinusoidal wave,       substantially rectangular, the term "square wave" will refer to
but it may also be a rectangular wave, a triangular wave, a 55 those waveforms that are substantially square, the term "tri-
pulse, or any other continuous and periodic waveform. As             angular wave" will refer to those waveforms that are substan-
stated above, one skilled in the relevant art(s) will recognize      tially triangular, and the term "pulse" will refer to those
the physical limitations to and mathematical obstacles against       waveforms that are substantially a pulse, and it is not the
achieving exact or perfect waveforms and it is not the intent of     intent of the present invention that a perfect square wave,
the present invention that a perfect waveform be generated or 60 triangle wave, or pulse be generated or needed. Regardless of
needed. Again, as stated above, for ease of discussion, the          the shapes of the waveforms, the "Q" signal 2506 is out of
term "rectangular waveform" will be used to refer to wave-           phase with the "I" signal 2506 by one-quarter period of the
forms that are substantially rectangular, the term "square           waveform. The frequency of the "I" and "Q" signals 2502 and
wave" will refer to those waveforms that are substantially           2506 are substantially equal.
square, the term "triangular wave" will refer to those wave- 65         The discussion contained herein will be confined to the
forms that are substantially triangular, and the term "pulse"        more prevalent embodiment wherein there are two interme-
will refer to those waveforms that are substantially a pulse,        diate signals separated by 90°. This is not limiting on the




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invention. It will be apparent to those skilled in the relevant     corresponding to a digital "low." Either phase may corre-
art(s) that the techniques tough herein and applied to the "I/Q"    spond to the "high" or the "low," depending on the convention
embodiment of the present invention also apply to more              being used. This operation is referred to as phase shift keying
exotic embodiments wherein the intermediate signals are             (PSK) which is a subset of PM.
shifted by some amount other than 90°, and also wherein 5              If the information signal 2602 is analog, the phase of the
there may be more than two intermediate frequencies.                modulated intermediate signal 2608 will vary as a function of
   3.3.3.2 Structural Description.                                  the information signal 2602 and is not limited to the subset of
   The design and use of a phase shifter 2504 is well known to      PSK described above.
those skilled in the relevant art(s). A phase shifter 2504 may         The modulated intermediate signal 2608 is a phase modu-
be designed and fabricated from discrete components or it 10 lated signal which can be a sinusoidal wave, a rectangular
may be purchased "off the shelf' A phase shifter accepts an         wave, a triangular wave, a pulse, or any other continuous and
"in-phase" ("I") oscillating signal 2502 from any of a number       periodic waveform, and which has substantially the same
of sources, such as a VCO 2304 or a local oscillator 2402, and      period as the oscillating signal 2604.
outputs a "quadrature-phase" ("Q") oscillating signal 2506             3.3.4.2 Structural Description.
that is substantially the same frequency and substantially the 15      The design and use of a phase modulator 2606 is well
same shape as the incoming "I" signal 2502, but with the            known to those skilled in the relevant art(s). A phase modu-
phase shifted by 90°. Both the "I" and "Q" signals 2502 and         lator 2606 may be designed and fabricated from discrete
2506 are generally sinusoidal waves, but they may also be           components, or it may be purchased "off the shelf." A phase
rectangular waves, triangular waves, pulses, or any other           modulator 2606 accepts an information signal 2602 from a
continuous and periodic waveforms. Regardless of the shapes 20 source and an oscillating signal 2604 from a local oscillator
of the waveforms, the "Q" signal 2506 is out of phase with the      2402 or a phase shifter 2504. The information signal 2602 is
"I" signal 2502 by one-quarter period of the waveform. Both         at baseband and is generally an electrical signal within a
the "I" and "Q" signals 2502 and 2506 may be modulated.             prescribed voltage range. If the information is digital, the
   The output of a phase shifter 2504 may be used as an input       voltage will be at discrete levels. If the information is analog,
to a phase modulator 2606.                                       25 the voltage will be continuously variable between an upper
   3.3.4 The Phase Modulator (PM and "1/Q" Modes).                  and a lower level as a function of the information signal 2602.
   As discussed above, the phase modulation (PM) mode               The phase modulator 2606 uses the voltage ofthe information
embodiment including the in-phase/quadrature-phase modu-            signal 2602 to modulate the oscillating signal 2604 and
lation ("1/Q") mode embodiment of the invention uses a phase        causes a modulated intermediate signal 2608 to be output.
modulator. See, as an example, phase modulator 1404 of FIG. 30 The information signal 2602, because it is a baseband signal
14 and phase modulators 1804 and 1816 of FIG. 18. The               and is used to modulate the oscillating signal, may be referred
invention supports numerous embodiments of the phase                to as the modulating baseband signal 2604.
modulator. Exemplary embodiments of the phase modulator                The modulated intermediate signal 2608 is an oscillating
2606 (FIG. 26) are described below. However, it should be           signal whose phase varies as a function of the voltage of the
understood that these examples are provided for illustrative 35 modulating baseband signal 2602. If the modulating base-
purposes only. The invention is not limited to these embodi-        band signal 2602 represents digital information, the phase of
ments.                                                              the modulated intermediate signal 2608 will shift by a dis-
   3.3.4.1 Operational Description.                                 crete amount (e.g., the modulated intermediate signal 2608
   An information signal 2602 and an oscillating signal 2604        will shift by an amount <I between sin(ft+8 0 ) and sin (oot+8 0 +
are accepted, and a phase modulated oscillating signal 2608 40 6)). If, on the other hand, the modulating baseband signal
whose phase varies as a function of the information signal          2602 represents analog information, the phase of the modu-
2602 is output. The information signal 2602 may be analog or        lated intermediate signal 2608 will continuously shift
digital and may be conditioned to ensure it is within the           between its higher and lower phase limits as a function of the
desired range. The oscillating signal 2604 can be a sinusoidal      information signal 2602. In one exemplary embodiment, the
wave, a rectangular wave, a triangular wave, a pulse, or any 45 upper and lower limits of the modulated intermediate signal
other continuous and periodic waveform. As stated above,            2608 can be represented as sin(cot+8 0 ) and sin(cot+8 0 +1t). In
one skilled in the relevant art(s) will recognize the physical      other embodiments, the range of the phase shift may be less
limitations to and mathematical obstacles against achieving         than re. The modulated intermediate signal 2608 can be a
exact or perfect waveforms and it is not the intent of the          sinusoidal wave, a rectangular wave, a triangular wave, a
present invention that a perfect waveform be generated or 50 pulse, or any other continuous and periodic waveform.
needed. Again, as stated above, for ease of discussion, the            The phase modulated intermediate signal 2608 may then
term "rectangular waveform" will be used to refer to wave-          be used to drive a switch module 2802.
forms that are substantially rectangular, the term "square             3.3.5 The Summing Module (AM Mode).
wave" will refer to those waveforms that are substantially             As discussed above, the amplitude modulation (AM) mode
square, the term "triangular wave" will refer to those wave- 55 embodiment of the invention uses a summing module. See, as
forms that are substantially triangular, and the term "pulse"       an example, summing module 1606 in FIG.16. The invention
will refer to those waveforms that are substantially a pulse,       supports numerous embodiments of the summing module.
and it is not the intent of the present invention that a perfect    Exemplary embodiments of the summing module 2706 (FIG.
square wave, triangle wave, or pulse be generated or needed.        27) are described below. However, it should be understood
The modulated oscillating signal 2608 is also referred to as 60 that these examples are provided for illustrative purposes
the modulated intermediate signal 2608.                             only. The invention is not limited to these embodiments. It
   In the case where the information signal 2602 is digital, the    may also be used in the "I/Q" mode embodiment when the
modulated intermediate signal 2608 will shift phase between         modulation is AM. The summing module 2706 need not be
discrete values, the first phase (e.g., for a signal represented    used in all AM embodiments.
by sin( cot+B 0 ) ) corresponding to a digital "high," and the 65      3.3.5.1 Operational Description.
second phase (e.g., for a signal represented by sin(cot+8 0 +6),       An information signal 2702 and a bias signal 2702 are
where <I represents the amount the phase has been shifted)          accepted, and a reference signal is output. The information




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signal 2702 may be analog or digital and may be conditioned         are described below. However, it should be understood that
to ensure it is within the proper range so as not to damage any     these examples are provided for illustrative purposes only.
of the circuit components. The bias signal 2704 is usually a        The invention is not limited to these embodiments. The
direct current (DC) signal.                                         switch module 2802 and its operation in the FM, PM, and
   In the case where the information signal 2702 is digital, the 5 "I/Q" mode embodiments is substantially the same as its
reference signal 2706 shifts between discrete values, the first     operation in the AM mode embodiment, described in sections
value corresponding to a digital "high," and the second value       3.3.7-3.3.7.2 below.
corresponding to a digital "low." Either value may correspond          3.3.6.1 Operational Description.
to the "high" or the "low," depending on the convention being          A bias signal 2806 is gated as a result of the application of
used. 1bis operation is referred to as amplitude shift keying 10 a modulated oscillating signal 2804, and a signal with a
(ASK) which is a subset of AM.                                      harmonically rich waveform 2814 is created. The bias signal
   If the information signal 2702 is analog, the value of the       2806 is generally a fixed voltage. The modulated oscillating
reference signal 2708 will vary linearly between upper and          signal 2804 can be frequency modulated, phase modulated, or
lower extremes which correspond to the upper and lower              any other modulation scheme or combination thereof. In cer-
limits ofthe information signal 2702.Again, either extreme of 15 tain embodiments, such as in certain amplitude shift keying
the reference signal 2708 range may correspond to the upper         modes, the modulated oscillating signal 2804 may also be
or lower limit of the information signal 2702 depending on          amplitude modulated. The modulated oscillating signal 2804
the convention being used.                                          can be a sinusoidal wave, a rectangular wave, a triangular
   The reference signal 2708 is a digital or analog signal and      wave, a pulse, or any other continuous and periodic wave-
is substantially proportional to the information signal 2702. 20 form. In a preferred embodiment, modulated oscillating sig-
   3.3.5.2 Structural Description.                                  nal 2804 would be a rectangular wave. As stated above, one
   The design and use of a summing module 2706 is well              skilled in the relevant art(s) will recognize the physical limi-
known to those skilled in the relevant art(s). A summing            tations to and mathematical obstacles against achieving exact
module 2706 may be designed and fabricated from discrete            or perfect waveforms and it is not the intent of the present
components, or it may be purchased "off the shelf." A sum- 25 invention that a perfect waveform be generated or needed.
ming module 2706 accepts an information signal 2702 from a          Again, as stated above, for ease of discussion, the term "rect-
source. The information signal 2702 is at baseband and gen-         angular waveform" will be used to refer to waveforms that are
erally is an electrical signal within a prescribed voltage range.   substantially rectangular, the term "square wave" will refer to
If the information is digital, the information signal 2702 is at    those waveforms that are substantially square, the term "tri-
either of two discrete levels. If the information is analog, the 30 angular wave" will refer to those waveforms that are substan-
information signal 2702 is continuously variable between an         tially triangular, and the term "pulse" will refer to those
upper and a lower level. The summing module 2706 uses the           waveforms that are substantially a pulse, and it is not the
voltage of the information signal 2702 and combines it with a       intent of the present invention that a perfect square wave,
bias signal 2704. The output of the summing module 2706 is          triangle wave, or pulse be generated or needed.
called the reference signal 2708. The purpose of the summing 35        The signal with harmonically rich waveform 2814, here-
module 2706 is to cause the reference signal 2708 to be within      after referred to as the harmonically rich signal 2814, is a
a desired signal range. One skilled in the relevant art(s) will     continuous and periodic waveform that is modulated substan-
recognize that the information signal 2702 may be used              tially the same as the modulated oscillating signal 2804. That
directly, without being summed with a bias signal 2704, if it       is, if the modulated oscillating signal 2804 is frequency
is already within the desired range. The information signal 40 modulated, the harmonically rich signal 2814 will also be
2702 is a baseband signal, but typically, in an AM embodi-          frequency modulated, and if the modulated oscillating signal
ment, it is not used to directly modulate an oscillating signal.    2804 is phase modulated, the harmonically rich signal 2814
The amplitude of the reference signal 2708 is at discrete           will also be phase modulated. (In one embodiment, the har-
levels if the information signal 2702 represents digital infor-     monically rich signal 2814 is a substantially rectangular
mation. On the other hand, the amplitude of the reference 45 waveform.) As stated before, a continuous and periodic wave-
signal 2708 is continuously variable between its higher and         form, such as a rectangular wave, has sinusoidal components
lower limits if the information signal 2702 represents analog       (harmonics) at frequencies that are integer multiples of the
information. The amplitude of the reference signal 2708 is          fundamental frequency ofthe underlying waveform (the Fou-
substantially proportional to the information signal 2702,          rier component frequencies). Thus, the harmonically rich
however, a positive reference signal 2708 need not represent so signal 2814 is composed of sinusoidal signals at frequencies
a positive information signal 2702.                                 that are integer multiples of the fundamental frequency of
   The reference signal 2708 is routed to the first input 3108 of   itself.
a switch module 3102. In one exemplary embodiment, a                   3.3.6.2 Structural Description.
resistor 2824 is connected between the output ofthe summing            The switch module 2802 of an embodiment of the present
module 2706 (or the source of the information signal 2702 in 55 invention is comprised of a first input 2808, a second input
the embodiment wherein the summing amplifier2706 is not             2810, a control input 2820, an output 2822, and a switch 2816.
used) and the switch 3116 of the switch module 3102.                A bias signal 2806 is applied to the first input 2808 of the
   3.3.6 The Switch Module (FM, PM, and "I/Q" Modes).               switch module 2802. Generally, the bias signal 2806 is a fixed
    As discussed above, the frequency modulation (FM), phase        voltage, and in one embodiment of the invention, a resistor
modulation (PM), and the in-phase/quadrature-phase modu- 60 2824 is located between the bias signal 2806 and the switch
lation ("I/Q") mode embodiments of the invention use a              2816. The second input 2810 of the switch module 2802 is
switching assembly referred to as switch module 2802 (FIGS.         generally at electrical ground 2812. However, one skilled in
28A-28C). As an example, switch module 2802 is a compo-             the relevant art( s) will recognize that alternative embodi-
nent in switch module 1214 in FIG. 12, switch module 1410           ments exist wherein the second input 2810 may not be at
in FIG.14, and switch modules 1822 and1828 inFIG.18. The 65 electrical ground 2812, but rather a second signal 2818, pro-
invention supports numerous embodiments of the switch               vided that the second signal 2818 is different than the bias
module. Exemplary embodiments of the switch module 2802             signal 2806.




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   A modulated oscillating signal 2804 is connected to the        2824 to the source 2904 of the GaAsFET 2901, and electrical
control input 2820 ofthe switch module 2802. The modulated        ground 2812 is connected to the drain 2906 of GaAsFET
oscillating signal 2804 may be frequency modulated or phase       2901. (In an alternate embodiment shown in FIG. 29C, a
modulated. (In some circumstances and embodiments, it may         second signal 2818 may be connected to the drain 2906 of
be amplitude modulated, such as in on/off keying, but this is 5 GaAsFET 2901.) Since the drain and the source of GaAs-
not the general case, and will not be described herein.) The      FETs are interchangeable, the bias signal 2806 can be applied
modulated oscillating signal 2804 can be a sinusoidal wave, a     to either the source 2904 or to the drain 2906. If there is
rectangular wave, a triangular wave, a pulse, or any other        concern that there might be some source-drain asy=etry in
continuous and periodic waveform. In a preferred embodi-          the GaAsFET, the switch module can be designed as shown in
ment, it would be a rectangular wave. The modulated oscil- 10 FIGS. 30A-30C, wherein two GaAsFETs 3002 and 3004 are
lating signal 2804 causes the switch 2816 to close and open.      connected together, with the source 3010 of the first 3002
   The harmonically rich signal 2814 described in section         connected to the drain 3012 of the second 3004, and the drain
3.3.6.1 above, is found at the output 2822 of the switch          3006 of the first 3002 being connected to the source 3008 of
module 2802. The harmonically rich signal 2814 is a continu-      the second 3004. This design arrangement will balance sub-
ous and periodic waveform that is modulated substantially the 15 stantially all asy=etries. Other switch designs and imple-
same as the modulated oscillating signal 2804. That is, if the    mentations will be apparent to persons skilled in the relevant
modulated oscillating signal 2804 is frequency modulated,         art(s).
the harmonically rich signal 2814 will also be frequency             The output 2822 of the switch module 2802, i.e., the har-
modulated, and if the modulated oscillating signal 2804 is        monically rich signal 2814, can be routed to a filter 3504 in the
phase modulated, the harmonically rich signal 2814 will also 20 FM and PM modes or to a Summer 3402 in the "1/Q" mode.
be phase modulated. In one embodiment, the harmonically              3.3.7 The Switch Module (AM Mode).
rich signal 2814 has a substantially rectangular waveform. As        As discussed above, the amplitude modulation (AM) mode
stated before, a continuous and periodic waveform, such as a      embodiment of the invention uses a switching assembly
rectangular wave, has sinusoidal components (harmonics) at        referred to as switch module 3102 (FIGS. 31A-31C). As an
frequencies that are integer multiples of the fundamental 25 example, switch module 3102 is a component in switch mod-
frequency of the underlying waveform (the Fourier compo-          ule 1614 of FIG. 16. The invention supports numerous
nent frequencies). Thus, the harmonically rich signal 2814 is     embodiments ofthe switch module. Exemplary embodiments
composed of sinusoidal signals at frequencies that are integer    of the switch module 3102 are described below. However, it
multiples of the fundamental frequency of itself. Each of         should be understood that these examples are provided for
these sinusoidal signals is also modulated substantially the 30 illustrative purposes only. The invention is not limited to these
same as the continuous and periodic waveform (i.e., the           embodiments. The switch module 3102 and its operation in
modulated oscillating signal 2804) from which it is derived.      the AM mode embodiment is substantially the same as its
   The switch module 2802 operates as follows. When the           operation in the FM, PM, and "1/Q" mode embodiments
switch 2816 is "open," the output 2822 of switch module           described in sections 3.3.6-3.3.6.2 above.
2802 is at substantially the same voltage level as bias signal 35    3.3.7.1 Operational Description.
2806. Thus, since the harmonically rich signal 2814 is con-          A reference signal 3106 is gated as a result of the applica-
nected directly to the output 2822 of switch module 2802, the     tion of an oscillating signal 3104, and a signal with a har-
amplitude of harmonically rich signal 2814 is equal to the        monically rich waveform 3114 is created. The reference sig-
amplitude of the bias signal 2806. When the modulated oscil-      nal 3106 is a function of the information signal 2702 and may,
lating signal 2804 causes the switch2816 to become "closed," 40 for example, be either the summation of the information
the output 2822 of switch module 2802 becomes connected           signal 2702 with a bias signal 2704 or it may be the informa-
electrically to the second input 2810 of switch module 2802       tion signal 2702 by itself. In the AM mode, the oscillating
(e.g., ground 2812 in one embodiment of the invention), and       signal 3104 is generally not modulated, but can be.
the amplitude of the harmonically rich signal 2814 becomes           The oscillating signal 3104 can be a sinusoidal wave, a
equal to the potential present at the second input 2810 (e.g., 45 rectangular wave, a triangular wave, a pulse, or any other
zero volts for the embodiment wherein the second input 2810       continuous and periodic waveform. In a preferred embodi-
is connected to electrical ground 2812). When the modulated       ment, it would be a rectangular wave. As stated above, one
oscillating signal 2804 causes the switch 2816 to again           skilled in the relevant art(s) will recognize the physical limi-
become "open," the amplitude of the harmonically rich signal      tations to and mathematical obstacles against achieving exact
2814 again becomes equal to the bias signal 2806. Thus, the 50 or perfect waveforms and it is not the intent of the present
amplitude of the harmonically rich signal 2814 is at either of    invention that a perfect waveform be generated or needed.
two signal levels, i.e., bias signal 2806 or ground 2812, and     Again, as stated above, for ease of discussion, the term "rect-
has a frequency that is substantially equal to the frequency of   angular waveform" will be used to refer to waveforms that are
the modulated oscillating signal 2804 that causes the switch      substantially rectangular, the term "square wave" will refer to
2816 to open and close. The harmonically rich signal 2814 is 55 those waveforms that are substantially square, the term "tri-
modulated substantially the same as the modulated oscillat-       angular wave" will refer to those waveforms that are substan-
ing signal 2804. One skilled in the relevant art(s) will recog-   tially triangular, and the term "pulse" will refer to those
nize that any one of a number of switch designs will fulfill the  waveforms that are substantially a pulse, and it is not the
scope and spirit of the present invention as described herein.    intent of the present invention that a perfect square wave,
   In an embodiment of the invention, the switch 2816 is a 60 triangle wave, or pulse be generated or needed.
semiconductor device, such as a diode ring. In another               The signal with a harmonically rich waveform 3114, here-
embodiment, the switch is a transistor, such as a field effect    after referred to as the harmonically rich signal 3114, is a
transistor (FET). In an embodiment wherein the FET is gal-        continuous and periodic waveform whose amplitude is a
lium arsenide (GaAs), switch module 2802 can be designed          function of the reference signal. That is, it is anAM signal. In
as seen in FIGS. 29A-29C, where the modulated oscillating 65 one embodiment, the harmonically rich signal 3114 has a
signal 2804 is connected to the gate 2902 of the GaAsFET          substantially rectangular waveform. As stated before, a con-
2901, the bias signal 2806 is connected through a bias resistor   tinuous and periodic waveform, such as a rectangular wave,




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will have sinusoidal components (harmonics) at frequencies            The description of the switch module 3102 is substantially
that are integer multiples of the fundamental frequency of the     as follows: When the switch 3116 is "open," the amplitude of
underlying waveform (the Fourier component frequencies).           the harmonically rich signal 3114 is substantially equal to the
Thus, harmonically rich signal 3114 is composed ofsinusoi-         reference signal 3106. When the oscillating signal 3104
dal signals at frequencies that are integer multiples of the 5 causes the switch 3116 to become "closed," the output 3122
fundamental frequency of itself.                                   of the switch module 3102 becomes connected electrically to
   Those skilled in the relevant art(s) will recognize that alter- the second input 3110 of the switch module 3102 (e.g.,
native embodiments exist wherein combinations of modula-           ground 3112 in one embodiment), and the amplitude of the
tions (e.g., PM andASK, FM andAM, etc.) may be employed            harmonically rich signal 3114 becomes equal to the value of
simultaneously. In these alternate embodiments, the oscillat- 10 the second input 3110 (e.g., zero volts for the embodiment
ing signal 3104 may be modulated. These alternate embodi-          wherein the second input 3110 is connected to electrical
ments will be apparent to persons skilled in the relevant art(s),  ground 3112 ). When the oscillating signal 3104 causes the
and thus will not be described herein.                             switch 3116 to again become "open," the amplitude of the
   3.3.7.2 Structural Description.                                 harmonically rich signal 3114 again becomes substantially
   The switch module 3102 of the present invention is com- 15 equalto the reference signal 3106. Thus, the amplitude of the
prised of a first input 3108, a second input 3110, a control       harmonically rich signal 3114 is at either of two signal levels,
input 3120, an output 3122, and a switch 3116. A reference         i.e., reference signal 3106 or ground 3112, and has a fre-
signal 3106 is applied to the first input 3108 of the switch       quency that is substantially equal to the frequency of the
module 3102. Generally, the reference signal 3106 is a func-       oscillating signal 3104 that causes the switch 3116 to open
tion of the information signal 2702, and may either be the 20 and close. In an alternate embodiment wherein the second
summation of the information signal 2702 with a bias signal        input 3110 is connected to the second signal 3118, the har-
or it may be the information signal 2702 by itself. In one         monically rich signal 3114 varies between the reference sig-
embodiment of the invention, a resistor 3124 is located            nal 3106 and the second signal 3118. One skilled in the
between the reference signal 3106 and the switch 3116. The         relevant art(s) will recognize that any one of a number of
second input 3110 of the switch module 3102 is generally at 25 switch module designs will fulfill the scope and spirit of the
electrical ground 3112, however, one skilled in the relevant       present invention.
art(s) will recognize that alternative embodiments exist              In an embodiment of the invention, the switch 3116 is a
whereinthesecondinput3110maynotbeatelectricalground                semiconductor device, such as a diode ring. In another
3112, but rather connected to a second signal 3118. In an          embodiment,theswitchisatransistor,suchas,butnotlimited
alternate embodiment, the inverted value of the reference 30 to, a field effect transistor (PET). In an embodiment wherein
signal 3106 is connected to the second input 3110 of the           the PET is gallium arsenide (GaAs), the module can be
switch module 3102.                                                designed as seen in FIGS. 32A-32C, where the oscillating
   An oscillating signal 3104 is connected to the control input    signal 3104 is connected to the gate 3202 of the GaAsFET
3120 of the switch module 3102. Generally, in the AM mode,         3201, the reference signal 3106 is connected to the source
the oscillating signal 3104 is not modulated, but a person 35 3204, and electrical ground 3112 is connected to the drain
skilled in the relevant art(s) will recognize that there are       3206 (in the embodiment where ground 3112 is selected as
embodiments wherein the oscillating signal 3104 may be             the value of the second input 3110 of the switch module
frequency modulated or phase modulated, but these will not         3102). Since the drain and the source of GaAsFETs are inter-
be described herein. The oscillating signal 3104 can be a          changeable, the reference signal 3106 can be applied to either
sinusoidal wave, a rectangular wave, a triangular wave, a 40 the source 3204 or to the drain 3206. If there is concern that
pulse, or any other continuous and periodic waveform. In a         there might be some source-drain asymmetry in the GaAs-
preferred embodiment, it would be a rectangular wave. The          PET 3201, the switch 3116 can be designed as shown in
oscillating signal 3104 causes the switch 3116 to close and        FIGS. 33A-33C, wherein two GaAsFETs 3302 and 3304 are
open.                                                              connected together, with the source 3310 of the first 3302
   The harmonically rich signal 3114 described in section 45 connectedtothedrain3312ofthesecond3304,andthedrain
3 .3.7.1 above is found at the output 3122 of the switch module    3306 of the first 3302 being connected to the source 3308 of
3102. The harmonically rich signal 3114 is a continuous and        the second 3304. This design arrangement will substantially
periodic waveform whose amplitude is a function of the             balance all asymmetries. Other switch designs and imple-
amplitude of the reference signal. In one embodiment, the          mentations will be apparent to persons skilled in the relevant
harmonically rich signal 3114 has a substantially rectangular 50 art(s).
waveform. As stated before, a continuous and periodic wave-           The output 3122 of the switch module 3102, i.e., the har-
form, such as a rectangular wave, has sinusoidal components        monically rich signal 3114, can be routed to a filter 3504 in the
(harmonics) at frequencies that are integer multiples of the       AM mode.
fundamental frequency of the underlying waveform (the Pou-            3 .3 .8 The Summer ("1/Q" Mode).
rier component frequencies). Thus, harmonically rich signal 55        As discussed above, the in-phase/quadrature-phase modu-
3114 is composed of sinusoidal signals at frequencies that are     lation ("I/Q") mode embodiment of the invention uses a sum-
integer multiples of the fundamental frequency of itself. As       mer. See, as an example, summer 1832 in FIG. 18. The inven-
previously described, the relative amplitude of the harmonics      tion supports numerous embodiments of the summer.
of a continuous periodic waveform is generally a function of       Exemplary embodiments of the summer 3402 (FIG. 34) are
the ratio of the pulse width of the rectangular wave and the 60 described below. However, it should be understood that these
period of the fundamental frequency, and can be deternlined        examples are provided for illustrative purposes only. The
by doing a Fourier analysis of the periodic waveform. When         invention is not limited to these embodiments.
the amplitude of the periodic waveform varies, as in the AM           3.3.8.1 Operational Description.
mode ofthe invention, the change in amplitude ofthe periodic          An "I" modulated signal 3404 and a "Q" modulated signal
waveform has a proportional effect on the absolute amplitude 65 3406 are combined and an "I/Q" modulated signal 3408 is
of the harmonics. In other words, the AM is embedded on top        generated. Generally, both "I" and "Q" modulated signals
of each of the harmonics.                                          3404 and 3406 are harmonically rich waveforms, which are




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referred to as the harmonically rich "I" signal 3404 and the           3.3.9.1 Operational Description.
harmonically rich "Q" signal 3406. Similarly, "I/Q" modu-              A modulated signal with a harmonically rich waveform
lated signal 3408 is harmonically rich and is referred to as the    3502 is accepted. It is referred to as the harmonically rich
harmonically rich "I/Q" signal. Iu one embodiment, these            signal 3502. As stated above, a continuous and periodic wave-
harmonically rich signals have substantially rectangular 5 form, such as the harmonically rich signal 3502, is comprised
waveforms. As stated above, one skilled in the relevant art(s)      of sinusoidal components (harmonics) at frequencies that are
will recognize the physical limitations to and mathematical         integer multiples of the fundamental frequency of the under-
obstacles against achieving exact or perfect waveforms and it       lying waveform from which they are derived. These are called
is not the intent of the present invention that a perfect wave-     the Fourier component frequencies. In one embodiment ofthe
                                                                 10 invention, the undesired harmonic frequencies are removed,
form be generated or needed.
                                                                    and the desired frequency 3506 is output. In an alternate
   Iu a typical embodiment, the harmonically rich "I" signal
                                                                    embodiment, a plurality of harmonic frequencies are output.
3404 and the harmonically rich "Q" signal 3406 are phase
                                                                       The harmonic components of the harmonically rich signal
modulated, as is the harmonically rich "I/Q" signal 3408. A         3502 are modulated in the same manner as the harmonically
person skilled in the relevant art(s) will recognize that other 15 rich signal 3502 itself. That is, if the harmonically rich signal
modulation techniques, such as amplitude modulating the             3502 is frequency modulated, all ofthe harmonic components
"I/Q" signal, may also be used in the "I/Q" mode without            of that signal are also frequency modulated. The same is true
deviating from the scope and spirit of the invention.               for phase modulation, amplitude modulation, and "I/Q"
   As stated before, a continuous and periodic waveform,            modulation.
such as harmonically rich "I/Q" signal 3408, has sinusoidal 20         3.3.9.2 Structural Description.
components (harmonics) at frequencies that are integer mul-            The design and use of a filter 3504 is well known to those
tiples of the fundamental frequency of the underlying wave-         skilled in the relevant art(s). A filter 3504 may be designed
form (the Fourier component frequencies). Thus, harmoni-            and fabricated from discrete components or it may be pur-
cally rich "I/Q" signal 3408 is composed of sinusoidal signals      chased "off the shelf." The filter 3504 accepts the harmoni-
at frequencies that are integer multiples of the fundamental 25 cally rich signal 3502 from the switchmodule 2802 or3102 in
frequency of itself. These sinusoidal signals are also modu-        the FM, PM, and AM modes, and from the summer 3402 in
lated substantially the same as the continuous and periodic         the "I/Q" mode. The harmonically rich signal 3502 is a con-
waveform from which they are derived. That is, in this              tinuous and periodic waveform. As such, it is comprised of
embodiment, the sinusoidal signals are phase modulated, and         sinusoidal components (harmonics) that are at frequencies
include the information from both the "I" modulated signal 30 that are integer multiples of the fundamental frequency of the
and the "Q" modulated signal.                                       underlying harmonically rich signal 3502. The filter 3504
   3.3.8.2 Structural Description.                                  removes those sinusoidal signals having undesired frequen-
   The design and use of a summer 3402 is well known to             cies. The signal 3506 that remains is at the desired frequency,
those skilled in the relevant art(s). A summer 3402 may be          and is called the desired output signal 3506.
designed and fabricated from discrete components, or it may 35         To achieve this result, according to an embodiment of the
be purchased "off the shelf." A summer 3402 accepts a har           invention, a filter 3504 is required to filter out the unwanted
nonically rich "I" signal 3404 and a harmonically rich "Q"          harmonics of the harmonically rich signal 3502.
signal 3406, and combines them to create a harmonically rich           The term "Q" is used to represent the ratio of the center
"I/Q" signal 3408. In a preferred embodiment of the inven-          frequency of the desired output signal 3506 to the half power
tion, the harmonically rich "I" signal 3404 and the harmoni- 40 band width. Looking at FIG. 36 we see a desired frequency
cally rich "Q" signal 3406 are both phase modulated. When           3602 of900 MHz. The filter 3504 is used to ensure that only
the harmonically rich "I" signal 3404 and the harmonically          the energy at that frequency 3602 is transmitted. Thus, the
rich "Q" signal 3406 are both phase modulated, the harmoni-         bandwidth 3604 at half power (the so-called "3 dB down"
cally rich "I/Q" signal 3408 is also phase modulated.               point) should be as narrow as possible. The ratio of frequency
   As stated before, a continuous and periodic waveform, 45 3602 to bandwidth 3604 is defined as "Q." As shown on FIG.
such as the harmonically rich "I/Q" signal 3408, has sinusoi-       36, if the "3 dB down" point is at plus or minus 15 MHz, the
dal components (harmonics) at frequencies that are integer          value ofQwill be 900+(15+15) or 30. With the proper selec-
multiples of the fundamental frequency of the underlying            tion of elements for any particular frequency, Qs on the order
waveform (the Fourier component frequencies). Thus, the             of 20 or 30 are achievable.
harmonically rich "I/Q" signal 3408 is composed of "I/Q" 50            For crisp broadcast frequencies, it is desired that Q be as
sinusoidal signals at frequencies that are integer multiples of     high as possible and practical, based on the given application
the fundamental frequency of itself. These "I/Q" sinusoidal         and environment. The purpose of the filter 3504 is to filter out
signals are also phase modulated substantially the same as the      the unwanted harmonics of the harmonically rich signal. The
continuous and periodic waveform from which they are                circuits are tuned to eliminate all other harmonics except for
derived (i.e., the harmonically rich "I/Q" signal 3408).         55 the desired frequency 3506 (e.g., the 900 MHz harmonic
   The output of the summer 3402 is then routed to a filter         3602). Turning now to FIGS. 37A and 37B, we see examples
3504.                                                               of filter circuits. One skilled in the relevant art(s) will recog-
   3.3.9 The Filter (FM, PM, AM, and "I/Q" Modes).                  nize that a number of filter designs will accomplish the
   As discussed above, all modulation mode embodiments of           desired goal of passing the desired frequency while filtering
the invention use a filter. See, as an example, filter 1218 in 60 the undesired frequencies.
FIG.12, filter1414inFIG.14, filter1618 inFIG.16, and filter            FIG. 37A illustrates a circuit having a capacitor in parallel
1836 in FIG. 18. The invention supports numerous embodi-            with an inductor and shunted to ground. Iu FIG. 37B, a
ments of the filter. Exemplary embodiments of the filter 3504       capacitor is in series with an inductor, and a parallel circuit
(FIG. 35) are described below. However, it should be under-         similar to that in FIG. 37A is connected between the capacitor
stood that these examples are provided for illustrative pur- 65 and inductor and shunted to ground.
poses only. The invention is not limited to these embodi-              The modulated signal at the desired frequency 3506 may
ments.                                                              then be routed to the transmission module 3804.




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   3.3.10 The Transmission Module (FM, PM, AM, and "I/Q"             waveform (called the fundamental frequency). The amplitude
Modes).                                                              of each of these component waveforms depends on the shape
   As discussed above, the modulation mode embodiments of            ofthe original waveform. The derivations and proofs ofBaron
the invention preferably use a transmission module. See, as an       Fourier's analysis are well known to those skilled in the
example, transmission module 1222 in FIG. 12, transmission 5 relevant art(s).
module 1418 in FIG. 14, transmission module 1622 in FIG.                The most basic waveform which is continuous and periodic
16, and transmission module 1840 in FIG.18. The transmis-            is a sine wave. It has but one harmonic, which is at the
sion module is optional, and other embodiments may not               fundamental :frequency. This is also called the first harmonic.
include a transmission module. The invention supports                Since it only has one component, the amplitude of the har-
numerous embodiments of the transmission module. Exem- 10
                                                                     monic component is equal to the amplitude of the original
plary embodiments of the transmission module 3804 (FIG.
                                                                     waveform, i.e., the sine wave itself. The sine wave is not
38) are described below. However, it should be understood
                                                                     considered to be "harmonically rich."
that these examples are provided for illustrative purposes
only. The invention is not limited to these embodiments.                An impulse train is the other extreme case of a periodic
   3.3.10.1 Operational Description.                              15 waveform. Mathematically, it is considered to have zero
   A modulated signal at the desired frequency 3802 is               width. The mathematical analysis in this case shows that there
accepted and is transmitted over the desired medium, such as,        are harmonics at all multiples of the frequency ofthe impulse.
but not limited to, over-the-air broadcast or point-to-point         That is, if the impulse has a frequency ofF ,, then the harmon-
cable.                                                               ics are sinusoidal waves at 1·F 1 , 2·F,, 3·F,, 4·F,, etc. As the
   3.3.10.2 Structural Description.                               20 analysis also shows in this particular case, the amplitude of all
   The transmission module 3804 receives the signal at the           of the harmonics are equal. This is indeed, a "harmonically
desired EM frequency 3802. If it is intended to be broadcast         rich" waveform, but is realistically impractical with current
over the air, the signal may be routed through an optional           technology.
antenna interface and then to the antenna for broadcast. Ifit is        A more typical waveform is a rectangular wave, which is a
intended for the signal to be transmitted over a cable from one 25 series of pulses. Each pulse will have a width (called a pulse
point to another, the signal may be routed to an optional line       width, or ",:"), and the series of pulses in the waveform will
driver and out through the cable. One skilled in the relevant        have a period ("T" which is the inverse of the frequency, i.e.,
art(s) will recognize that other transmission media may be           Tl/F, where "F," is the fundamental frequency of the rectan-
used.                                                                gular wave). One form of rectangular wave is the square
   3.3.11 Other hnplementations.                                  30 wave, where the signal is at a first state (e.g., high) for the
   The implementations described above are provided for              same amount of time that it is at the second state (e.g., low).
purposes of illustration. These implementations are not              That is, the ratio ofthe pulse width to period (,:/T) is 0.5. Other
intended to limit the invention. Other implementation                forms of rectangular waves, other than square waves, are
embodiments are possible and covered by the invention, such          typically referred to simply as "pulses," and have ,:/T<0.5
as but not limited to software, software/hardware, and firm- 35 (i.e., the signal will be "high" for a shorter time than it is
ware implementations of the systems and components of the            "low"). The mathematical analysis shows that there are har-
invention. Alternate implementations and embodiments, dif-           monics at all of the multiples of the fundamental frequency of
fering slightly or substantially from those described herein,        the signal. Thus, if the frequency ofthe rectangular waveform
will be apparent to persons skilled in the relevant art( s) based    is Fr' then the frequency of the first harmonic is 1·F,., the
on the teachings contained herein. Such alternate implemen- 40 frequency ofthe second harmonic is 2· F,, the frequency ofthe
tations fall within the scope and spirit ofthe present invention.    third harmonic is 3-F,., and so on. There are some harmonics
4. Harmonic Enhancement.                                             for which the amplitude is zero. In the case of a square wave,
4.1 High Level Description.                                          for example, the "null points" are the even harmonics. For
   This section (including its subsections) provides a high-         other values of ,:ff, the "null points" can be determined from
level description of harmonic enhancement according to the 45 the mathematical equations. The general equation for the
present invention. In particular, pulse shaping is described at      amplitude of the harmonics in a rectangular wave having an
a high-level. Also, a structural implementation for achieving        amplitude of Apuise is as follows:
this process is described at a high-level. This structural imple-
mentation is described herein for illustrative purposes, and is             Amplitude(n"' harrnonic)~An ~{[Apuu,][(2ht)ln] sin
                                                                                 [n•,t•('t/1)]}                                       Eq. 1
not limiting. In particular, the process described in this sec- 50
tion can be achieved using any number of structural imple-              Table 6000 ofFIG. 60 shows the amplitudes ofthe first fifty
mentations, one of which is described in this section. The           harmonics for rectangular waves having six different ,:JT
details of such structural implementations will be apparent to       ratios. The,:ffratios are0.5 (a square wave), 0.25, 0.10, 0.05,
persons skilled in the relevant art(s) based on the teachings        0.01, and 0.005. (One skilled in the relevant art(s) will rec-
contained herein.                                                 55 ognize that Apulse is set to unity for mathematical compari-
   It is noted that some embodiments of the invention include        son.) From this limited example, it can be seen that the ratio
harmonic enhancement, whereas other embodiments do not.              of pulse width to period is a significant factor in determining
   4.1.1 Operational Description.                                    the relative amplitudes of the harmonics. Notice too, that for
   To better understand the generation and extraction of har-        the case where ,:/T=0.5 (i.e., a square wave), the relationship
monics, and the purpose behind shaping the waveforms to 60 stated above (i.e., only odd harmonics are present) holds.
enhance the harmonics, the following discussion of Fourier           Note that as ,:ff becomes small (i.e., the pulse approaches an
analysis as it applies to the present invention is offered.          impulse), the amplitudes of the harmonics becomes substan-
   A discovery made byBaronJeanB. J. Fourier(1768-1830)              tially "flat." That is, there is very little decrease in the relative
showed that continuous and periodic waveforms are com-               amplitudes ofthe harmonics. One skilled in the relevant art(s)
prised of a plurality of sinusoidal components, called har- 65 will understand how to select the desired pulse width for any
monics. More importantly, the frequency of these compo-              given application based on the teachings contained herein. It
nents are integer multiples of the frequency of the original         can also be shown mathematically and experimentally that if




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a signal with a continuous and periodic waveform is modu-             a GaAsFET's capability to close and open at high frequen-
lated, that modulation is also present on every harmonic of the       cies, the oscillating signal 2804 connected to the gate 2902
original waveform.                                                    preferably has a rapid rise and fall time. That is, it is prefer-
   From the foregoing, it can be seen how pulse width is an           ably a rectangular waveform, and preferably has a pulse width
important tactor in assuring that the harmonic waveform at 5 to period ratio the same as the pulse width to period ratio of
the desired output frequency has sufficient amplitude to be           the harmonically rich signal 2814.
useful without requiring elaborate filtering or unnecessary              As stated above, if a signal with a continuous and periodic
amplification.                                                        waveform is modulated, that modulation occurs on every
   Another factor in assuring that the desired harmonic has           harmonic of the original waveform. Thus, in the FM and PM
sufficient amplitude is how the switch 2816 and 3116 (FIGS. 10 modes, when the information is modulated onto the oscillat-
28A and 31A) in the switch module 2802 and 3102 responds              ing signal 2804 and the oscillating signal 2804 is used to
to the control signal that causes the switch to close and to open     cause the switch 2816 to close and open, the resulting har-
(i.e., the modulated oscillating signal 2804 ofFIG. 28 and the        monically rich signal 2814 that is output from the switch
oscillating signal 3104 of FIG. 31). In general, switches have        module 2802 will also be modulated. If the oscillating signal
two thresholds. In the case of a switch that is normally open, 15 2804 is crisp, the switch 2816 will close and open crisply, the
the first threshold is the voltage required to cause the switch to    harmonically rich signal 2814 will be harmonically rich, and
close. The second threshold is the voltage level at which the         each of the harmonics of the harmonically rich signal 2814
switch will again open. The convention used herein for ease of        will have the information modulated on it.
illustration and discussion (and not meant to be limiting) is for        Because it is desired that the oscillating signal 2804 be
the case where the switch is closed when the control signal is 20 crisp, harmonic enhancement may be needed in some
high, and open when the control signal is low. It would be            embodiments. Harmonic enhancement may also be called
apparent to one skilled in the relevant art( s) that the inverse      "pulse shaping" since the purpose is to shape the oscillating
could also be used. Typically, these voltages are not identical,      signal 2804 into a string of pulses of a desired pulse width. If
but they may be. Another factor is how rapidly the switch             the oscillating signal is sinusoidal, harmonic enhancement
responds to the control input once the threshold voltage has 25 will shape the sinusoidal signal into a rectangular (or substan-
been applied. The objective is for the switch to close and open       tially rectangular) waveform with the desired pulse width to
such that the bias/reference signal is "crisply" gated. That is,      period ratio. If the oscillating signal 2804 is already a square
preferably, the impedance through the switch must change              wave or a pulse, harmonic enhancement will shape it to
from a high impedance (an open switch) to a low impedance             achieve the desired ratio of pulse width to period. This will
(a closed switch) and back again in a very short time so that 30 ensure an efficient transfer of the modulated information
the output signal is substantially rectangular.                       through the switch.
   It is an objective of this invention in the transmitter               Three exemplary embodiments of harmonic enhancement
embodiment that the intelligence in the information signal is         are described below for illustrative purposes. However, the
to be transmitted. That is, the information is modulated onto         invention is not limited to these embodiments. Other embodi-
the transmitted signal. In the FM and PM modes, to achieve 35 ments will be apparent to persons skilled in the relevant art(s)
this objective, the information signal is used to modulate the        based on the teachings contained herein.
oscillating signal 2804. The oscillating signal 2804 then                4.1.2 Structural Description.
causes the switch 2816 to close and open. The information                The shape of the oscillating signal 2804 causes the switch
that is modulated onto the oscillating signal 2804 must be            2816 to close and open. The shape of the oscillating signal
faithfully reproduced onto the signal that is output from the 40 2804 and the selection of the switch 2816 will determine how
switch circuit (i.e., the harmonically rich signal 2814). For         quickly the switch 2816 closes and opens, and how long it
this to occur efficiently, in embodiments of the invention, the       stays closed compared to how long it stays open. This then
switch 2816 preferably closes and opens crisply so that the           will determine the "crispness" of the harmonically rich signal
harmonically rich signal 2814 changes rapidly from the bias/          2814. (That is, whether the harmonically rich signal 2814 is
reference signal 2806 (or 3106) to ground 2812 (or the second 45 substantially rectangular, trapezoidal, triangular, etc.) As
signal level 2818 in the alternate embodiment). This rapid rise       shown above, in order to ensure that the desired harmonic has
and fall time is desired so that the harmonically rich signal         the desired amplitude, the shape of the oscillating signal 2804
2814 will be "harmonically rich." (In the case of AM, the             should be substantially optimized.
oscillating signal 3104 is not modulated, but the requirement            The harmonic enhancement module (HEM) 4602 (FIG.
for "crispness" still applies.)                                    so 46) is also referred to as a "pulse shaper." It "shapes" the
   For the switch 2816 to close and open crisply, the oscillat-       oscillating signals 2804 and 3104 that drive the switch mod-
ing signal 2804 must also be crisp. If the oscillating signal         ules 2802 and 3102 described in sections 3.3.6-3.3.6.2 and
2804 is sinusoidal, the switch 2816 will open and close when          3.3.7-3.3.7.2. Harmonic enhancement module 4602 prefer-
the threshold voltages are reached, but the pulse width of the        ably transforms a continuous and periodic waveform 4604
harmonically rich signal 2814 may not be as small as is 55 into a string of pulses 4606. The string of pulses 4606 will
needed to ensure the amplitude of the desired harmonic of the         have a period, "T;' determined by both the frequency of the
harmonically rich signal 2814 is sufficiently high to allow           continuous and periodic waveform 4604 and the design of the
transmission without elaborate filtering or unnecessary               pulse shaping circuit within the harmonic enhancement mod-
amplification. Also, in the embodiment wherein the switch             ule 4602. Also, each pulse will have a pulse width, ''t," deter-
2816 is a GaAsFET 2901, if the oscillating signal 2804 that is 60 mined by the design of the pulse shaping circuit. The period
connected to the gate 2902 of the GaAsFET 2901 (i.e., the             of the pulse stream, "T," determines the frequency of the
signal that causes the switch 2816 to close and open) is a            switch closing (the frequency being the inverse of the period),
sinusoidal wave, the GaAsFET 2901 will not crisply close              and the pulse width of the pulses, ''t," determines how long
and open, but will act more like an amplifier than a switch.          the switch stays closed.
(That is, it will conduct during the time that the oscillating 65        In the embodiment described above in sections 3.3.6-
signal is rising and falling below the threshold voltages, but        3.3.6.2 (and3.3.7-3.3.7.2), when theswitch2816 (or3116)is
will not be a "short.") In order to make use of the benefits of       open, the harmonically rich signal 2814 (or 3114)will have an




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amplitude substantially equal to the bias signal 2806 (or ref-      embodiment, there are two pulses output for every period of
erence signal 3106). When the switch 2816 (or 3116) is              the continuous periodic waveform 4604. The continuous
closed, the harmonically rich signal 2814 (or 3114) will have       periodic waveform 4604 may be a square wave or any other
an amplitude substantially equal to the potential of signal         continuous periodic waveform that varies from a value rec-
2812 or 2818 (or 3112 or 3118) of the second input 2810 (or 5 ognized as a "digital low" to a value recognized as a "digital
3110) of the switch module 2802 (or 3102). Thus, for the case       high." The description given herein will be for a continuous
where the oscillating signal 2804 (or 3104) driving the switch      periodic waveform 4604 that is a square wave, but one skilled
module 2802 (or 3102) is substantially rectangular, the har-        in the relevant art(s) will appreciate that other waveforms may
monically rich signal 2814 (or 3114) will have substantially        also be "shaped" into waveform 4606 by this embodiment.
the same frequency and pulse width as the shaped oscillating 10        4.2.2.2 Structural Description.
signal 2804 (or 3104) that drives the switch module 2802 (or           In this second embodiment of a pulse shaping circuit 4602,
3102). This is true for those cases wherein the oscillating         a continuous periodic waveform 4604 that is a square wave is
signal 2804 (or 3104) is a rectangular wave. One skilled in the     received by the pulse shaping circuit 4602. The pulse shaping
relevant art(s) will understand that the term "rectangular          circuit 4602 is preferably comprised of digital logic devices
wave" can refer to all waveforms that are substantially rect- 15 that result in a string of pulses 4606 being output that has two
angular, including square waves and pulses.                         pulses for every pulse in the continuous periodic waveform
   The purpose of shaping the signal is to control the amount       4604, and preferably has a ,:/I ratio less than 0.5.
of time that the switch 2816 (or 3116) is closed. As stated            4.2.3 Third Embodiment: When Any Waveform Feeds the
above, the harmonically rich signal 2814 (or 3114) has a            Module.
substantially rectangular waveform. Controlling the ratio of 20        4.2.3.1 Operational Description.
the pulse width ofthe harmonically rich signal 2814 (or 3114)          In this embodiment, a continuous periodic waveform 4604
to its period will result in the shape of the harmonically rich     of any shape is received and a string of pulses 4606 is output.
signal 2814 (or 3114) being substantially optimized so that            4.2.3.2 Structural Description.
the relative amplitudes of the harmonics are such that the             In this third embodiment of a pulse shaping circuit 4602, a
desired harmonic can be extracted without unnecessary and 25 continuous periodic waveform 4604 of any shape is received
elaborate amplification and filtering.                              by the pulse shaping circuit 4602. The pulse shaping circuit
4.2 Exemplary Embodiments.                                          4602 is preferably comprised of a series of stages, each stage
   Various embodiments related to the method(s) and struc-          shaping the waveform until it is substantially a string of
ture(s) described above are presented in this section (and its      pulses 4606 with preferably a ,:/T ratio less than 0.5.
subsections). These embodiments are described herein for 30            4.2.4 Other Embodiments.
purposes of illustration, and not limitation. The invention is         The embodiments described above are provided for pur-
not limited to these embodiments. Alternate embodiments             poses of illustration. These embodiments are not intended to
(including equivalents, extensions, variations, deviations,         limit the invention. Alternate embodiments, differing slightly
etc., of the embodiments described herein) will be apparentto       or substantially from those described herein, will be apparent
persons skilled in the relevant art(s) based on the teachings 35 to persons skilled in the relevant art(s) based on the teachings
contained herein. The invention is intended and adapted to          contained herein. Such alternate embodiments fall within the
include such alternate embodiments.                                 scope and spirit of the present invention.
   4.2.1 First Embodiment: When a Square Wave Feeds the             4.3 Implementation Examples.
Harmonic Enhancement Module to Create One Pulse per                    Exemplary operational and/or structural implementations
Cycle.                                                           40 related to the method(s), structure(s), and/or embodiments
   4.2.1.1 Operational Description.                                 described above are presented in this section (and its subsec-
   According to this embodiment, a continuous periodic              tions). These components and methods are presented herein
waveform 4604 is received and a string of pulses 4606 is            for purposes of illustration, and not limitation. The invention
output. The continuous periodic waveform 4604 may be a              is not limited to the particular examples of components and
square wave or any other continuous periodic waveform that 45 methods described herein. Alternatives (including equiva-
varies from a value recognized as a "digital low" to a value        lents, extensions, variations, deviations, etc., of those
recognized as a "digital high." One pulse is generated per          described herein) will be apparent to persons skilled in the
cycle of the continuous and periodic waveform 4604. The             relevant art(s) based on the teachings contained herein. Such
description given herein will be for the continuous periodic        alternatives fall within the scope and spirit of the present
waveform 4604 that is a square wave, but one skilled in the 50 invention.
relevant art(s) will appreciate that other waveforms may also          4.3.1 First Digital Logic Circuit.
be "shaped" into waveform 4606 by this embodiment.                     An exemplary implementation of the first embodiment
   4.2.1.2 Structural Description.                                  described in sections 4.2.1-4.2.1.2 is illustrated in FIG. 39. In
   In this first embodiment of a harmonic enhancement mod-          particular, the circuit shown in FIG. 39A is a typical circuit
ule 4602, herein after referred to as a pulse shaping circuit 55 design for a pulse shaping circuit 4602 using digital logic
4602, a continuous periodic waveform 4604 that is a square          devices. Also shown in FIGS. 39B-39D are representative
wave is received by the pulse shaping circuit 4602. The pulse       waveforms at three nodes within the circuit. In this embodi-
shaping circuit 4602 is preferably comprised of digital logic       ment, pulse shaper 3900 uses an inverter 3910 and an AND
devices that result in a string of pulses 4606 being output that    gate 3912 to produce a string of pulses. An inverter, such as
has one pulse for every pulse in the continuous periodic 60 inverter 3910, changes the sign ofthe input, and an AND gate,
waveform 4604, and preferably has a ,:/T ratio less than 0.5.       such as AND gate 3912, outputs a digital "high' when all of
   4.2.2 Second Embodiment: When a Square Wave Feeds the            the input signals are digital "highs." The input to pulse shaper
Harmonic Enhancement Module to Create Two Pulses per                3900 is waveform 3902, and, for illustrative purposes, is
Cycle.                                                              shown here as a square wave. The output of inverter 3910 is
   4.2.2.1 Operational Description.                              65 waveform 3904, which is also a square wave. However,
   In this embodiment, a continuous periodic waveform 4604          because of the circuitry of the inverter 3910, there is a delay
is received and a string of pulses 4606 is output. In this          between the application of the input and the corresponding




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sign change of the output. If waveform 3902 starts "low,"               4.3.4 Other Implementations.
waveform 3904 will be "high"because it has been iuverted by             The implementations described above are provided for
iuverter 3910. When waveform 3902 switches to ''high,"               purposes of illustration. These implementations are not
AND gate 3912 will momentarily see two "high" signals, thus          iutended to limit the invention. Alternate implementations,
causiug its output waveform 3906 to be "high." When iuverter 5 differing slightly or substantially from those described
3910 has inverted its input (waveform 3902) and caused               herein, will be apparent to persons skilled iu the relevant art(s)
waveform 3904 to become "low," AND gate 3912 will then               based on the teachings contaiued herein. Such alternate
see only one "high" signal, and the output waveform 3906             implementations fall within the scope and spirit of the present
will become "low;' Thus, the output waveform 3906 will be            iuvention.
                                                                     5. Amplifier Module
"high" for only the period of time that both waveforms 3902 10
                                                                     5.1 High Level Description
and 3904 are high, which is the time delay of the iuverter
                                                                        This section (including its subsections) provides a high-
3910.Accordingly, as is apparent from FIGS. 398-39D, pulse
                                                                     level description of the amplifier module accordiug to the
shaper 3900 receives a square wave and generates a string of         present invention. In particular, amplification is described at a
pulses, with one pulse generated per cycle of the square wave. 15 high-level. Also, a structural implementation for achieving
   4.3.2 Second Digital Logic Circuit.                               signal amplification is described at a high-level. This struc-
   An exemplary implementation of the second embodiment              tural implementation is described hereiu for illustrative pur-
described in sections 4.2.2-4.2.2.2 is illustrated in FIG. 40. In    poses, and is not limitiug. In particular, the process described
particular, the circuit of FIG. 40A is a typical circuit design      iu this section can be achieved using any number of structural
for a pulse shaping circuit 4602 usiug digital logic devices. 20 implementations, one of which is described iu this section.
Also shown iu FIGS. 40B-40D are representative waveforms             The details of such structural implementations will be appar-
at three nodes withiu the circuit. In this embodiment, pulse         ent to persons skilled iu the relevant art(s) based on the teach-
shapiug circuit 4000 uses an iuverter 4010 and an exclusive          iugs contaiued herein.
NOR (XNOR) gate 4012. An XNOR, such as XNOR 4012,                       5 .1.1 Operational Description.
outputs a digital ''high" when both iuputs are digital "highs" 25       Even though the present invention is iutended to be used
and when both signals are digital "lows." Waveform 4002,             without requiring amplification, there may be circumstance
which is shown here as a square wave identical to that shown         when, in the embodiment of the present iuvention wherein it
above as waveform 3902, begins in the "low" state. There-            is being used as a transmitter, it may prove desirable to
fore, the output of iuverter 4010 will begin at the ''high" state.   amplify the modulated signal before it is transmitted. In
Thus, XNOR gate 4012 will see one ''high" iuput and one 30 another embodiment of the iuvention whereiu it is beiug used
"low" input, and its output waveform 4006 will be "low."             as a stable signal source for a frequency or phase comparator,
When waveform 4002 changes to "high," XNOR gate 4012                 it may also be desirable to amplify the resultant signal at the
will have two "high" iuputs until the waveform 4004 switches         desired frequency.
to "low." Because it sees two "high" inputs, its output wave-           The requirement may come about for a number of reasons.
form 4006 will be "high;' When waveform 4004 becomes 35 A first may be that the bias/reference signal is too low to
"low," XNOR gate 4012 will again see one "high" input                support the desired use. A second may be because the desired
(waveform 4002) and one "low" iuput (waveform 4004).                 output frequency is very high relative to the frequency of the
When waveform 4002 switches back to "low," XNOR gate                 oscillating signal that controls the switch. A third reason may
4012 will see two "low" inputs, and its output will become           be that the shape of the harmonically rich signal is such that
"high." Following the time delay of inverter 4010, waveform 40 the amplitude of the desired harmonic is low.
4004 will change to "high," and XNOR gate 4012 will again               In the first case, recall that the amplitude of the bias/refer-
see one "high" iuput (waveform 4004) and one "low" input             ence signal determines the amplitude of the harmonically rich
(waveform 4002). Thus, waveform 4006 will again switch to            signal which is present at the output of the switch circuit. (See
"low." Accordingly, as is apparent from FIGs. 40B-40D,               sections 3.3.6-3.3.6.2 and 3.3.7-3.3.7.2.) Further recall that
pulse shaper 4000 receives a square wave and generates a 45 the amplitude ofthe harmonically rich signal directly impacts
string of pulses, with two pulses generated per cycle of the         the amplitude of each of the harmonics. (See the equation iu
square wave.                                                         section 4.1, above.)
   4.3.3 Analog Circuit.                                                In the second iustance, if the frequency of the oscillating
   An exemplary implementation of the third embodiment               signal is relatively low compared to the desired output fre-
described in sections 4.2.3-4.2.3.2 is illustrated in FIG. 41. In 50 quency of the up-converter, a high harmonic will be needed.
particular, the circuit shown iu FIG. 41 is a typical pulse          As an example, if the oscillating signal is 60 MHz, and the
shapiug circuit 4602 where an iuput signal 4102 is shown as          desired output frequency is at 900 MHz, the 15 th harmonic
a siue wave. Input signal 4102 feeds the first circuit element       will be needed. Inthecasewhere,:/Tis 0.1, itcanbeseenfrom
4104, which iu turn feeds the second, and so on. Typically,          Table 6000 ofFIG. 60 that the amplitude of the 15 th harmonic
three circuit elements 4104 produce iucrementally shaped 55 (A 15 ) is 0.0424, which is 21.5% of the amplitude of the first
waveforms 4120, 4122, and 4124 before feediug a capacitor            harmonic (A 1 >0.197). There may be iustances whereiu this is
4106. The output ofcapacitor 4106 is shunted to ground 4110          iusufficient for the desired use, and consequently it must be
through a resistor 4108 and also feeds a fourth circuit element      amplified.
4104. An output signal 4126 is a pulsed output, with a fre-             The third circumstance wherein the amplitude ofthe output
quency that is a function of the frequency of input signal 60 may need to be amplified is when the shape of the harmoni-
4102.                                                                cally rich signal iu not "crisp" enough to provide harmonics
   An exemplary circuit for circuit elements 4104 is shown in        with enough amplitude for the desired purpose. If, for
FIG. 43. Circuit 4104 is comprised of an iuput 4310, an output       example, the harmonically rich signal is substantially trian-
4312, four FETs 4302, two diodes 4304, and a resistor 4306.          gular, and given the example above where the oscillating
One skilled iu the relevant art( s) would recognize that other 65 signal is 60 MHz and the desired output signal is 900 MHz,
pulse shaping circuit designs could also be used without             the 15 th harmonic of the triangular wave is 0.00180. This is
deviatiug from the scope and spirit of the iuvention.                significantly lower than the amplitude of the 15 th harmonic of




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the "0.1" rectangular wave (shown above to be 0.0424) and            monies. Some potential limitation ofthis embodiment are: the
can be mathematically shown to be 0.4% of the amplitude of           amplified bias/reference signal may exceed the voltage
the l st harmonicofthetriangularwave(whichis0.405). Thus,            design limit for the switch in the switch circuit; the harmoni-
in this example, the l stharmonic ofthe triangular wave has an       cally rich signal coming out of the switch circuit may have an
amplitude that is larger than the amplitude of the I s t harmonic 5 amplitude that exceeds the voltage design limits of the filter;
of the "0.1" rectangular wave, but at the 15 th harmonic, the        and/orunwanted distortion may occur from having to amplify
triangular wave is significantly lower than the "0.1" rectan-        a wide bandwidth signal.
gular wave.                                                             A second embodiment employs a linear amplifier between
   Another reason that the desired harmonic may need to be           the switch module and the filter. This will raise the amplitude
amplified is that circuit elements such as the filter may cause 10
                                                                     ofthe harmonically rich signal. It will also raise the amplitude
attenuation in the output signal for which a designer may wish
                                                                     of all of the harmonics of that signal. In an alternate imple-
to compensate.
                                                                     mentation of this embodiment, the amplifier is tuned so that it
   The desired output signal can be amplified in a number of
ways. One is to amplify the bias/reference signal to ensure          only amplifies the desired frequencies. Thus, it acts both as an
that the amplitude of the harmonically rich wave form is high. 15 amplifier and as a filter. A potential limitation of this embodi-
A second is to amplify the harmonically rich waveform itself.        ment is that when the harmonically rich signal is amplified to
A third is to amplify the desired harmonic only. The examples        raise a particular harmonic to the desired level the amplitude
given herein are for illustrative purposes only and are not          of the whole waveform is amplified as well. For example, in
meant to be limiting on the present invention. Other tech-           the case where the amplitude of the pulse, Apulse> is equal to
niques to achieve amplification of the desired output signal 20 1.0, to raise the 15 th harmonic from 0.0424 volts to 0.5 volts,
would be apparent to those skilled in the relevant art(s).           the amplitude of each pulse in the harmonically rich signal,
   5.1.2 Structural Description.                                     Apulse> will increase from 1.0 to 11.8 volts. This may well
   In one embodiment, a linear amplifier is used to amplify the      exceed the voltage design limit of the filter.
bias/reference                                                          A third embodiment of an amplifier module will place a
   In another embodiment, a linear amplifier is used to 25 linear amplifier between the filter and the transmission mod-
amplify the harmonically rich signal. And in yet another             ule. This will only raise the amplitude of the desired har-
embodiment, a linear amplifier is used to amplify the desired        monic, rather than the entire harmonically rich signal.
output signal. Other embodiments, including the use of non-             Other embodiments, such as the use of non-linear amplifi-
linear amplifiers, will be apparent to persons skilled in the        ers, will be apparent to one skilled in the relevant art(s), and
relevant art(s ).                                                 30 will not be described herein.
5.2 Exemplary Embodiment
                                                                        5.2.2 Other Embodiments
   An embodiment related to the method(s) and structure(s)
                                                                        The embodiments described above are provided for pur-
described above is presented in this section (and its subsec-
                                                                     poses of illustration. These embodiments are not intended to
tions). This embodiment is described herein for purposes of
illustration, and not limitation. The invention is not limited to 35 limit the invention. Alternate embodiments, differing slightly
this embodiment. Alternate embodiments (including equiva-            or substantially from those described herein, will be apparent
lents, extensions, variations, deviations, etc., of the embodi-      to persons skilled in the relevant art(s) based on the teachings
ment described herein) will be apparent to persons skilled in        contained herein. Such alternate embodiments fall within the
the relevant art( s) based on the teachings contained herein.        scope and spirit of the present invention.
The invention is intended and adapted to include such alter- 40 5.3 Implementation Examples
nate embodiments.                                                       Exemplary operational and/or structural implementations
   5.2.1 Linear Amplifier                                            related to the method(s), structure(s), and/or embodiments
   The exemplary linear amplifier described herein will be           described above are presented in this section (and its subsec-
directed towards an amplifier composed of solid state elec-          tions). These components and methods are presented herein
tronic devices to be inserted in the circuit at one or more 45 for purposes of illustration, and not limitation. The invention
points. Other amplifiers suitable for use with the invention         is not limited to the particular examples of components and
will be apparent to persons skilled in the relevant art(s). As       methods described herein. Alternatives (including equiva-
shown in FIG. 47, an amplifier module 4702 receives a signal         lents, extensions, variations, deviations, etc., of those
requiring amplification 4704 and outputs an amplified signal         described herein) will be apparent to persons skilled in the
4706. It would be apparent to one skilled in the relevant art(s) 50 relevant art(s) based on the teachings contained herein. Such
that a plurality of embodiments may be employed without              alternatives fall within the scope and spirit of the present
deviating from the scope and intent of the invention described       invention.
herein.                                                                 5.3.1 Linear Amplifier.
   5.2.1.l Operational Description.                                     Although described below as if it were placed after the
   The desired output signal can be amplified in a number of 55 filter, the amplifier may also be placed before the filter with-
ways. Such amplification as described in the section may be          out deviating from the intent of the invention
in addition to the techniques described above to enhance the            5.3.1.1 Operational Description.
shape of the harmonically rich signal by pulse shaping of the           According to embodiments of the invention, a linear ampli-
oscillating signal that causes the switch to close and open.         fier receives a first signal at a first amplitude, and outputs a
   5.2.1.2 Structural Description.                                60 second signal at a second amplitude, wherein the second
   In one embodiment, a linear amplifier is placed between           signal is proportional to the first signal. It is a objective of an
the bias/reference signal and the switch module. This will           amplifier that the information embedded onto the first signal
increase the amplitude of the bias/reference signal, and as a        waveform will also be embedded onto the second signal.
result, will raise the amplitude of the harmonically rich signal     Typically, it is desired that there be as little distortion in the
that is the output of the switch module. This will have the 65 information as possible.
effect of not only raising the amplitude of the harmonically            In a preferred embodiment, the second signal is higher in
rich signal, it will also raise the amplitude of all of the har-     amplitude than the first signal, however, there may be imple-




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mentations wherein it is desired that the second signal be             frequency down conversion circuit being used as a receiver. In
lower than the first signal (i.e., the first signal will be attenu-    this embodiment the transceiver is used in a half-duplex
ated).                                                                 mode.
   5.3.1.2 Structural Description.                                        A third embodiment of the transceiver is for the transmitter
   The design and use of a linear amplifier is well known to 5 of the present invention to be used with a universal frequency
those skilled in the relevant art(s). A linear amplifier may be        down conversion circuit, where the transceiver is used in a
designed and fabricated from discrete components, or it may            full-duplex mode.
be purchased "off the shelf."                                             These embodiments ofthe transceiver are described below.
   Exemplary amplifiers are seen in FIG. 48. In the exemplary          Exemplary Embodiments and Implementation Examples
circuit diagram of FIG. 48A, six transistors are used in a 10
                                                                          Various embodiments related to the method(s) and struc-
wideband amplifier. In the more basic exemplary circuit of
                                                                       ture(s) described above and exemplary operational and/or
FIG. 488, the amplifier is composed of one transistor, four
                                                                       structural implementations related to those embodiments are
resistors, and a capacitor. Those skilled in the relevant art(s)
will recognize that numerous alternative designs may be                presented   in this section (and its subsections). These embodi-
                                                                    15 ments, components, and methods are described herein for
used.
   5.3.2 Other Implementations.                                        purposes of illustration, and not limitation. The invention is
   The implementations described above are provided for                not limited to these embodiments or to the particular
purposes of illustration. These implementations are not                examples of components and methods described herein.
intended to limit the invention. Alternate implementations,            Alternatives (including equivalents, extensions, variations,
differing slightly or substantially from those described 20 deviations, etc., of those described herein) will be apparent to
herein, will be apparentto persons skilled in the relevant art(s)      persons skilled in the relevant art(s) based on the teachings
based on the teachings contained herein. Such alternate                contained herein. Such alternatives fall within the scope and
implementations fall within the scope and spirit of the present        spirit of the present invention, and the invention is intended
invention.                                                             and adapted to include such alternatives.
Receiver/Transmitter System.                                        25    First Embodiment: The Transmitter of the Present Inven-
   The present invention is for a method and system for up-            tion Being Used in a Circuit with a Superheterodyne
conversion of electromagnetic signals. In one embodiment,              Receiver.
the invention is a source of a stable high frequency reference            A typical superheterodyne receiver is shown in FIG. 49. An
signal. In a second embodiment, the invention is a transmitter.        antenna 4904 receives a signal 4902. Typically, signal 4902 is
   This section describes a third embodiment. In the third 30 a radio frequency (RF) signal which is routed to a filter 4910
embodiment, the transmitter of the present invention to be             and an amplifier 4908. The filter 4910 removes all but a
used in a receiver/transmitter communications system. This             frequency range that includes the desired frequency, and the
third embodiment may also be referred to as the communica-             amplifier 4908 ensures that the signal strength will be suffi-
tions system embodiment, and the combined receiver/trans-              cient for further processing. The output of amplifier 4908 is a
mitter circuit is referred to as a "transceiver:' There are sev- 35 signal 4911.
eral alternative enhancements to the communications                       A local oscillator4914 generates an oscillating signal 4916
systems embodiment.                                                    which is combined with signal 4911 by mixer 4912. The
   The following sections describe systems and methods                 output of mixer 4912 is a signal 4934 which is amplified by an
related to exemplary embodiments for a receiver/transmitter            amplifier 4918 and filtered by a filter 4920. The purpose of
system. It should be understood that the invention is not 40 amplifier 4918 is to ensure that the strength of signal 4934 is
limited to the particular embodiments described below.                 sufficient for further processing, and the purpose of filter
Equivalents, extensions, variations, deviations, etc., of the          4920 is to remove the undesired frequencies.
following will be apparent to persons skilled in the relevant             A second local oscillator 4924 generates a second oscillat-
art(s) based on the teachings contained herein. Such equiva-           ing signal 4926 which is combined with the amplified/filtered
lents, extensions, variations, deviations, etc., are within the 45 signal 4934 by a mixer 4922. The output of mixer 4922 is
scope and spirit of the present invention.                             signal 4936. Again, an amplifier 4928 and a filter 4930 ensure
High Level Description.                                                that the signal 4936 is at the desired amplitude and frequency.
   This section provides a high-level description of a receiver/       The resulting signal is then routed to decoder 4932 where the
transmitter system according to the present invention. The             intelligence is extracted to obtain baseband signal 4938.
implementations are described herein for illustrative pur- 50             Signal 4934 is referred to as the first intermediate fre-
poses, and are not limiting. In particular, any number of              quency (IF) signal, and signal 4936 is referred to as the second
functional and structural implementations may be used, sev-            IF signal. Thus, the combination oflocal oscillator 4914 and
eral of which are described in this section. The details of such       mixer 4912 can be referred to as the first IF stage, and the
functional and structural implementations will be apparent to          combination of local oscillator 4924 and mixer 4922 can be
persons skilled in the relevant art(s) based on the teachings 55 referred to as the second IF stage.
contained herein.                                                         Exemplary frequencies for the circuit of FIG. 49 are as
   According to a first embodiment of the transmitter of the           follows. Signal 4902 may be 900 MHz. The oscillator signal
present invention is used with a traditional superheterodyne           4916 may be at 830 MHz, which will result in the frequency
receiver. In this embodiment, the transmitter and the receiver         of the first IF signal, signal 4934, being at 70 MHz. If the
can operate either in a full-duplex mode or in a half-duplex 60 second oscillating signal 4926 is at 59 MHz, the second IF
mode. In a full duplex mode, the transceiver can transmit and          signal, signal 4936, would be at 11 MHz. This frequency is
receive simultaneously. In the half-duplex mode, the trans-            typical of second IF frequencies.
ceiver can either transmit or receive, but cannot do both                 Other superheterodyne receiver configurations are well
simultaneously. The full-duplex and the half-duplex modes              known and these can be used in the transceiver embodiments
will be discussed together for this embodiment.                     65 of the invention. Also, the exemplary frequencies mentioned
   A second embodiment of the transceiver is for the trans-            above are provide for illustrative purposes only, and are not
mitter of the present invention to be used with a universal            limiting.




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   FIG. 50 shows a transmitter of the present invention in a        the oscillating signals 4916 and 4926 were set at 830 MHz
transceiver circuit with a typical superheterodyne receiver.        and 59 MHz. Before setting the frequencies of the oscillating
Accordingly, FIG. 50 illustrates an exemplary transceiver           signals 5106 and 5112, the desired frequency of the transmit-
circuit of the invention. The transceiver includes a receiver       ted signal must be determined. If it, too, is 900 MHz, then the
module 5001, which is implemented using any superhetero- 5 frequency of the oscillating signal that causes the switch in
dyne receiver configuration, and which is described above.          the present invention to open and close must be a "sub-
The transceiver also includes a transmitter module 5003,            harmonic" of900 MHz. That is, it must be the quotient of900
which is described below.                                           MHz divided by an integer. (In other words, 900 MHz must be
   In the FM and PM modes, an information signal 5004               a harmonic of the oscillating signal that drives the switch.)
modulates an intermediate signal to produce the oscillating 10 The table below is a list of some of the sub-harmonics of 900
signal 5002. Oscillating signal 5002 is shaped by signal            MHz:
shaper 5010 to produce a string of pulses 5008 (see the dis-
cussion above regarding the benefits of harmonic enhance-
ment). The string of pulses 5008 drives the switch module
5012. In the FM/PM modes, a bias/reference signal 5006 is 15 _ _ _ _ _su_b_-har_m_o_n_ic_ _ _ _ _ _fl_re_qu_e_ncy             _ _ _ __
also received by switch module 5012. The output of switch                                                              900MHz
module 5012 is a harmonically rich signal 5022. Harmoni-                                                               450
cally rich signal 5022 is comprised of a plurality of sinusoidal                                                       300
                                                                                                                       225
components, and is routed to a "high Q" filter that will remove                                                        180
all but the desired output frequency(ies ). The desired output 20                                                       90
frequency 5024 is amplified by an amplifier 5016 and routed                                                              60
to a transmission module 5018 which outputs a transmission
signal 5026 which is routed to a duplexer 5020. The purpose            Recall that the frequency of the second oscillating signal
of duplexer 5020 is to permit a single antenna to be used           4926 in FIGS. 49 and 50 was 59 MHz. Notice that the fre-
simultaneously for both receiving and transmitting signals. 25 quency of the 15 th sub-harmonic is 60 MHz. Ifthe frequency
The combination of received signal 4902 and transmission            of oscillating signal 5112 of FIG. 51 were set at 60 MHz, it
signal 5026 is a duplexed signal 5028.                              could also be used as the oscillating signal to operate the
   In the AM mode, the same circuit of FIG. 50 applies,             switches in switch module 5126 of FIG. 518 and switch
except: (1) an information signal 5030 replaces information         module 5136 of FIG. 51C. Ifthis were done, the frequency of
signal 5004; (2) bias/reference signal 5006 is a function of the 30 the first IF signal would be 71 MHz (rather than 70 MHz in the
information signal 5030; and (3) oscillating signal 5002 is not     previous example of a stand-alone receiver), as indicated
modulated.                                                          below:
   This description is for the fall-duplex mode of the trans-
ceiver wherein the transmitting portion of the communica-
tions system is a separate circuit than the receiver portion. A 35          First IF frequency= Second / F frequency+
possible embodiment of a half-duplex mode is described
below.                                                                                             Second oscillating frequency
   Alternate embodiments of the transceiver are possible. For                                    = 11 MHz+60 MHz
example, FIGS. 51A through 51D illustrate an embodiment
of the transceiver wherein it may be desired, for cost or other 40                               =71 MHz
considerations, for an oscillator to be shared by both the
transmitter portion and the receiver portion of the circuit. To
do this, a trade off must be made in selecting the frequency of        The frequency of the first oscillating signal 5106 can be
the oscillator. In FIG. 51A, a local oscillator 5104 generates      determined from the values of the first IF frequency and the
an oscillating signal 5106 which is mixed with signal 4911 to 45 frequency of the received signal 4902. In this example, the
generate a first IF signal 5108. A local oscillator 5110 gener-     frequency of the received signal is 900 MHz and the fre-
ates a second oscillating signal 5112 which is mixed with the       quency of the first IF signal is 71 MHz. Therefore, the fre-
first IF signal 5108 to generate a second IF signal 5114. For       quency of the first oscillating signal 5106 must be 829 MHz,
the example herein, the frequencies of the oscillating signals      as indicated below:
5106 and 5112 will be lower than the frequencies of signal 50
4911 and first IF signal 5108, respectively. (One skilled in the
                                                                            First oscillating frequency= Freq of recieved signal-
relevant art(s) will recognize that, because the mixers 4912
and 4922 create both the sum and the difference ofthe signals                                            First IF freq
they receive, the oscillator frequencies could be higher than
the signal frequencies.)                                         55
                                                                                                       = 900 MHz-71 MHz
   As described in the example above, a typical second IF                                              =829 MHz
frequency is 11 MHz. The selection of this IF frequency is
less flexible than is the selection of the first IF frequency,
since the second IF frequency is routed to a decoder where the         Thus the frequencies of the oscillating signals 5106 and
signal is demodulated and decoded. Typically, demodulators 60 5112 are 829 MHz and 60 MHz, respectively.
and decoders are designed to receive signals at a predeter-            In FIG. 51B, the PM embodiment is shown. The second
mined, fixed frequency, e.g., 11 MHz. If this is the case, the      oscillating signal 5112 is routed to a phase modulator 5122
combination of the first IF signal 5108 and the second oscil-       where it is modulated by the information signal 5120 to
lating signal 5112 must generate a second IF signal with a          generate a PM signal 5132. PM signal 5132 is routed to a
second IF frequency of 11 MHz. Recall that the received 65 harmonic enhancement module 5124 to create a string of
signal 4902 was 900 MHz in the example above. To achieve            pulses 5133. The string of pulses 5133 is also a phase modu-
the second IF signal frequency of 11 MHz, the frequencies of        lated signal and is used to cause the switch in switch module




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5126 to open and close. Also entering switch module 5126 is           5218 would be used to demodulate the filtered signal so that
a bias signal 5128. The output of switch module 5126 is a             it could output a baseband signal 5226.
harmonically rich signal 5134.                                           An exemplary transmitter using the present invention is
    In FIG. SIC, the AM embodiment is shown. The second               shown in FIG. 53. In the FM and PM embodiments, an infor-
oscillating signal 5112 directly enters the harmonic enhance- 5 mation signal 5302 modulates an oscillating signal 5306
ment module 5124 to create a string of pulses 5138. String of         which is routed to a pulse shaping circuit 5310 which outputs
pulses 5138 (not modulated in this embodiment) then enters a          a string of pulses 5311. The string of pulses 5311 controls the
switch module 5136 where it causes a switch to open and               opening and closing of the switch 5312. One terminal of
close. Also entering switch module 5136 is a reference signal         switch 5312 is connected to ground 5314, and tl!e second
                                                                   10 terminal of switch 5312 is connected through a resistor 5330
5140. Reference signal is created by summing module 5130
                                                                      to a bias/reference signal 5308. In the FM and PM modes,
by combining information signal 5120 with bias signal 5128.
                                                                      bias/reference signal 5308 is preferably a non-varying signal,
It is well known to tl10se skilled in the relevant art(s) that the
                                                                      often referred to simply as the bias signal. In the AM mode,
information signal 5120 may be used as the reference signal           the oscillating signal 5306 is not modulated, and the bias/
without being combined with the bias signal 5128. The output 15 reference signal is a function of the information signal 5304.
of switch module 5136 is a harmonically rich signal 5134.             In one embodiment, information signal 5304 is combined
    The scope of the invention includes an FM embodiment              witl! a bias voltage to generate the reference signal 53 08. In an
wherein tl!e oscillator 5110 of tl!e receiver circuit is used as a    alternate embodiment, the information signal 5304 is used
source for an oscillating signal for the transmitter circuit. In      witl!out being combined with a bias voltage. Typically, in the
the embodiments discussed above, the FM embodiment 20 AM mode, this bias/reference signal is referred to as the
requires a voltage controlled oscillator (VCO) rather than a          reference signal to distinguish it from the bias signal used in
simple local oscillator. There are circuit designs that would be      the FM and PM modes. The output of switch 5312 is a
apparent to tl!ose skilled in the relevant art( s) based on the       harmonically rich signal 5316 which is routed to a "high Q"
discussion contained herein, wherein a VCO is used in place           filter which removes the unwanted frequencies that exist as
of a local oscillator in the receiver circuit.                     25 harmonic components of harmonically rich signal 5316.
    In FIG. 51D, the harmonically rich signal 5134 is filtered        Desired frequency 5320 is amplified by amplifier module
by a filter 5142, which removes all but tl!e desired output           5322 and routed to transmission module 5324 which outputs
frequency 5148. The desired output frequency 5148 is ampli-           a transmission signal 5326. Transmission signal is output by
fied by amplifier module 5146 and routed to transmission              antenna 5328 in this embodiment.
module 5150. The output of transmission module 5150 is a 30              For the FM and PM modulation modes, FIGS. 54A, 54B,
transmission signal 5144. Transmission signal 5144 is then            and 54C show the combination of the present invention of the
routed to the antenna 4904 for transmission.                          transmitter and the universal frequency down-conversion
    Those skilled in the relevant art(s) will understand that         receiver in the half-duplex mode according to an embodiment
there are numerous combinations of oscillator frequencies,            of the invention. That is, the transceiver can transmit and
stages, and circuits that will meet the scope and intent of this 35 receive, but it cannot do botl! simultaneously. It uses a single
invention. Thus, the description included herein is for illus-        antenna 5402, a single oscillator 5444/5454 (depending on
trative purposes only and not meant to be limiting.                   whether the transmitter is in the FM or PM modulation
Second Embodiment: The Transmitter of the Present Inven-              mode), a single pulse shaper 5438, and a single switch5420 to
tion Being Used with a Universal Frequency Down-Con-                  transmit and to receive. In the receive function, "Receiver/
verter in a Half-Duplex Mode.                                      40 transmitter'' (R/T) switches 5406, 5408, and 5446/5452 (FM
    An exemplary receiver using universal frequency down              or PM) would all be in the receive position, designated by (R).
conversion techniques is shown in FIG. 52 and described in            The antenna 5402 receives an EM signal 5404 and routes it
section 6.3, below. An antenna 5202 receives an electromag-           through a capacitor 5407. In the FM modulation mode, oscil-
netic (EM) signal 5220. EM signal 5220 is routed tl!rough a           lating signal 5436 is generated by a voltage controlled oscil-
capacitor 5204 to a first terminal ofa switch 5210. The oilier 45 lator (VCO) 5444. Because the transceiver is performing the
terminal of switch 5210 is connected to ground 5212 in this           receive function, switch 5446 connects the input to tl!e VCO
exemplary embodiment. A local oscillator 5206 generates an            5444 to ground 5448. Thus, VCO 5444 will operate as if it
oscillating signal 5228 which is routed tl!rough a pulse shaper       were a simple oscillator. In the PM modulation mode, oscil-
5208. The result is a string ofpulses 5230. The selection ofthe       lating signal 5436 is generated by local oscillator 5454 which
oscillator 5206 and the design of the pulse shaper 5208 con- 50 is routed through phase modulator 5456. Since the transceiver
trol the frequency and pulse width ofthe string ofpulses 5230.        is performing the receive function, switch 5452 is connected
The string of pulses 5230 control the opening and closing of          to ground 5448, and there is no modulating input to phase
switch 5210. As a result of the opening and closing of switch         modulator. Thus, local oscillator 5454 and phase modulator
5210, a down converted signal 5222 results. Down converted            5456 operate as if they were a simple oscillator. One skilled in
signal 5222 is routed through an amplifier 5214 and a filter 55 the relevant art(s) will recognize based on the discussion
5216, and a filtered signal 5224results. Ina preferred embodi-        contained herein that there are numerous embodiments
ment, filtered signal 5224 is at baseband, and a decoder 5218         wherein an oscillating signal 5436 can be generated to control
may only be needed to convert digital to analog or to remove          the switch 5420.
encryption before outputting the baseband information sig-               Oscillating signal 5436 is shaped by pulse shaper 5438 to
nal. This then is a universal frequency down conversion 60 produce a string of pulses 5440. The string of pulses 5440
receiver operating in a direct down conversion mode, in that it       cause the switch 5420 to open and close. As a result of the
receives the EM signal 5220 and down converts it to baseband          switch opening and closing, a down converted signal 5409 is
signal 5226 without requiring an IF or a demodulator. In an           generated. The down converted signal 5409 is amplified and
alternate embodiment, tl!e filtered signal 5224 may be at an          filtered to create a filtered signal 5413. In an embodiment,
"offset" frequency. That is, it is at an intermediate frequency, 65 filtered signal 5413 is at baseband and, as a result oftl!e down
similar to tl!at described above for the second IF signal in a        conversion, is demodulated. Thus, a decoder 5414 may not be
typical superheterodyne receiver. In this case, the decoder           required except to convert digital to analog or to decrypt the




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filtered signal 5413. In an alternate embodiment, the filtered         The transmitter function is performed as follows. In the FM
signal 5413 is at an "offset" frequency, so that the decoder        and PM modulation modes, an information signal 5648
5414 is needed to demodulate the filtered signal and create a       modulates an oscillating signal 5630. In the AM modulation
demodulated baseband signal.                                        mode, the oscillating signal 5630 is not modulated. The oscil-
    When the transceiver is performing the transmit function, 5 lating signal is shaped by pulse shaper 5632 and a string of
the Rff switches 5406, 5408, and 5446/5452 (FM or PM) are           pulses 5634 is created. This string of pulses 5634 causes a
in the (f) position. In the FM modulation mode, an informa-         switch 5636 to open and close. One terminal of switch 5636
tion signal 5450 is connected by switch 5446 to VCO 5444 to         is connected to ground 5638, and the other terminal is con-
create a frequency modulated oscillating signal 5436. In the        nected througharesistor5647 to a bias/reference signal 5646.
PM modulation mode switch 5452 connects information sig- 10 In the FM and PM modulation modes, bias/reference signal
nal 5450 to the phase modulator 5456 to create a phase modu-        5646 is referred to as a bias signal 5646, and it is substantially
lated oscillating signal 5436. Oscillation signal 5436 is routed    non-varying. In the AM modulation mode, an information
through pulse shaper 5438 to create a string of pulses 5440         signal 5650 may be combined with the bias signal to create
which in turn cause switch 5420 to open and close. One              what is referred to as the reference signal 5646. The reference
terminal of switch 5420 is connected to ground 5442 and the 15 signal 5646 is a function of the information signal 5650. It is
other is connected through switch R/T 5408 and resistor 5423        well known to those skilled in the relevant art(s) that the
to a bias signal 5422. The result is a harmonically rich signal     information signal 5650 may be used as the bias/reference
5424 which is routed to a "high Q" filter 5426 which removes        signal 5646 directly without being summed with a bias signal.
the unwanted frequencies that exist as harmonic components          A harmonically rich signal 5652 is generated and is filtered by
of harmonically rich signal 5424. Desired frequency 5428 is 20 a "high Q" filter 5640, thereby producing a desired signal
amplified by amplifier module 5430 and routed to transmis-          5654. The desired signal 5654 is amplified by amplifier 5642
sion module 5432 which outputs a transmission signal 5434.          and routed to transmission module 5644. The output of trans-
Again, because the transceiver is performing the transmit           mission module 5644 is transmission signal 5656. Transmis-
function, R/T switch 5406 connects the transmission signal to       sion signal 5656 is routed to duplexer 5604 and then trans-
the antenna 5402.                                                25 mitted by antenna 5602. This transmitter portion of the
   In the AM modulation mode, the transceiver operates in the       transceiver can operate independently from the receiver por-
half duplex mode as shown in FIG. 55. The only distinction          tion of the transceiver.
between this modulation mode and the FM and PM modula-                 Thus, as described above, the transceiver embodiment the
tion modes described above, is that the oscillating signal 5436     present invention as shown in FIG. 56 can perform full-
is generated by a local oscillator 5502, and the switch 5420 is 30 duplex communications in all modulation modes.
connected through the Rff switch 5408 and resistor 5423 to a        Other Embodiments and Implementations
reference signal 5506. Reference signal 5506 is generated              Other embodiments and implementations of the receiver/
when information signal 5450 and bias signal 5422 are com-          transmitter of the present invention would be apparent to one
bined by a summing module 5504. It is well known to those           skilled in the relevant art( s) based on the discussion herein.
skilled in the relevant art(s) that the information signal 5450 35     The embodiments and implementations described above
may be used as the reference signal 5506 without being com-         are provided for purposes of illustration. These embodiments
bined with the bias signal 5422, and may be connected               and implementations are not intended to limit the invention.
directly (through resistor 5423 and Rff switch 5408) to the         Alternatives, differing slightly or substantially from those
switch 5420.                                                        described herein, will be apparent to persons skilled in the
Third Embodiment: The Transmitter of the Present Invention 40 relevant art(s) based on the teachings contained herein. Such
Being Used with a Universal Frequency Down Converter in a           alternate embodiments and implementations fall within the
Full-Duplex Mode.                                                   scope and spirit of the present invention.
    The full-duplex mode differs from the half-duplex mode in          6.3 Summary Description of Down-conversion Using a
that the transceiver can transmit and receive simultaneously.       Universal Frequency Translation Module.
Referring to FIG. 56, to achieve this, the transceiver prefer- 45      The following discussion describes down-converting using
ably uses a separate circuit for each function. A duplexer 5604     a Universal Frequency Translation Module. The down-con-
is used in the transceiver to permit the sharing of an antenna      version of an EM signal by aliasing the EM signal at an
5602 for both the transmit and receive functions.                   aliasing rate is fully described in co-pending U.S. patent
    The receiver function performs as follows. The antenna          application entitled "Method and System for Down-convert-
5602 receives an EM signal 5606 and routes it through a 50 ing an Electromagnetic Signal," application Ser. No. 09/176,
capacitor 5607 to one terminal of a switch 5626. The other          022, now issued as U.S. Pat. No. 6,061,551, the fall disclosure
terminal of switch 5626 is connected to ground 5628, and the        of which is incorporated herein by reference. A relevant por-
switch is driven as a result of a string of pulses 5624 created     tion of the above mentioned patent application is summarized
by local oscillator 5620 and pulse shaper 5622. The opening         below to describe down-converting an input signal to produce
and closing of switch 5626 generates a down converted signal 55 a down-converted signal that exists at a lower frequency or a
5614. Down converted signal 5614 is routed through a ampli-         baseband signal.
fier 5608 and a filter 5610 to generate filtered signal 5616.          FIG. 64A illustrates an aliasing module 6400 for down-
Filtered signal 5616 may be at baseband and be demodulated          conversion using a universal frequency translation (UFT)
orit may be at an "offset" frequency. If filtered signal 5616 is    module 6402 which down-converts an EM input signal 6404.
at an offset frequency, decoder 5612 will demodulate it to 60 In particular embodiments, aliasing module 6400 includes a
create the demodulated baseband signal 5618. In a preferred         switch 6408 and a capacitor 6410. The electronic alignment
embodiment, however, the filtered signal 5616 will be a             of the circuit components is flexible. That is, in one imple-
demodulated baseband signal, and decoder 5612 may not be            mentation, the switch 6408 is in series with input signal 6404
required except to convert digital to analog or to decrypt          and capacitor 6410 is shunted to ground (alfuough it may be
filtered signal 5616. This receiver portion of the transceiver 65 oilier than ground in configurations such as differential
can operate independently from the transmitter portion of the       mode). In a second implementation (see FIG. 64A-1), the
transceiver.                                                        capacitor 6410 is in series with the input signal 6404 and the




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switch 6408 is shunted to ground (although it may be other           corresponds to the analog AM carrier signal portion 6416
than ground in configurations such as differential mode).            (FIG. 64C) and the train of pulses 6420 (FIG. 64D). The
Aliasing module 6400 with UFT module 6402 can be easily              charge stored during successive under-samples ofAM carrier
tailored to down-convert a wide variety of electromagnetic           signal 6414 form the down-converted signal 6424 (FIG. 64E)
signals using aliasing frequencies that are well below the 5 that is an example of down-converted output signal 6412
frequencies of the EM input signal 6404.                             (FIG. 64A). In FIG. 64F a demodulated baseband signal 6426
   In one implementation, aliasing module 6400 down-con-             represents the demodulated baseband signal 6424 after filter-
verts the input signal 6404 to an intermediate frequency (IF)        ing on a compressed time scale. As illustrated, down-con-
signal. In another implementation, the aliasing module 6400          verted signal 6426 has substantially the same "amplitude
down-converts the input signal 6404 to a demodulated base- 10 envelope" as AM carrier signal 6414. Therefore, FIGS. 64B-
band signal. In yet another implementation, the input signal         64F illustrate down-conversion of AM carrier signal 6414.
6404 is a frequency modulated (FM) signal, and the aliasing             The waveforms shown in FIGS. 64B-64F are discussed
module 6400 down-converts it to a non-FM signal, such as a           herein for illustrative purposes only, and are not limiting.
phase modulated (PM) signal or an amplitude modulated                Additional exemplary time domain and frequency domain
(AM) signal. Each of the above implementations is described 15 drawings, and exemplary methods and systems of the inven-
below.                                                               tion relating thereto, are disclosed in co-pending U.S. patent
   In an embodiment, the control signal 6406 includes a train        application entitled "Method and System for Down-convert-
of pulses that repeat at an aliasing rate that is equal to, or less  ing an Electromagnetic Signal," application Ser. No. 09/176,
than, twice the frequency of the input signal 6404 In this           022, now issued as U.S. Pat. No. 6,061,551.
embodiment, the control signal 6406 is referred to herein as 20         The aliasing rate of control signal 6406 determines
an aliasing signal because it is below the Nyquist rate for the      whether the input signal 6404 is down-converted to an IF
frequency of the input signal 6404. Preferably, the frequency        signal, down-converted to a demodulated baseband signal, or
ofcontrol signal 6406 is much less than the input signal 6404.       down-converted from an FM signal to a PM or an AM signal.
   The train of pulses 6418 as shown in FIG. 64D controls the        Generally, relationships between the input signal 6404, the
switch 6408 to alias the input signal 6404 with the control 25 aliasing rate of the control signal 6406, and the down-con-
signal 6406 to generate a down-converted output signal 6412.         verted output signal 6412 are illustrated below:
More specifically, in an embodiment, switch 6408 closes on a                (Freq. of input signal 6404)-n·(Freq. of control signal
first edge of each pulse 6420 of FIG. 64D and opens on a                         6406)~(Freq. of Down-Converted Output Signal
second edge of each pulse. When the switch 6408 is closed,                       6412)
the input signal 6404 is coupled to the capacitor 6410, and 30          For the examples contained herein, only the"+" condition
charge is transferred from the input signal to the capacitor         will be discussed. The value of n represents a harmonic or
6410. The charge stored during successive pulses forms               sub-harmonic of input signal 6404 (e.g., n=0.5, 1, 2, 3, ... ).
down-converted output signal 6412.                                      When the aliasing rate of control signal 6406 is off-set from
   Exemplary waveforms are shown in FIGS. 64B-64F.                   the frequency ofinput signal 6404, oroff-set from a harmonic
   FIG. 64B illustrates an analog amplitude modulated (AM) 35 or sub-harmonic thereof, input signal 6404 is down-converted
carrier signal 6414 that is an example of input signal 6404.         to an IF signal. This is because the under-sampling pulses
For illustrative purposes, in FIG. 64C, an analog AM carrier         occur at different phases of subsequent cycles of input signal
signal portion 6416 illustrates a portion of the analog AM           6404. As a result, the under-samples form a lower frequency
carrier signal 6414 on an expanded time scale. The analog            oscillating pattern. If the input signal 6404 includes lower
AM carrier signal portion 6416 illustrates the analog AM 40 frequency changes, such as amplitude, frequency, phase, etc.,
carrier signal 6414 from time t,, to time t 1 .                      or any combination thereof, the charge stored during associ-
   FIG. 64D illustrates an exemplary aliasing signal 6418 that       ated under-samples reflects the lower frequency changes,
is an example of control signal 6406. Aliasing signal 6418 is        resulting in similar changes on the down-converted IF signal.
on approximately the same time scale as the analog AM                For example, to down-convert a 901 MHz input signal to a 1
carrier signal portion 6416. In the example shown in FIG. 45 MHz IF signal, the frequency of the control signal 6406
64D, the aliasing signal 6418 includes a train of pulses 6420        would be calculated as follows:
having negligible apertures that tend towards zero (the inven-
tion is not limited to this embodiment, as discussed below).                (Freq,•P•,-Freq,,,)/n-FreCJc.,.,,..,,(901 MHz-I MHz)/
                                                                                 n-900/n
The pulse aperture may also be referred to as the pulse width
as will be understood by those skilled in the art( s). The pulses 50    Forn=0.5, 1, 2, 3, 4, etc., the frequency ofthe control signal
6420 repeat at an aliasing rate, or pulse repetition rate of         6406 would be substantially equal to 1.8 GHz, 900 MHz, 450
aliasing signal 6418. The aliasing rate is determined as             MHz, 300 MHz, 225 MHz, etc.
described below, and further described in co-pending U.S.               Exemplary time domain and frequency domain drawings,
patent application entitled "Method and System for Down-             illustrating down-conversion of analog and digital AM, PM
converting an Electromagnetic Signal," application Ser. No. 55 and FM signals to IF signal, and exemplary methods and
09/176,022, now issued as U.S. Pat. No. 6,061,551.                   systems thereof, are disclosed in co-pending U.S. patent
   As noted above, the train ofpulses 6420 (i.e., control signal     application entitled "Method and System for Down-convert-
6406) control the switch 6408 to alias the analog AM carrier         ing an Electromagnetic Signal," Application No, 09/17 6,022,
signal 6416 (i.e., input signal 6404) at the aliasing rate of the    now issued as U.S. Pat. No. 6,061,551.
aliasing signal 6418. Specifically, in this embodiment, the 60          Alternatively, when the aliasing rate of the control signal
switch 6408 closes on a first edge of each pulse and opens on        6406 is substantially equal to the frequency of the input signal
a second edge of each pulse. When the switch 6408 is closed,         6404, or substantially equal to a harmonic or sub-harmonic
input signal 6404 is coupled to the capacitor 6410, and charge       thereof, input signal 6404 is directly down-converted to a
is transferred from the input signal 6404 to the capacitor           demodulated baseband signal. This is because, without
6410. The charge transferred during a pulse is referred to 65 modulation, the under-sampling pulses occur at the same
herein as an under-sample. Exemplary under-samples 6422              point of subsequent cycles of the input signal 6404. As a
form down-converted signal portion 6424 (FIG. 64E) that              result, the under-samples form a constant output baseband




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                              59                                                                    60
signal. If the input signal 6404 includes lower frequency              be substantially equal to 1.802 GHz, 901 MHz, 450.5 MHz,
changes, such as amplitude, frequency, phase, etc., or any             300.333 MHz, 225.25 MHz, etc. The frequency of the down-
combination thereof, the charge stored during associated               converted AM signal is substantially equal to the difference
under-samples reflects the lower frequency changes, result-            between the lower frequency F1 and the upper frequency F2
ing in similar changes on the demodulated baseband signal.           5 (i.e., 1 MHz).
For example, to directly down-convert a 900 MHz input sig-                Exemplary time domain and frequency domain drawings,
nal to a demodulated baseband signal (i.e., zero IF), the fre-         illustrating down-conversion of FM signals to non-FM sig-
quency of the control signal 6406 would be calculated as               nals, and exemplary methods and systems thereof, are dis-
follows:                                                               closed in the co-pending U.S. patent application entitled
       (Freq,,.,,.,-Freq,,,)/n=Freq,=,,.,,,(900 MHz-0 MHz)/         10 "Method and System for Down-converting an Electromag-
            n=900 MHz/n                                                netic Signal," Application No. (09/176,022, now issued as
   For n=0.5, 1, 2, 3, 4, etc., the frequency ofthe control signal     U.S. Pat. No. 6,061,551).
6406 should be substantially equal to 1.8 GHz, 900 MHz, 450               In an embodiment, the pulses of the control signal 6406
MHz, 300 MHz, 225 MHz, etc.                                         15 have negligible apertures that tend towards zero. This makes
   Exemplary time domain and frequency domain drawings,                the UFT module 6402 a high input impedance device. This
illustrating direct down-conversion of analog and digital AM           configuration is useful for situations where minimal distur-
and PM signals to demodulated baseband signals, and exem-              bance of the input signal may be desired.
plary methods and systems thereof, are disclosed in the co-               In another embodiment, the pulses of the control signal
pending U.S. patent application entitled "Method and System 20 6406 have non-negligible apertures thattend away from zero.
for Down-converting an Electromagnetic Signal," applica-               This makes the UFT module 6402 a lower input impedance
tion Ser. No. 09/176,022, now issued as U.S. Pat. No. 6,061,           device. This allows the lower input impedance of the UFT
551.                                                                   module 6402 to be substantially matched with a source
   Alternatively, to down-convert an input FM signal to a              impedance of the input signal 6404. This also improves the
non-FM signal, a frequency within the FM bandwidth must 25 energy transfer from the input signal 6404 to the down-con-
be down-converted to baseband (i.e., zero IF). As an example,          verted output signal 6412, and hence the efficiency and signal
to down-convert a frequency shift keying (FSK) signal (a               to noise (s/n) ratio ofUFT module 6402.
sub-set of FM) to a phase shift keying (PSK) signal (a subset             Exemplary systems and methods for generating and opti-
of PM), the mid-point between a lower frequency F 1 and an             mizing the control signal 6406, and for otherwise improving
upper frequency F 2 (that is, [(F 1 +F 2 )+21) of the FSK signal is 30 energy transfer and sin ratio, are disclosed iu the co-pending
down-converted to zero IF. For example, to down-convert an             U.S. patent application entitled "Method and System for
FSK signal having F 1 equal to 899 MHz and F 2 equal to 901            Down-converting an Electromagnetic Signal," application
MHz, to a PSK signal, the aliasing rate of the control signal          Ser. No. 09/176,022, now issued as U.S. Pat. No. 6,061,551.
6406 would be calculated as follows:                                   Designing a Transmitter According to an Embodiment of the
                                                                    35 Present Invention.
                                                                          This section (including its subsections) provides a high-
         Frequency of the input= (F1 +F2 )+2                           level description of an exemplary process to be used to design
                                   = (899 MHz+901 MHz)+2               a transmitter according to an embodiment of the present
                                   = 900 MHz                           invention. The techniques described herein are also appli-
                                                                    40 cable to designing a frequency up-converter for any applica-
        Frequency of the down-converted signal= 0(i.e., baseband)
                                                                       tion, and for designing the applications themselves. The
        (Freq;,.,., -Freqw)/n = Freq .,ro1
                                00                                     descriptions are contained herein for illustrative purposes and
        (900 MHz-0 MHz)/n= 900 MHz/n
                                                                       are not limiting. Alternatives (including equivalents, exten-
                                                                       sions, variations, deviations, etc., of those described herein)
                                                                    45 will be apparent to persons skilled in the relevant art(s) based
   For n=0.5, 1, 2, 3, etc., the frequency of the control signal       on the teachings contained herein. Such alternatives fall
6406 should be substantially equal to 1.8 GHz, 900 MHz, 450            within the scope and spirit of the present invention, and the
MHz, 300 MHz, 225 MHz, etc. The frequency of the down-                 invention is intended and adapted to include such alternative.
converted PSK signal is substantially equal to one half the               The discussion herein describes an exemplary process to be
difference between the lower frequency F 1 and the upper 50 used to design a transmitter according to an embodiment of
frequency F2 •                                                         the present invention. An exemplary circuit for a transmitter
   As another example, to down-convert a FSK signal to an              of the present invention operating in the FM embodiment is
amplitude shift keying (ASK) signal (a subset ofAM), either            shown in FIG. 57A. Likewise, FIG. 57B illustrates the trans-
the lower frequency F 1 or the upper frequency F 2 of the FSK          mitter of the present invention operating in the PM embodi-
signal is down-converted to zero IF. For example, to down- 55 ment, and FIG. 57C shows the transmitter of the present
convert an FSK signal having F 1 equal to 900 MHz and F 2              invention operating in the AM embodiment. These circuits
equal to 901 MHz, to an ASK signal, the aliasing rate of the           have been shown in previous figures, but are presented here to
control signal 6406 should be substantially equal to:                  facilitate the discussion of the design. As the "I/Q" embodi-
                                                                       ment of the present invention is a subset of the PM embodi-
       (900 MHz-0 MHz)/n=900 MHz/n, or
                                                                    60 ment, it will not be shown in a separate figure here, since the
                                                                       design approach will be very similar to that for the PM
       (901 MHz-0 MHz)/n=901 MHz/n.
                                                                       embodiment.
   Fortheformercaseof900 MHz/n, andforn0.5, 1, 2, 3, 4,                   Depending on the application and on the implementation,
etc., the frequency of the control signal 6406 should be sub-          some of the design considerations may not apply. For
stantially equal to 1.8 GHz, 900 MHz, 450 MHz, 300 MHz, 65 example, and without limitation, in some cases it may not be
225 MHz, etc. Forthelattercaseof901 MHz/n, andforn=0.5,                necessary to optimize the pulse width or to include an ampli-
1, 2, 3, 4, etc., the frequency of the control signal 6406 should      fier.




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Frequency of the Transmission Signal.                                  frequency based on the desired modulation technique being
   The first step in the design process is to determine the            used in the circuit. As an example to be used herein, if the
frequency of the desired transmission signal 5714. This is             frequency of the desired transmission signal is 910 MHz, and
typically determined by the application for which the trans-           it is to be used in an FM mode where, for example, the
mitter is to be used. The present invention is for a transmitter 5 frequency range of the modulation is 40 KHz, the actual
that can be used for all frequencies within the electromagnetic        frequency ofthe signal will vary ±20 KHz around the nominal
(EM) spectrum. For the examples herein, the explanation will           center frequency as a function of the information being trans-
focus on the use ofthe transmitter in the 900 MHz to 950 MHz           mitted. That is, the frequency of the desired transmission
range. Those skilled in the relevant art( s) will recognize that       signal will actually range between 909.980 MHz and 910.020
the analysis contained herein may be used for any frequency 10 MHz.
or frequency range.                                                       The first ten subharmonics of a 910.000 MHz signal are
Characteristics of the Transmission Signal.                            given below.
   Once the frequency of the desired transmission signal 5714
is known, the characteristics ofthe signal must be determined.
These characteristics include, but are not limited to, whether 15 - - - - - - - - - - - - - - - - - - - - -
the transmitter will operate at a fixed frequency or over a                          harmonic                 frequency
range of frequencies, and if it is to operate over a range of                         1,,                     910 _000 MHz
frequencies, whether those frequencies are continuous or are                          2nd                     455.ooo
divided into discrete "channels." If the frequency range is                           3""                     303.333 ...
divided into discrete channels, the spacing between the chan- 20                      4"'                     227.500
nels must be ascertained. As an example, cordless phones                              5:                      182-000
                                                                                      6                       151.666 ...
operating in this frequency range may operate on discrete                             1"'                     130.000
channels that are 50 KHz apart. That is, if the cordless phones                       8"'                     113.750
operate in the 905 MHz to 915 MHz range (inclusive), the                              9"'                     101.111 ...
channels could be found at 905.000, 905.050, 905.100, 25 _ _ _ _ _1_0 "'_ _ _ _ _ _ _ _9_1_-00_ 0_ _ _ _ _ __
914.900, 914.950, and 915.000.
Modulation Scheme.                                                        The oscillating signal 5704, 5738, 5744 can be at any one
   Another characteristic that must be ascertained is the              ofthese frequencies or, if desired, at a lower subharmonic. For
desired modulation scheme that is to be used. As described             discussion herein, the 9th subharmonic will be chosen. Those
above in sections 2.1-2.2.4, above, these modulation schemes 30 skilled in the relevant art(s) will understand that the analysis
include FM, PM, AM, etc., and any combination or subset                herein applies regardless of which harmonic is chosen. Thus
thereof, specifically including the widely used "I/Q" subset of        the nominal center frequency of the oscillating signal 5704,
PM. Just as the frequency of the desired transmission signal           5738, 5744 will be 101.1111 MHz. Recalling that in the FM
5714 is typically determined by the intended application, so           mode, the frequency of the desired transmission signal 5714
too is the modulation scheme.                                       35 is actually 910.000 MHz±0.020 MHz, it can be shown that the
Characteristics of the Information Signal.                             frequency of the oscillating signal 5704 will vary ±0.00222
   The characteristics of an information signal 5702 are also          MHz (i.e., from 101.10889 MHz to 101.11333 MHz). The
factors in the design of the transmitter circuit. Specifically, the    frequency and frequency sensitivity of the oscillating signal
bandwidth of the information signal 5702 defines the mini-             5704 will drive the selection or design of the voltage con-
mum frequency for an oscillating signal 5704, 5738, 5744 40 trolled oscillator (VCO) 5720.
(for the FM, PM, and AM modes, respectively).                             Another frequency consideration is the overall frequency
Characteristics of the Oscillating Signal.                             range of the desired transmission signal. That is, if the trans-
   The desired frequency of the oscillating signal 5704, 5738,         mitter is to be used in the cordless phone ofthe above example
5744 is also a function of the frequency and characteristics of        and will transmit on all channels between 905 MHz and 915
the desired transmission signal 5714. Also, the frequency and 45 MHz, the VCO 5720 (for the FM mode) or the local oscillator
characteristics of the desired transmission signal 5714 are            (LO) 5734 (for the PM and AM modes) will be required to
factors in determining the pulse width of the pulses in a string       generate oscillating frequencies 5704, 5738, 5744 that range
of pulses 5706. Note that the frequency of the oscillating             from 100.5556 MHz to 101.6667 MHz. (That is, the 9th
signal 5704, 5738, 5744 is substantially the same as the fre-          subharmonic of 910 MHz ±5 MHz). In some applications,
quency of the string of pulses 5706. (An exception, which is 50 such as the cellular phone, the frequencies will change auto-
discussed below, is when a pulse shaping circuit 5722                  matically, based on the protocols of the overall cellular sys-
increases the frequency of the oscillating signal 5704, 5738,          tem (e.g., moving from one cell to an adjacent cell). In other
5744 in a manner similar to that described above in section            applications, such as a police radio, the frequencies will
4.3.2.) Note also that the frequency and pulse width of the            change based on the user changing channels.
string of pulses 5706 is substantially the same as the fre- 55            In some applications, different models of the same trans-
quency and pulse width of a harmonically rich signal 5708.             mitter will transmit signals at different frequencies, but each
Frequency of the Oscillating Signal.                                   model will, itself, only transmit a single frequency. A possible
   The frequency of the oscillating signal 5704, 5738, 5744            example of this might be remote controlled toy cars, where
must be a subharmonic of the frequency of the desired trans-           each toy car operates on its own frequency, but, in order for
mission signal 5714. A subharmonic is the quotient obtained 60 several toy cars to operate in the same area, there are several
by dividing the fundamental frequency, in this case the fre-           frequencies at which they could operate. Thus, the design of
quency ofthe desired transmission signal 5714, by an integer.          the VCO 5720 or LO 5734 will be such that it is able to be
When describing the frequency of certain signals, reference is         tuned to a set frequency when the circuit is fabricated, but the
often made herein to a specific value. It is understood by those       user will typically not be able to adjust the frequency.
skilled in the relevant art(s) that this reference is to the nomi- 65     It is well known to those skilled in the relevant art( s) that
nal center frequency of the signal, and that the actual signal         several of the criteria to be considered in the selection or
may vary in frequency above and below this nominal center              design of an oscillator (VCO 5720 or LO 5734) include, but




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                                63                                                                         64
are not limited to, the nominal center frequency of the desired                      [2/(n·,t)] cos [n·,t•(,:/n]=0                         Eq. 8
transmission signal 5714, the frequency sensitivity caused by
the desired modulation scheme, the range of all possible                                                                                   Eq.9
frequencies for the desired transmission signal 5714, and the                   From trigonometry, it is known that for Eq. 9 to be true,
timing requirements for each specific application. Another 5
                                                                                    n·,t·(,:fD=,t/2(or 3"12,5"12,etc.)                    Eq, 10
important criterion is the determination ofthe subharmonic to
be used, but unlike the criteria listed above which are depen-
                                                                                                                                          Eq.11
dent on the desired application, there is some flexibility in the
selection of the subharmonic.
                                                                                    ,:/T=l/(2·n)(or 3/(2·n),5/(2·n), etc.)                Eq.12
Pulse Width of the String of Pulses.                                      10
   Once the frequency of the oscillating signal 5704, 5738,                     The above derivation is well known to those skilled in the
5744 has been selected, the pulse width of the pulses in the                 relevant art(s). From Eq. 12, it can be seen that if the pulse-
stream of pulses 5706 must be determined. (See sections                      width-to-period ratio is equal to 1/(2·n), the amplitude of the
4-4.3 .4, above, for a discussionofharmonic enhancement and                  harmonic should be substantially optimum. For the case of
the impact the pulse-width-to-period ratio has on the relative 15 the 9th harmonic, Eq. 12 will yield a pulse-width-to-period
amplitudes of the harmonics in a harmonically rich signal                    ratio of 1/(2·9) or 0.0556. For the amplitude of this 9th har-
5708.) In the example used above, the 9th subharmonic was                    monic, Table 6100 of FIG. 61 shows that it is 0.0796. This is
selected as the frequency of the oscillating signal 5704, 5738,              an improvement over the previous amplitude for a pulse-
5744. In other words, the frequency of the desired transmis-                 width-to-period ratio of 0.1. Table 6100 also shows that the
sion signal will be the 9th harmonic of the oscillating signal 20 9th harmonic for this pulse-width-to-period ratio has the high-
5704, 5738, 5744. One approach in selecting the pulse width                  est amplitude of any 9th harmonic, which bears out the deri-
might be to focus entirely on the frequency of the oscillating               vation above. The frequency spectrum for a pulse-width-to-
signal 5704, 5738, 5744 and select a pulse width and observe                 period ratio of0.0556 is shown in FIG. 59. (Note that other
its operation in the circuit. For the case where the harmoni-                pulse-width-to-periodratios of3/(2·n), 5/(2·n), etc., will have
cally rich signal 5708 has a unity amplitude, and the pulse- 25 amplitudes that are equal to but not larger than this one.)
width-to-period ratio is 0.1, the amplitude of the 9th harmonic                 This is one approach to determining the desired pulse-
will be0.0219. LookingagainatTable6000 and FIG. 58itcan                      width-to-period ratio. Those skilled in the relevant art(s) will
be seen that the amplitude of the 9th harmonic is higher than                understand that other techniques may also be used to select a
that of the 10th harmonic (which is zero) but is less than half              pulse-width-to-period ratio.
the amplitude of the 8th harmonic. Because the 9th harmonic 30 Design of the Pulse Shaping Circuit.
does have an amplitude, this pulse-width-to-period ratio                        Once the determination has been made as to the desired
could be used with proper filtering. Typically, a different ratio            frequency of the oscillating signal 5704, 5738, 5744 and of
might be selected to try and find a ratio that would provide a               the pulse width, the pulse shaping circuit 5722 can be
higher amplitude.                                                            designed. Looking back to sections 4-4.3.4 it can be seen that
   Looking at Eq. 1 in section 4.1.1, it is seen that the relative 35 the pulse shaping circuit 5722 can not only produce a pulse of
amplitude of any harmonic is a function of the number of the                 a desired pulse width, but it can also cause the frequency of
harmonic and the pulse-width-to-period ratio of the underly-                 the string ofpulses 5706 to be higher than the frequency ofthe
ing waveform. Applying calculus of variations to the equa-                   oscillating signal 5704, 5738, 5744. Recall that the pulse-
tion, the pulse-width-to-period ratio that yields the highest                width-to-period ratio applies to the pulse-width-to-period
amplitude harmonic for any given harmonic can be deter- 40 ratio of the harmonically rich signal 5708 and not to the
mined.                                                                       pulse-width-to-period ratio of the oscillating signal 5704,
   From Eq. 1, where A,, is the amplitude of the n th harmonic,              5738, 5744, and that the frequency and pulse width of the
                                                                             harmonically rich signal 5708 mirrors the frequency and
       An=[Apu1,,][(2ht)!n] sin {n•,t•(,:lnJ                        Eq. 2    pulse width of the string of pulses 5706. Thus, if in the
   If the amplitude of the pulse, Apulse' is set to unity (i.e., 45 selection of the VCO 5720 or LO 5734 it was desired to
equal to 1), the equation becomes                                            choose an oscillator that is lower than that required for the
                                                                             selected harmonic, the pulse shaping circuit 5733 can be used
       An=[2/(n·,t)] sin [n-,t·(,:/nJ                               Eq. 3    to increase the frequency. Going back to the previous
   From this equation, it can be seen that for any value of n                example, the frequency of the oscillating signal 5704, 5738,
(the harmonic) the amplitude of that harmonic, A,,, is a func- so 5744 could be 50.5556MHzratherthan 101.1111 MHz if the
tion of the pulse-width-to-period ratio, ,:/T. To determine the              pulse shaping circuit 5722 was designed such as discussed in
highest value of A,, for a given value of n, the first derivative            sections 4.2.2-4.2.2.2 (shown in FIGS. 40A-40D) not only to
of A,, with respect to ,:/I is taken. This gives the following               shape the pulse, but also to double the frequency. While that
equations.                                                                   discussion was specifically for a square wave input, those
                                                                          55 skilled in the relevant art( s) will understand that similar tech-
                                                                             niques will apply to non-rectangular waveforms (e.g., a sinu-
        6(An)/6(r /T) = 6{[2/(n•,r)]sin[n•,r · (r /T)]} / 6(r / T) Eq. 4
                                                                             soidal wave). This use of the pulse shaping circuit to double
                        = [2/ (n-,r)]6[sin[n•,r • (T /T)]/ 6(T /T)
                                                                             the  frequency has a possible advantage in that it allows the
                                                                   Eq. 5
                                                                             design and selection of an oscillator (VCO 5720 of LO 5734)
                        = [2/(n•,r)]cos[n•,r•(r/T)]                Eq. 6 60 with a lower frequency, if that is a consideration.
                                                                                It should also be understood that the pulse shaping circuit
   From calculus of variations, it is known that when the first              5722 is not always required. If the design or selection of the
derivative is set equal to zero, the value of the variable that              VCO 5720 or LO 5734 was such that the oscillating signal
will yield a relative maximum (or minimum) can be deter-                     5704, 5738, 5744 was a substantially rectangular wave, and
mined.                                                                    65 that substantially rectangular wave had a pulse-width-to-pe-
                                                                             riod ratio that was adequate, the pulse shaping circuit 5722
       b(An)/b(,:fD=0                                               Eq. 7    could be eliminated.




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                                65                                                                       66
Selection of the Switch.                                                    4. The frequency conversion module of clainl 2, wherein
    The selection of a switch 5724 can now be made. The                  the frequency conversion module is configured to receive the
switch 5724 is shown in the examples of PIGS. 57A, 57B, and              reference signal, via the second switch, during a transmission
57C as a GaAsFET. However, it may be any switching device                of the signal.
of any technology that can open and close "crisply" enough to 5             5. The frequency conversion module of clainl 1, wherein,
acco=odate the frequency and pulse width of the string of                the frequency conversion module further comprises:
pulses 5706.                                                                a signal generator configured to generate the first control
Design of the Filter.                                                          signal, the first control signal having a train of pulses that
    The design ofthe filter 5726 is determined by the frequency                repeat at an aliasing rate substantially equal to, or less
and frequency range of the desired transmission signal 5714. 10                than, a frequency of the first signal.
As discussed above in sections 3.3.9-3.3.9.2, the term "Q" is               6. The frequency conversion module of claim 1, further
used to describe the ratio of the center frequency ofthe output          comprising:
of the filter to the bandwidth of the "3 dB down" point. The                a pulse shaper; and
trade offs that were made in the selection of the subharmonic 15            an oscillating signal generator.
to be used is a factor in designing the filter. That is, if, as an          7. The frequency conversion module of clainl 6, wherein
excursion to the example given above, the frequency of the               the oscillating signal generator comprises a voltage con-
desired transmission signal were again 910 MHz, but the                  trolled oscillator configured to generate an oscillating signal.
desired subharmonic were the 50th subharmonic, then the                     8. The frequency conversion module of clainl 7, wherein
frequency of that 50th subharmonic would be 18.2000 MHz. 20 the pulse shaper is configured to generate a string of pulses
lbis means that the frequencies seen by the filter will be               based on the oscillating signal.
18.200 MHz apart. Thus, the "Q" will need to be high enough                 9. The frequency conversion module of clainl 8, wherein
to avoid allowing information from the adjacent frequencies              the first switch opens and closes based on the string of pulses.
being passed through. The other consideration for the "Q" of                10. The frequency conversion module of claim 8, wherein,
the filteris that it must not be so tight that it does not permit the 25 during a transmission of the signal, the string of pulses is
usage of the entire range of desired frequencies.                        based on a frequency modulated oscillating signal.
Selection of an Amplifier.                                                  11. The frequency conversion module of claim 8, wherein,
    An amplifier module 5728 will be needed ifthe signal is not          during a transmission ofthe second signal, the string of pulses
large enough to be transmitted or if it is needed for some               is based on a phase modulated oscillating signal.
downstream application. lbis can occur because the ampli- 30                12. A method for frequency conversion, comprising:
tude of the resultant harmonic is too small. It may also occur              up-converting a signal based on a control signal and a bias
if the filter 5726 has attenuated the signal.                                  signal using a frequency conversion module,
Design of the Transmission Module.                                          wherein the signal is routed to an antenna via a first switch,
    A transmission module 5730, which is optional, ensures 35               wherein the signal is routed to the frequency conversion
that the output of the filter 5726 and the amplifier module                    module via a second switch, and
5728 is able to be transmitted. In the inlplementation wherein              wherein the frequency conversion module comprises a
the transmitter is used to broadcast EM signals over the air,                  third switch and is configured to up-convert the signal
the transmission module matches the inlpedance of the output                   using the third switch.
of the amplifier module 5728 and the input of an antenna 40                 13. The method of clainl 12, wherein, during a transmis-
5732. lbis techniques is well known to those skilled in the              sion of the signal, the signal is routed to the frequency con-
relevant art(s). If the signal is to be transmitted over a point-        version module by closing the first switch to couple the
to-point line such as a telephone line (or a fiber optic cable)          antenna to a transmission path and coupling the frequency
the transmission module 5730 may be a line driver (or an                 conversion module to the transmission path with the second
electrical-to-optical converter for fiber optic implementa- 45 switch.
tion).                                                                      14. the method of claim 13, wherein the transmission path
                                                                         further comprises a filter, an amplifier, and a transmission
    What is claimed is:                                                  module.
    1. A frequency conversion module, comprising:                           15. The method of clainl 13, wherein the frequency con-
    a first switch configured to up-convert a signal based on a 50 version module further comprises:
       control signal and a bias signal,                                    a combining module coupled to the transmission path,
    wherein said signal are routed to said frequency conversion
                                                                               wherein the combining module is configured to receive
       module via a second switch, and
                                                                               a the bias signal and an information signal and to output
    wherein said signal is transmitted by an antemrn connected
                                                                               a reference signal.
       to a third switch.                                             55
    2. The frequency conversion module of clainl 1, wherein
                                                                            16. The method of claim 13 further comprising receiving a
the first switch and the second switch are coupled to a trans-           reference signal via the second switch a transmission of the
mission path comprising a filter, an amplifier, and a transmis-          signal.
sion module and wherein the transmission path is also                       17. The frequency converter of clainl 12, wherein the fre-
coupled to a combining module, said combining module 60 quency conversion module comprises a pulse shaper and an
being configured to receive the bias signal and an information           oscillating signal generator.
signal and to output a reference signal.                                    18. The frequency converter of clainl 17, wherein the oscil-
    3. The frequency conversion module of clainl 2, wherein,             lating signal generator comprises a voltage controlled oscil-
during a transmission ofthe signal, the first switch couples the         lator configured to generate an oscillating signal.
antemrn to the transmission path and the second switch 65                   19. The frequency converter of clainl 18, wherein the pulse
couples the transmission path to the frequency conversion                shaper is configured to generate a string of pulses based on the
module.                                                                  oscillating signal.




                                                              Appx185
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                             67                                                               68
   20. The frequency converter of claim 19, wherein the third    frequency modulated oscillating signal or a phase modulated
switch opens and closes based on the string of pulses.           oscillating signal.
   21. The frequency converter of claim 19, wherein, during a
transmission of the signal, the string of pulses is based on a                        *   *   *    *   *




                                                        Appx186
